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UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

                                                )
Parcel 49C Limited Partnership                  )
                                                )
                           Plaintiff,           )
                                                )
                                                )
                   v.                           )
                                                )      Case No. 17- 1315
United States of America                        )
                                                )      NON-CONFIDENTIAL
                           Defendant.           )      VERSION


           MOTION FOR AN INJUNCTION PENDING APPEAL

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Pursuant to Fed. Cir. R. 27(m)(2)(B), Parcel 49C Limited Partnership has redacted
certain information from this non-confidential version of Plaintiff-Appellant's
Motion for an Injunction Pending Appeal. The redacted information includes
proprietary pricing, information relating to proprietary methodologies set forth in
the parties' proposals, as well as material redacted in the prior U.S. Court of Claims
action from which this Appeal arises.




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      Pursuant to the Rule 8 of the Rules of the U.S. Court of Appeals for the

Federal Circuit, Appellant Parcel 49C Limited Partnership (“Parcel 49C”) hereby

respectfully requests that, during the pendency of this Appeal, this Court enjoin the

Defendant, acting through the U.S. General Services Administration (“GSA”) from

signing, awarding and/or permitting or requiring performance of, a lease contract

pursuant to Request for Lease Proposals (“RLP”) No. 3DC0421. 1 Injunctive relief

is appropriate here since Parcel 49C demonstrates that: (1) all four factors required

for the issuance of permanent injunctive and declaratory relief are met; (2)

injunctive relief is necessary to ensure that Parcel 49C retains a meaningful remedy

if it prevails here; and (3) injunctive relief pending appeal presents zero risk that

any of the parties will suffer delay or prejudice.

      The above-captioned matter is an Appeal by Parcel 49C (un unsuccessful

offeror in the procurement) of an Order issued by the U.S. Court of Federal Claims

(“COFC”) denying a pre-award bid protest that challenges the failure of GSA to

identify, evaluate, mitigate and neutralize an actual and apparent self-evaluation

conflict of interest. Through RLP No. 3DC0421, GSA seeks to procure office

space in the DC area to house the headquarters of the Federal Communications



1
  On December 6, 2016, Parcel 49C filed a Motion for Injunction Pending Appeal
in the U.S. Court of Federal Claims, which that court denied on December 14,
2016. See DI 83; DI 86.


                                           1
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Commission (“FCC”). AR Tab 31 and 459-60. GSA seeks to sign a fifteen year

lease pursuant to the RLP with the Trammell Crow Company (“Trammell Crow”).

Id.; DI 84. As demonstrated below, GSA’s broker for this procurement, CBRE

Inc., evaluated and selected for award the proposal of Trammell Crow - which is

CBRE’s wholly owned subsidiary. CBRE-Trammell Crow never disclosed this

self-evaluation conflict to the Government as required. GSA never identified

evaluated, mitigated, or neutralized this conflict as required by FAR § 9.505-3 and

a host of other governing authority. The COFC committed a clear error of

judgment and abused its discretion by holding that CBRE disclosed this conflict,

and that GSA properly identified and mitigated the conflict.

                               LEGAL ARGUMENT
          A party seeking preliminary injunctive relief must establish that: (1) it is

likely to succeed on the merits; (2) it is likely to suffer irreparable harm in the

absence of preliminary relief; (3) the balance of hardships tips in its favor; and (4)

an injunction is in the public interest. FMC Corp. v. United States, 3 F.3d 424, 427

(Fed. Cir. 1993). The weakness of the showing regarding one factor may be

overborne by the strength of the others.” Id. Parcel 49C satisfies all of these




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elements, and the COFC committed a clear error of judgment in holding

otherwise.2

I.    PARCEL 49C WILL SUCCEED ON THE MERITS SINCE GSA HAS
      VIOLATED 48 C.F.R. 9.505-3 AND A WEALTH OF OTHER
      AUTHORITY BY FAILING TO IDENTIFY AND MITIGATE AN
      ACTUAL AND APPARENT SELF-EVALUATION CONFLICT OF
      INTEREST
           Parcel 49C will succeed on the merits since: (1) CBRE-Trammell Crow

never disclosed to GSA or the other offerors that it was evaluating, and selecting

for award, its own proposal; and (2) GSA failed to properly evaluate, identify, and

neutralize this actual and apparent, impaired objectivity conflict of interest,

interest, and the Court below improperly ruled that FAR 9.505-3 does not apply to

the FCC Lease award.

      A.       FAR 9.505-3 And Controlling Authority Prohibit Award To
               Trammell Crow Due To Its Unmitigated Self-Evaluation Conflict
      CBRE acted as GSA’s broker for this procurement. AR Tab 31 at 462.

CBRE’s brokerage contract with GSA required CBRE to provide a host of core,

substantive, procurement services including: (1) developing the RLP requirements;


2
 This Court gives deference to the Court of Federal Claims' decision to grant or
deny injunctive relief, only disturbing the court's decision if it abused its discretion.
PGBA, LLC v. United States, 389 F.3d 1219, 1223 (Fed. Cir. 2004). An abuse of
discretion may be established under Federal Circuit law by showing that the court
made a clear error of judgment in weighing the relevant factors or exercised its
discretion based on an error of law or clearly erroneous fact finding. Int'l Rectifier
Corp. v. Samsung Elecs. Co., 361 F.3d 1355, 1359 (Fed. Cir. 2004).


                                           3
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(2) reviewing and evaluating offers; (3) compiling lists of needed clarifications for

each offer; (4) negotiating offers; and (5) creating the price negotiation

memorandum and source selection document, if necessary. 3 CBRE and its most

senior member of the GSA procurement team, Mr. Henry Chapman, 4 drove the

procurement process by: (1) helping to develop the RLP requirements; 5; (2)

serving as the “Primary Point of Contact” for the solicitation, AR Tab 29 at 450;

(3) influencing the content of the estimates used to evaluate proposals; 6 and (4)

fielding all offerors’ questions, AR Tab 30 at 455; AR Tabs 109-114. CBRE and

Mr. Chapman also played a significant part in evaluating proposals by: (1) alerting




3
  See http://www.gsa.gov/graphics/pbs/CBRE_GS00P10BQD0001_VOL-
I_REDACTED-signed_21June2010-508c.pdf at 29, 36.
4
  See, e.g., AR Tab 17 at 306 (listing Mr. Chapman, Richard Downey and Sara
Dunstan of CBRE as three of the eight acquisition team members); AR Tab 31
at 472 (listing Henry Chapman as the “Alternate Government Contact”).
5
  AR Tab 15 at 294 (showing that CBRE personnel participated in, and led, the
December 9, 2014 FCC requirements meeting); AR Tab 15 at 294 (“CBRE
reiterated that the two main objectives of the meeting is to establish a move and
replication cost estimate and to review the Program of Requirements (POR)
containing the special areas”).
6
 AR Tab 23 at 331 (advising the GSA Project Engineer who created the cost
estimates that “there appears to be little gain by remaining in the existing
building,” that “I believe it clear that there is no portion of the IT that can be
salvaged, but there might be some security elements that can be retained”); AR
Tab 23 at 329 (demonstrating that CBRE revised the details of the cost estimates
used to evaluate proposals as CBRE discussed with GSA, and that CBRE
suggested reducing the size of the desired floor plan).

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GSA to missing items in offeror’s proposals; 7 (2) running GSA’s November 2015

negotiations meetings; 8 (3) identifying deficiencies in proposals. 9


        In addition to running the procurement for GSA, CBRE participated in the

procurement as an offeror. CBRE owns 100% of Trammel Crow - the offeror

selected for award. 10 This means that CBRE is Trammell Crow. 11 CBRE-

Trammel Crow constitutes a single entity that files consolidated financial

statements and boasts that it uses CBRE and Trammel Crow personnel




7
 AR Tab 73 at 1046 (stating that four of the five offerors submitted NEPA
checklists and requesting feedback for the discussions meetings with offerors).
8
    AR Tab 42 at 785-87; id. at 785 (“CBRE began the meeting”).
9
 AR Tab 42 at 787 (“CBRE outlined several other deficiencies in the offer”); AR
Tab 116 (wherein the meeting minutes reflect that GSA made only introductions,
and that CBRE held all substantive discussions with the offerors).
10
  See Rule 7.1(A) Disclosure Statement of Trammell Crow (stating that
“Trammell Crow is a subsidiary of CBRE Group, Inc.”); see
http://www.sec.gov/Archives/edgar/data/1138118/-
000119312516484680/0001193125-16-484680-index.htm (describing Trammell
Crow as CBRE’s “wholly opened subsidiary”).
11
  Trammell Crow’s proposal offers to lease office space to GSA “at the building
known as Sentinel Square III to be constructed at 45 L Street, NE, Washington,
DC.” AR Tab 118 at 2014. Trammell Crow owns the Sentinel Square III lot/site.
See AR Tab 118 at 2020 (“The land for Sentinel Square Ill is currently owned by
90 K Holding LLC and 45 L Holding LLC, each of which is a joint venture of
affiliates of Trammell Crow Company, Crow Holdings, and Cottonwood
Partners”); AR Tab 118 at 2018 (identifying 90 K Holding LLC and 45 L Holding
LLC as affiliates of Trammell Crow).

                                           5
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interchangeably. 12 The single identity of CBRE-Trammell Crow means that CBRE

evaluated, and selected for award, its own proposal.13 This type of self-evaluation

created a prohibited, actual and apparent, impaired objectivity conflict of interest

that is directly prohibited by 48 C.F.R. 9.505-3 and governing case law.


      48 C.F.R. 9.505-3 states explicitly that “[c]ontracts for the evaluation of

offers for products or services shall not be awarded to a contractor that will

evaluate its own offer for products or services, or those of a competitor, without

proper safeguards to ensure objectivity to protect the Government’s interests.” 48

C.F.R. 9.505-3. The clear language of this provision prohibits a contractor from

evaluating its own offer without proper safeguards to ensure objectivity. This is

precisely what CBRE did here.



12
  See Rule 7.1(A) Disclosure Statement of Trammell Crow (stating that
“Trammell Crow is a subsidiary of CBRE Group, Inc. through CB Richard Ellis
Real Estate Services, LLC”); see
http://www.trammellcrow.com/EN/aboutus/Pages/corporateinformation.aspx
(wherein Trammell Crow’s website advertises that its status as a wholly owned
subsidiary of CBRE gives Trammell Crow “[a]ccess to talent” from CBRE in the
form of the 70,000 CBRE real estate professionals”).
13
   CBRE knew that it was evaluating and selecting for award its own proposal.
Henry Chapman was a principal at Trammell Crow before he left to become Vice
Chairman of CBRE); AR Tab 133 at 2922; see
http://www.cbre.us/o/washingtondc/people/henry-chapman/Pages/overview.aspx
(stating that Henry Chapman was a principal at Trammell Crow before he became
Vice Chairman of CBRE); AR Tab 133 at 2922.


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      CBRE’s evaluation and selection for award of its own proposal, and (as

demonstrated below), GSA’s failure to identify and mitigate this conflict,

constitute a per se violation of the OCI regulations. See 48 C.F.R. 9.505-3; Helix

Elec., Inc. v. United States, 68 Fed. Cl. 571, 585 (2005) (citing Vantage Assocs.,

Inc. v. United States, 59 Fed. Cl. 1, 10 (2003) (“an OCI exists ‘when the

contractor's objectivity may be impaired due to the nature of the work to be

performed’ and includes situations in which a government contract could entail a

firm evaluating itself without proper safeguards”); id. (citing Filtration Dev. Co. v.

United States, 60 Fed. Cl. 371, 379 (2004) (“[b]ecause Westar was improperly in a

position to make decisions favoring its own product capabilities, it occupied an

impermissible dual role, and an actual OCI arose”); MacAulay-Brown, Inc. v.

United States, 125 Fed. Cl. 591, 594 n.1 (2016) (an “OCI exists when work

performed by a contractor may . . . impair the contractor's objectivity in performing

government work if for example it is called upon to evaluate proposals submitted

by affiliates”) (emphasis added); 48 C.F.R. 3.101-1 (“[t]he general rule is to avoid

strictly any conflict of interest or even the appearance of a conflict of interest in

Government-contractor relationships”); Mori Assocs., v. United States, 102 Fed.

Cl. 503, 525 (2011 (FAR 3.101 “is clearly mandatory”).

      The overwhelming weight of relevant and controlling case law instructs that

the conduct of CBRE and GSA constitute all of the “hard facts” necessary to


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establish an actual self-evaluation conflict - the existence of which, by itself,

warrants the disqualification of Trammell Crow, since prejudice is presumed once

the core OCI facts are established. See, e.g., Turner Constr. Co., Inc., v. United

States, 94 Fed. Cl. 561, 573 (2010) (“[a]n OCI must be established by ‘hard facts’

that indicate the existence or potential existence of a conflict,” [but] [t]hese ‘hard

facts’ do not need to show either an actual conflict or a negative impact from a

conflict”); id. (“[i]f ‘hard facts’ establish the appearance of impropriety, it is not

irrational for a reviewing body to overturn an award”); Filtration Development

Co., LLC v. United States, 60 Fed. Cl. 371, 380 n.29 (2004) (“[c]onsistent with the

court's holding concerning the presumption of prejudice, “hard facts” are only

required to “establish the existence of the [OCI], but not the specific impact of that

conflict”); Netstar-1 Gov’t Consulting, Inc., v. United States, 101 Fed. Cl. 511, 529

(2011) (“[a] long line of cases holds that when a potential significant OCI is

identified, prejudice stemming from that OCI is presumed, unless the evidence

shows compelling evidence to the contrary”); id. (citing ARINC Eng’g Svs, LLC v.

United States, 77 Fed. Cl. 196, 203 (2007) (“[n]or must ‘a protestor . . . show that

the information possessed by its competitor specifically benefited the latter's

proposal’ [since] [t]hat too is presumed”)).

      The CBRE-Trammell Crow self-evaluation conflict also creates a prohibited

appearance of impropriety that precludes award to CBRE-Trammel Crow. See


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NKF Eng’g, Inc. v. United States, 805 F.2d 372, 376 (Fed. Cir. 1986) (“[w]hether

or not inside information was actually passed from Mr. Park to NKF, the

appearance of impropriety was certainly enough for the CO to make a rational

decision to disqualify NKF”); Turner Constr., 94 Fed. Cl. 561, 573 (“[a]n OCI

must be established by ‘hard facts’ that indicate the existence or potential

existence of a conflict,” [but] [t]hese ‘hard facts’ do not need to show either an

actual conflict or a negative impact from a conflict”); id. (“[i]f ‘hard facts’

establish the appearance of impropriety, it is not irrational for a reviewing body to

overturn an award”); Filtration Development Co., LLC v. United States, 60 Fed.

Cl. 371, 380 n.29 (2004); Command Management Services, Inc. v. United States,

111 Fed. Cl. 279, 288 (2013) (“FAR 1.102-2(c)(1) and FAR 3.101-1 require

disqualification of a procurement offeror where impropriety or the possibility of an

unfair competitive advantage in the acquisition process is present”) (emphasis

added); QualMED, Inc. v. Office of Civilian Health & Med. Program of the

Uniformed Servs., 934 F. Supp. 1227 (D. Colo. 1996) (“[c]ases considering this

issue have concluded, contrary to QualMED's contention, that an appearance of

impropriety is a sufficient basis on which to find an OCI, and that actual bias

and/or prejudice need not be shown”).

      The COFC erred in holding that no conflict exits since the COFC said 48

C.F.R 9.505-3 applies only to CBRE’s brokerage contract with GSA, and does not


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apply to this procurement. See DI 79 at 22 n.5 (“Section 9.505-3 has no

application to the FCC lease at issue here”). CBRE became GSA’s broker for this

procurement on September 23, 2014. AR Tab 133 at 2924. GSA did not seek

offers in this procurement until it issued the RLP almost a year later, on September

22, 2015. AR Tab 31 at 459. Trammell Crow did not submit its initial offer in this

procurement until October 20, 2015 - thirteen months after CBRE assumed the role

of evaluator of proposals for this procurement. AR Tab 118 at 2014. Thus, at the

time CBRE became GSA’s broker and evaluator of proposals for this procurement,

CBRE was not also an offeror. AR Tab 133 at 2924; AR Tab 118 at 2014. At the

time CBRE received award of its brokerage contract – September 23, 2014 – 48

C.F.R 9.505-3 did not prevent CBRE from accepting the award of the September

2014 brokerage contract since: (1) in 2014, CBRE was only an evaluator of

proposals, and not also a submitter of a proposal; (2) CBRE was not engaged in

self-evaluation or self-dealing in 2014; (3) CBRE never disclosed to GSA or

anyone else in 2014 that CBRE owned Trammell Crow, or that CBRE-Trammell

Crow would be submitting an offer. See 48 C.F.R. 9.505-3; AR Tab 133 at 2922-

2923.

        However, once Trammell Crow submitted its initial offer in this

procurement on October 20, 2015, 48 C.F.R 9.505-3 prohibited CBRE from acting

as both evaluator and offeror. See 48 C.F.R. 9.505-3. FAR 9.505-3 required GSA,


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at that point, to either terminate CBRE as its broker, disqualify Trammell Crow as

an offeror, or attempt to neutralize the self-evaluation conflict. Id.; FAR 9.04;

FAR 9.505; FAR 301-1. GSA did none of these things. GSA permitted CBRE-

Trammell Crow to evaluate and select for award its own proposal in direct

violation of the self-dealing prohibition of FAR 9.505-3. FAR 9.505-3 by its terms

applies directly to this procurement. A wealth of case law cited above by Parcel

49C holds that the self-evaluation prohibition articulated by FAR 9.505-3 prohibits

CBRE from evaluating and selecting for award its own proposal, creates an

impaired objectivity conflict of interest, and prohibits GSA from selecting CBRE-

Trammell Crow for award.

      The COFC’s holding that FAR 9.505-3 does not apply to this FCC Lease

procurement is erroneous. The COFC fails to recognize (and distinguish between)

the two separate and dramatically different conflicts that CBRE-Trammell Crow

created in this procurement: (1) CBRE’s “unequal access to information” dual

agency conflict (FAR 9.505-4); and (2) CBRE’s impaired objectivity, self-

evaluation conflict (FAR 9.505-3). OCI regulations and interpreting courts

recognize that these comprise two separate and distinct types of conflicts. See,

e.g., L-3 Commc’ns Corp. v. United States, 99 Fed. Cl. 283, 298 (2011)

(“Generally, there are three types of OCIs - resulting from unequal access to

information, biased ground rules, and impaired objectivity”); Turner Constr., 94


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Fed. Cl. 561, 568, (stating that the COFC has “interpreted FAR Subpart 9.5 to

identify three distinct types of OCIs;” unequal access to information, biased

ground rules, and impaired objectivity).

      48 C.F.R. 9.505-4 recognizes and describes CBRE-Trammell Crow’s dual

agency conflict as an “unequal access to information” conflict, stating that “[w]hen

a contractor requires proprietary information to perform a Government contract

and can use the leverage of the contract to obtain it, the contractor may gain a

competitive advantage unless restrictions are imposed.” 48 C.F.R. 9.504(a); see

Ala. Aircraft Indus., Inc. - Birmingham v. United States, 83 Fed. Cl. 666, 688

(2008) rev'd on other grounds, 586 F.3d 1372 (Fed. Cir. 2009. A separate FAR

provision, 48 C.F.R. 9.505-3, recognizes CBRE-Trammell Crow’s second, distinct

self-evaluation conflict as an “impaired objectivity” conflict. See 48 C.F.R. 9.505-

3. Such an impaired objectivity conflict exists where, as here, a contractor engages

in evaluating and selecting for award its own proposal or even that of an affiliate.

See L-3 Commc’ns Corp., 99 Fed. Cl. 283, 297 (2011) (citing Ala. Aircraft Indus.,

83 Fed. Cl. 666, 687-88 (“The impaired objectivity OCI occurs ‘where a firm's

work under one contract might require it to evaluate itself under another

contract’”)); MacAulay-Brown, Inc. v. United States, 125 Fed. Cl. 591, 594 n.1

(2016) (stating that an “OCI exists when work performed by a contractor may . .




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. impair the contractor's objectivity in performing government work if for example

it is called upon to evaluate proposals submitted by affiliates) (emphasis added).

      The FAR recognizes these conflicts as separate and distinct because they

present different risks and different opportunities for impropriety. CBRE-Trammel

Crow’s dual agency, unequal access to information conflict poses a risk that

CBRE-Trammel Crow will be able to use its position as GSA’s broker to gain

access to source selection information, unavailable to other offerors, that will

confer a competitive advantage upon CBRE-Trammel Crow. See L-3

Communications, 99 Fed. Cl. 283, 297. CBRE-Trammell Crow’s self-evaluation,

impaired objectivity conflict poses a separate and distinct legal risk (unrelated to

potential transfer of protected information) that CBRE-Trammell Crow will use its

position as an evaluator of proposals to advance its self-interest by favorably

evaluating its own proposal. See Ala. Aircraft, 83 Fed. Cl. at 688.

      The self-evaluation conflict creates a massive incentive for wrongdoing. By

selecting Trammell Crow for award, CBRE has made the proposed CBRE-

Trammell Crow building incredibly valuable. Trammell Crow previously sold a

building with federal tenants for $196 million. See Cottonwood Partners buys out

Trammel Crow stake in Sentinel Square for $196M, Washington Business Journal,

Mar. 12, 2014. Thus, the self-evaluation conflict poses a significant danger of

improperly favorable self-evaluation. Conversely, the incentive for CBRE to


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abuse its dual agency and pass data to another client is comparatively miniscule – a

brokerage fee. It was prejudicial error for the COFC not to recognize that a

separate and distinct self-evaluation conflict existed in this case, in addition to the

dual agency conflict.14

      B.     CBRE Never Disclosed Its Self-Evaluation Conflict And The
             Appearance Of Impropriety Has Never Been Addressed Or
             Mitigated
      The COFC held that no appearance of impropriety resulted from CBRE-

Trammell Crow’s evaluation, and selection for award, of its own proposal, since

“CBRE appropriately disclosed its dual agency relationship with Trammell Crow

to the GSA and to all interested parties in this lease procurement.” DI 79 at 21-22

(emphasis added). This is incorrect. CBRE-Trammell Crow never disclosed the

self-evaluation conflict to GSA, and the self-evaluation conflict was never

disclosed to the other offerors and never mitigated.

      CBRE submitted two dual agency conflict disclosure forms in this

procurement – one on September 29, 2014, and one on April 12, 2016. AR Tab


14
  The conduct of GSA and CBRE-Trammell Crow violates additional authority
that was not addressed by the COFC. GSA was required to investigate, identify
and mitigate the CBRE-Trammel Crow conflict “as early in the acquisition
process as possible.” 48 C.F.R. § 9.504(a) (emphasis added); Filtration
Development Co., LLC v. United States, 60 Fed. Cl. 371, 377 (2004 (“[t]he CO is
instructed to ‘identify and evaluate potential organizational conflict of interest as
early in the acquisition process as possible . . . .”). Early identification and
remediation is critical, as a host of other FAR provisions depend on it. See FAR
9.504, 9.505, 9.506(b), 9.506(d)(3); 48 C.F.R. §§ 2.101, 3.101-1.

                                           14
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133 at 2922-23 (September 29, 2014 disclosure form); AR Tab 133 at 2928-31

(April 12, 2016 disclosure form). All CBRE disclosed to GSA, and all GSA

considered, was that CBRE would be simultaneously representing both GSA and

other offerors as a broker, and thus a dual agency existed. Id. But, CBRE’s

review of its own proposal is not a dual agency conflict— it is a direct conflict of

a company evaluating its own offer, specifically prohibited by FAR § 9.505-3 and

the other authority cited above. This conflict was NEVER disclosed to GSA and

NEVER evaluated by GSA. Neither of CBRE’s disclosure forms mentions the fact

that CBRE will be evaluating - or has already evaluated – its own proposal. See

AR Tab 133 at 2922-23; id. at 2928-31.

      CBRE-Trammell Crow remained silent about this self-evaluation conflict

even though it knew of the conflict the moment Trammell Crow submitted its first

offer, since: (1) the senior CBRE official acting for GSA in this procurement,

Henry Chapman, was a principal of Trammell Crow who became Vice Chairman

of CBRE after CBRE acquired Trammell Crow; and (3) he had to know that

CBRE owned Trammell Crow; and (2) that CBRE was evaluating its own

proposal. See http://www.cbre.us/o/washingtondc/people/henry-

chapman/Pages/overview.aspx; AR Tab 133 at 2922. No offerors ever received

notification of the self-evaluation conflict.




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      Since the COFC predicated its holding that no apparent conflict exists on its

erroneous finding that CBRE disclosed its self-evaluation conflict, the COFC’s

holding is erroneous.

      C.     The COFC Erred In Holding That GSA Reasonably Determined
             That The CBRE-Trammell Crow Conflict Was Mitigated
      The COFC held that GSA “reasonably determined that the OCI involving

CBRE and Trammell Crow could be, and had been, mitigated” due to the existence

of the safeguards that CBRE-Trammell Crow describes in its 2014 Dual Agency

Disclosure Form. See DI 79 at 21. The COFC’s holding is error since none of the

alleged CBRE safeguards are designed to, or are able to, mitigate or alter the self-

evaluation conflict.

      CBRE’s September 29, 2014 OCI disclosure lists certain safeguards that

CBRE asserts it has emplaced to mitigate dual agency conflicts. AR Tab 133 at

2922-23. These safeguards include a firewall, and physical and electronic

safeguarding of documents “created in connection with this task order” - i.e.,

CBRE’s 2014 brokerage agreement with GSA. AR Tab 133 at 2922. None of

these alleged safeguards were designed to, or can, mitigate the self-evaluation

conflict. AR Tab 133 at 2922-23. These measures were created in 2014 - a year

before CBRE-Trammell Crow became an offeror - and are aimed at preventing the

transfer of source selection information between CBRE and third parties. Id.

Since CBRE-Trammell Crow did not become an offeror until October 2015 – and,

                                         16
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according to Trammell Crow itself, CBRE could not know that it would become an

offeror when it became GSA’s broker and created firewalls in 2014 15 - these

firewalls could not have been established to mitigate the conflict whereby CBRE

evaluated and selected for award its own proposal.

      Not only were CBRE’s firewalls and electronic safeguards not designed to

mitigate its self-evaluation conflict, these measures are totally incapable of doing

so. Dual agency conflicts are a type of unequal access to information conflict,

which arise due to the actual or potential transfer of non-public, competitively

advantageous, information to an offeror. See § A, above; Ala. Aircraft Indus.,

supra, 83 Fed. Cl. at 688; Turner Construction Co., 94 Fed. Cl. at 569 (2010). The

firewalls and electronic safeguards that CBRE allegedly implemented were

implemented to preclude a dual agency conflict, and are aimed solely at precluding

CBRE from transferring advantageous source selection information to its offeror-

clients. Firewalls and electronic safeguards designed to prevent disclosure of

information do nothing to ensure the objectivity of CBRE-Trammell Crow when it

is evaluating its own proposal. Firewalls and electronic safeguards cannot alter the

fact that Mr. Henry Chapman of CBRE knew that CBRE was evaluating its own

15
  See DI 70 at 5 (“CBRE did not list Trammell [in its 2014 OCI Disclosure Form]
just as it did not list any of its multiple other subsidiaries that may or may not have
ultimately participated in a fledgling procurement [since] CBRE listed only the
existing buildings with which it had a conflict . . . ; it could not be expected to
include imaginary or future ones”) (emphasis added).

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proposal, and that CBRE was selecting its own proposal for award. To hold, like

the COFC, that firewalls and electronic safeguards designed to mitigate leaks of

non-public information in a dual agency context effectively mitigate a self-

evaluation conflict, is tantamount to arguing that there never can be an unmitigated

conflict when reviewing one’s own proposal - which is untenable.


II.   PARCEL 49C WILL SUFFER IRREPARABLE HARM IN THE
      ABSENCE OF THE REQUESTED RELIEF
      A protester suffers irreparable harm where, in the absence of the requested

injunctive relief, the protester will lose the opportunity to fairly compete in a

procurement and will lose profits as a result of this lost opportunity. 16 Here, Parcel

49C will suffer irreparable harm since it will be precluded from fairly competing

in, and profiting from, this procurement, due to GSA’s failure to perform its

mandatory duties of evaluating and identifying the CBRE-Trammell Crow self-

evaluation conflict, and mitigating or neutralizing this conflict.

      Parcel 49C will also suffer irreparable harm in the absence of injunctive

relief since, if Parcel 49C prevails on appeal, the Government is sure to argue that



16
   See, e.g., Contracting, Consulting, Eng’g LLC v. United States, 104 Fed. Cl. 334,
355 (2012) (“Recoupment of bid preparation costs or other legal remedy would not
serve to remedy plaintiff's loss of . . . the opportunity to participate in a fair
procurement process”); id. (“the court finds that plaintiff has demonstrated
irreparable harm in the form of lost profits and a lost opportunity fairly to
compete”) (emphasis added).

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it need not terminate the lease, or that doing so would be financially prohibitive, as

the lease contains no termination for convenience clause. 17 This will deprive

Parcel 49C of any meaningful remedy.

III.   THE BALANCE OF THE HARDSHIPS FAVORS PARCEL 49C
       The balance of the hardships favors Parcel 49C. If the Court does not issue

injunctive relief, and GSA is permitted to sign a lease while Parcel 49C pursues its

Appeal, it is highly likely that, if Parcel 49C prevails, GSA will assert that it will

suffer substantial economic harm if it is forced to terminate the lease it has signed

with CBRE-Trammell Crow. Thus, the denial of injunctive relief will deprive

Parcel 49C of the possibility of obtaining any real remedy.

       Conversely, GSA cannot demonstrate that it will suffer any hardship if the

Court issues an injunction. The only possible hardship that GSA can identify as

resulting from the issuance of an injunction is that its procurement of new office



17
   See, e.g., Federal Builders, LLC-The James R. Belk Trust - Costs, B-409952.3,
May 6, 2016, 2016 U.S. Comp. Gen. LEXIS 108 at *1, *11 (“because the awarded
lease contains no termination clause, there is no relief available to the protester
except reimbursement of its costs”); Shields & Dean Concessions, Inc.--
Reconsideration, B-292901.4, Mar. 19, 2014, 2004 U.S. Comp. Gen. LEXIS 60 at
*1, *9 (“in the absence of a clause that would permit the government to unilaterally
terminate a contract for convenience a successful protester's only remedy is
reimbursement of proposal preparation and protest costs”); see also, Doty Bros.
Equipment Company, B-274634, Dec. 19, 1996, 1996 U.S. Comp. Gen. LEXIS
619 at *1, *8 (holding it “impractical to recommend termination” of a successfully
protested contract award where “the agency reports that approximately 40 percent
of the project is complete . . . .”).

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space, and the FCC’s ability to consolidate its footprint, will be delayed – and

delay does not constitute irreparable harm. 18 Moreover, GSA will not even suffer

delay from the grant of an injunction, since GSA - for reasons unrelated to this

Parcel 49C’s Protest - has already asked Parcel 49C to extend the current FCC

lease by one year beyond the October 2017 expiration date of the current FCC

lease, and Parcel 49C’s Appeal will be resolved in less than one year. See, e.g.,

Unionbancal Corp. & Subsidiaries v. United States, 93 Fed. Cl. 166, 168 (2010)

(“On average . . . [a Federal Circuit appeal] should be decided shortly after oral

argument,” [and] [h]ence, the present case should be ready to proceed to trial in

less than a year from now”).

IV.   GRANTING INJUNCTIVE RELIEF WILL SERVE THE PUBLIC
      INTEREST
      The public interest is served by ensuring fair and open competition in the

procurement process. United Int'l Investigative Servs., Inc. v. United States, 41

Fed. Cl. 312, 323 (1998). GSA’s failure to identify, mitigate, or neutralize a self-

evaluation conflict that will render the execution of a lease arbitrary and

capricious, an abuse of discretion, contrary to procurement regulations and law,


18
  See, e.g., Software Testing Solutions, Inc. v. United States, 58 Fed. Cl. 533, 538
(2003) (“the mere delay of a contract is insufficient, standing alone, to avoid
preliminary relief”); PGBA, LLC v. United States, 57 Fed. Cl. 655, 663 (2003)
(“only in an exceptional case would [the delayed implementation of a contract]
alone warrant a denial of injunctive relief, or the courts would never grant
injunctive relief in bid protests”).

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and devoid of any rational basis. The granting of injunctive relief will serve the

public interest by preserving the integrity of the procurement system by ensuring

honest, open, and fair competition.19

                                   CONCLUSION
            For the foregoing reasons, Parcel 49C respectfully requests that, during

the pendency of Parcel 49C’s Appeal, this Court enjoin GSA from awarding,

signing, or requiring or permitting performance of, any Lease, pursuant to RLP No.

3DC0421. The other parties to this Appeal oppose this Motion and will file a

response.



December 15, 2016                               Respectfully submitted,

                                                /s/ Richard J. Conway
                                                Richard J. Conway




19
  PGBA, LLC v. United States, 57 Fed. Cl. 655, 663 (2003); Magellan Corp. v.
United States, 27 Fed. Cl. 446, 448 (1993) ) (“the public interest in honest, open,
and fair competition in the procurement process is compromised whenever an
agency abuses its discretion in evaluating a contractor's bid”); id. (“the public's
interest likewise lies in preserving the integrity of the competitive process”).

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Parcel 49C Limited Partnership v. United States, Case No. 17-1315 (Fed. Cir. 2017)


                              Non-Confidential Exhibit List


               Exhibit Number                      Administrative Record Entry

     Non-Confidential Exhibit 1                AR Tab 015 at 294

     Non-Confidential Exhibit 2                AR Tab 017 at 306

     Non-Confidential Exhibit 3                AR Tab 023 at 329, 331

     Non-Confidential Exhibit 4                AR Tab 029 at 450

     Non-Confidential Exhibit 5                AR Tab 030 at 455

     Non-Confidential Exhibit 6                AR Tab 031 and 459-60, 462, 472

     Non-Confidential Exhibit 7                AR Tab 042 at 785-87

     Non-Confidential Exhibit 8                AR Tab 073 at 1046

     Non-Confidential Exhibit 9                AR Tab 109-114

     Non-Confidential Exhibit 10               AR Tab 11 6

     Non-Confidential Exhibit 11               AR Tab 117 at 715

     Non-Confidential Exhibit 12               AR Tab 118 at 20 14, 20 18, 2020

     Non-Confidential Exhibit 13               AR Tab 133 at 29 18-21, 2922-23,
                                               2924-26, 2928-31
     Non-Confidential Exhibit 14               Opinion and Order Being Appealed -
                                               Parcel 49C Limited Partnership v.
                                               United States, COFC No. 16-427C,
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                                        Fed. Cl. _ , Docket Entry No. 79, Nov.
                                        30, 2016 Order and Opinion of the U .S.
                                        Court of Federal Claims Denying
                                        Plaintiffs Motion for Judgment on the
                                        Administrative Record
Non-Confidential Exhibit 15             Notice of Appeal - Parcel 49C Limited
                                        Partnership v. United States, COFC
                                        No. l 6-427C, - Fed. Cl. - , Docket
                                        Entry No. 80, Nov. 30, 20 16 Notice of
                                        Appeal
Non-Confidential Exhibit 16             Order Denying Motion for Injunction -
                                        Parcel 49C Limited Partnership v.
                                        United States, COFC No. 16-427C, -
                                        Fed. Cl._, Docket Entry No. 86, Dec.
                                        14, 2016 Order Denying Plaintiffs
                                        Motions for Injunctive Relief
Non-Confidential Exhibit 17             Parcel 49C Certificate of Interest
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                EXHIBIT 1
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December 9, 2014

                    Requirements Review Meeting Minutes
               Portals II – 445 12th Street, SW – December 9, 2014
                GS-P-11-14-YL-0041, Federal Communications Commission
                              Contract Number: GS00P10BQD0001

In Attendance:
Henry Chapman                   Sandi Munari - FCC               John Skudlarek – FCC (IT)
Sara Dunstan                    Maureen Duignan - FCC            Fred Bücwer – FCC (Security)
Richard Downey                  Paul Laurenzano – FCC            Toni McGowan – FCC
Kevin Terry – GSA               Scott Paden – OLBN
Bradi Henderson - GSA           John Li - OLBN
Suzanne Perrin - FCC            Carolyn Conyers – OMD/FCC


Review of Discussion Topics:
           GSA began the meeting by introducing everyone. GSA explained the purpose
             of the session is to determine what special spaces would remain in a renovation
             of the incumbent location and to make sure all cost elements are covered in
             order to prevent a protest.
           GSA gave an update on the Prospectus status and stated the Prospectus should
             go to the Hill at the latest March 2015.
           CBRE reiterated that the two main objectives of the meeting is to establish a
             move and replication cost estimate and to review the Program of Requirements
             (POR) containing the special areas. CBRE suggested that the POR be sent to
             all of the potential Offerors in the RLP package.
           FCC stated that from a security standpoint there will be no cost savings to have
             if they were to remain in the current building. Since the agency is
             consolidating from 692,029 RSF / 596,576 USF to 525,840 RSF / 438,200
             USF, security will have to compartmentalize, which ultimately could end up
             being additional costs rather than savings.
           CBRE explained as long as there is reasonable justification for the move and
             replication estimates then there should not be a problem.
           GSA pointed to the POR and reviewed their methodology behind the special
             and unique spaces. Tier I represents the areas that will remain, Tier II contains
             the areas that will reduce by 10-15% and Tier III contains the areas that are
             grossly outsized.
           CBRE asked if there are any rooms in Portals II that would stay as is.
           FCC asked everyone to turn to section 6.3 of the POR and highlighted the
             following special and unique spaces:
      - Commission Meeting Room: Technology outdated needs to be updated
      - Command Center: Could remain as is as; expensive to move
      - 7th Floor: Major SCIF which would have to be constructed around.
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                 EXHIBIT 2
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                               PROJECT MANAGEMENT AND ACQUISITION PLAN
                             (ACQUISITION OF LEASEHOLD INTERESTS IN REAL PROPERTY)



PROJECT NO.: 3DC0421

A.   PROJECT DEFINITION/STATEMENT OF NEED:

     1.   Requiring Agency(ies):                 Federal Communications Commission
     2.   Location of pending action:            Washington. DC
     3.   Project background/trigger event:      The Federal Communications Commission (FCC) currently occupies 659,030
          rentable square feet (RSF), yielding 596,576 ANSl/BOMA Office Area Square Feet (ABOA SF) of office space in
          Washington, DC under the following leases: Lease Number GS-11 B-40155 at 445 1ih Street, SW and Lease
          Number GS-11 B-40114 at 1250 Maryland Avenue, SW. The leases expire on October 16, 2017, and October 31,
          2017, respectively. These leases comprise the space contemplated for FCC's Prospectus consolidation under
          Prospectus Number PDC-06-WA 16. The prospectus authorizes a total of 4 73,000 RSF in Washington, DC and
          seeks to consolidate FCC's leased space currently housed at the above locations. FCC will improve their overall
          utilization rate from 272 usable square feet to 180 usable square feet, for a total space reduction of 186,030 RSF.
          The space reduction will yield approximately $11 million in total rent savings on an annual basis. The prospectus
          authorizes up to a 15 year lease term and allows the Government to issue a single or multiple award(s) however FCC
          has a requirement to remain in a contiguous location(s) which likely will result in a single award. The Government
          intends to conduct a full and open, lowest price technically acceptable procurement.
     4.   REXUS Action Type:
          0 New
          ~ New Replacing
          0 Succeeding
          0 Superseding
          0 Expansion
                Within Scop~? D Yes. Describe
                                 0 No. Will prepare an OTFO justification
          D   Extension (GSAM 570.405)
                  Select the purpose of the extension:
                  D Construction Delay
                  D Customer DID Prep. Delay
                  D Lack of Agency Funding
                  0 Lack of Agency POR
                  0 Lessor Delay
                  D Market Conditions
                  D Strategic Portfolio Scheduling
                  D Tactical Considerations
                  0 Other (workload, agency leaving PBS inventory, forced move, FEMA emergency, etc.)
                  Describe: _ _
                  Describe follow-on action for long-term housing solution, if applicable.

          D   Renewal (GSAM 570.401)
              D Evaluated     D Unevaluated
     5.   Estimated Square Footage to be Acquired: 473,000 RSF; 393,633 ABOA SF

          If Requirement Action Type is not a "New Requirement", provide the following:

                 a)   Current lease number LDC40155. LDC40114
                 b)   Building name and address 445 12th Street. SW 1250 Maryland Avenue SW
                 c)   Current square footage 659,030 RSF; 596 576 ABOA.
                 d)   Current annual rent rate$ 52.63/RSF (LDC40155), $52.72/RSF (LDC40114)
                 e)   Lease expirations are October 16. 2017. October 31. 2017
                 f)   If applicable, describe existing renewal option(s) _ _

     6.   Lease Acquisition Model:
          ~ Standard Model




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                                  PROJECT MANAGEMENT AND ACQUISITION PLAN
                                 (ACQUISITION OF LEASEHOLD INTERESTS IN REAL PROPERTY)

  Kevin Paul                                  Lease Contracting Specialist              202.205.5721
  kevin.oaul!h)nsa.oov
  Jason Hilton                                Asset Manager I Reg. CPP                  202708.7012
· iason.hiltooililnsa.aov
  Henry Chapman                               NBC Contractor                            202.585.5665
  henrv.chaomanlIDcbre.com
  Sara Dunstan                                NBC Contractor                           202.585.5663 .             ..
  sara.dunstan@cbre.com
  Richard Downey                              NBC Contractor                           202.585.5664
  richard.downevmicbre.com
  Wanda Sims                                  FCC                                      202.ll18.2990
  wanda.simsllilfcc.aov
  MaryKay Mitchell                            FCC                                      202.418.2173
  marvkav.mitchell®fcc.aov



 2.        Stakeholder communication preferences.
 Audience                          Aooroach                       nming
 Client                            Phone Call & In person         As needed
 LCO supervisor                    In Person                      As needed
 Property·manager                  Email & In Person              Monthly, and at key project
                                                                  intervals such·as market
                                                                  survev and award

 C . ACQUISITION STRATE GY/PLAN OF ACTION

    1. Risk and Oooortunity Mana~ement
 Risk/Opportunity Name and           Likelihood             Impact           Classification     Mitigation Plan
 Description                         (H/M/L)                (H/M/L)          (H/M/L)
 Pre-Award (ex: lack of competition) L                      L.               L
 Award (ex. risk of protest)         M                      H                H                  Only if new construction projects
                                                                                                would likely not meet the required
                                                                                                delivery date.
 Post-Award (ex. build-out                M                 H                H                  The Ag'e ncy has submitted their .
 time/costS, funding issues)                                                                                       a
                                                                                                FY16 requ,est for portion of
                                                                                                their buildout ana FF&E to ·
                                                                                                congress. However, tney'have
                                                                                                yet to receive ~pproval and Yie
      ..                                                                                        won't know whether those funds
                                                                                                are approved until the FY 16
                                                                                                President's budget is approved
                                                                                                by congress.




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                                                                                                                               AR306
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                                                           Mikhail Petersen - LOW <mikhail.petersen@gsa.gov>



Fwd: FCC Move and Replication
1 message

Kevin Terry - WPRA <kevin.terry@gsa.gov>                                        Wed, Jan 6, 2016 at 3:23 PM
To: Edith Toms <edith.toms@gsa.gov>, Mikhail Petersen - LOW <mikhail.petersen@gsa.gov>

 Move & Rep
 - - Forwarded message - - -
 From: Cirilo Paulo - WPRB-D-C <cirilo.paulo@gsa.gov>
 Date: Mon, Jul 27, 2015 at 3:50 PM
 Subject: Re: FCC Move and Replication
 To: "Chapman, Henry@ Washington DC" <Henry.Chapman@cbre.com>
 Cc: "Dunstan, Sara@ Washington DC" <Sara.Dunstan@cbre.com>, "Kevin Terry (WPRA)"
 <kevin.terry@gsa.gov>


 Henry,

 Find attached the revisions done to the Rep Cost Analysis per our conversation.

  The changes were as following: 1) Design cost percentage was changed ~ (from .           )
                                2) Lessor's fee was changed to •  (from    my,-
                                3) Tl allowance was changed to $46.74 (from $35.00)
                                4) BSAC allowance of $35 was added.

 In addition, the move cost was made equal in value on both scenarios, and the security cost was reduced on the
 stay in place scenario.

 My only concern is adding the BSAC as part of this analysis, because it alters the total personal property cost,
 yet the BSAC as I have been informed can only apply to security related costs. Unless the security cost is
 higher than the BSAC ($35 x 393,633=$13,777,155) which is $13, 777, 155 in this scenario, it can provide a
 false total of personal property funds an Agency would need to procure (any money above the security cost
 amount can't be used for other personal property costs). Not sure where the best place to indicate this BSAC
 would be.

 Respectfully,

 Cirilo Paulo
 Contractor Project Engineer
 Lease Project Management Division
 Real Estate Acquisition Group - WPRB
 Public Buildings Service
 National Capital Region
 U.S. General Services Administration
 301 7th Street, SW, Suite 2720
 Washington, DC 20407

  (202) 708-8298 - Office
  (202) 205-4716 - Fax
  (202) 309-6439 - Cell

 On Mon, Jul 20, 2015 at 10:18 AM, Chapman, Henry@ Washington DC <Henry.Chapman@cbre.com> wrote:

    Cirilio,




                                                                                                            AR329
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  Kevin and Cirilo,

  As you know, we need to wrap up an estimate of the move and replication costs in the coming weeks -
  preferably before we run the ad for expressions of interest. Attached are excerpts from the Final POR, as well
  as an earlier draft that discussed the potential reuse of special spaces in the Portals building. I believe these
  documents are good starting points for our analysis. I have highlighted those areas that discuss the new
  requirements for special spaces and any possibility for their reuse. Combined with our discussions with FCC,
  there appears to be little gain by remaining in the existing building.

  We need to look at this closely and allocate any dollar figure for all or partial reuse of these spaces. I believe
  it clear that there is no portion of the IT that can be salvaged, but there might be some security elements that
  can be retained.

  Cirilo, Doug was in several meetings with FCC where this was discussed, so he may be able to help. Will you
  be able to prepare this cost analysis? I know this is becoming a larger issue for GSA in light of some recent
  protests attacking Move and Rep Cost Analysis.

  Thanks for your help,

  Henry



  Henry 0. Chapman I Vice Chairman
  CBRE, Inc. I Global Corporate Services
  750 9th Street, NW, Suite 900 Washington, DC 20001
  T 202 585 5665 I F 202 783 1723 I c 703 220 1833
  henry.chapman@cbre.comIwww.cbre.com




Kevin Terry
Senior Realty Contracting Officer
US General Services Administration
301 7th Street, SW
Washington, DC 20407
Desk: 202-708-4600
Cell: 202-420-1854


2 attachments

t'.j   FCC Move and Replication Cost Estimate 15-07-24 - Relocate.pdf
       360K
t'.j   FCC Move and Replication Cost Estimate 15-07-24 - Stay in Place.pdf
       360K




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   U.S. Government Seeks to Lease Office and Related Space in Washington, DC - Federal ...      Page 1 of 4




    U.S. Government Seeks to Lease Office and Related Space in Washington, DC
    SOLICITATION NUMBER 3DC0421



    NOTICE DETAILS

    Solicitation#:
    3DC0421

     Procurement Type:
     Presolicitation

     Date Posted:
    July 20, 2015

    Title:
     U.S. Government Seeks to Lease Office and Related Space in Washington, DC

     Classification Code:
    X -- Lease or rental of facilities

     NAICS Code:
     531190 -- Lessors of Other Real Estate Property

     Is this a Recovery and Reinvestment Act Action?:
     No

     Response Date:                                               Primary Point of Contact.:
     Aug 03, 2015 3:00 pm Eastern                                 Henry 0. Chapman
                                                                  henry.chapman@cbre.com
     Phone: 202-585-5665
     Fax: 202-783-1723

     Secondary Point of Contact:
     Sara Dunstan,
     Senior Associate
     sara.dunstan@cbre.com
     Phone: 202-585-5663
     Fax: 202-783-1723

     Description:
      The General Services Administration (GSA) seeks to lease the following space:


                                         City/State:   Washington, DC

                                 Delineated Area:      Washington, DC Central Employment Area

                        Minimum Sq. Ft. (ABOA):        394,000

                         Maximum Sq. Ft. (RSF):        473,000

                                     Space Type:       Office and related space




   https://www.fbo.gov/index?s=procurement&mode=form&id=6c54c82fdf4b7d183 8a52063...             712012015

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     •
     September 22, 2015
                                      VIA ELECTRONIC MAIL
                                                                        GSA National Capital Region




     Mr. Timothy Hutchens
     CBRE, Inc.
     750 9th Street, NW
     Suite 900
     Washington, DC 20001

             Re:   General Services Administration (RLP No. 3DC0421)
                   Portals II - 445 12th Street, SW

      Dear Mr. Hutchens:

     Enclosed is a copy of Request for Lease Proposals (RLP) No. 3DC0421 for your use in
     submitting an initial offer for the General Services Administration's requirement for
     space in Portals II, 445 12th Street, SW, Washington, DC 20024.

      Due to the nature of the Agency's mission requirements, the Government has
      determined this procurement to be a critical action. The Water Resources Council's
      Floodplain Management Guidelines for Implementing Executive Order 11988 defines a
      critical action as any activity for which even a slight chance of flooding would be too
      great a risk, and therefore should be located outside the 500-year floodplain. Since it
      appears your offered building is located in the 500-year floodplain, your offer is subject
      to mitigation.

      Please carefully review the RLP and attachments and initial all pages where indicated.
      The following forms must be completed and returned with your offer:

         •   RLP No. 30C0421
         •   Lease No. GS-XXP-LXXXXXXX (Form L201 C)
         •   Agency Specific Requirements
         •   Security Requirements for Level IV
         •   GSA Form 3516 (Solicitation Provisions)
         •   GSA Form 35178 (General Clauses)
         •   GSA Form 1364C (Proposal to Lease Space)
         •   GSA Form 1217 (Lessor's Annual Cost Statement and Instructions)
         •   GSA Form 3518-SAM (Addendum to System for Award Management and
             Representations and Certifications)
         •   GSA Form 12000 (Prelease Fire Protection and Life Safety Evaluation)
         •   Program of Requirements
         •   Commission Agreement
         •   Rider No. 1 (Additional Renewal Option and Purchase Option)
                                                                         U.S. General Services Administration
                                                                         301 7th Street, SW
                                                                         Washington, DC 20407.0001
                                                                         www.gsa.gov




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        •   Documentation required to comply with NEPA
        •   500-year floodplain mitigation plan


     Any exceptions you may have to the Solicitation must be outlined separately in your offer,
     so that we can address those items during negotiations. If you plan to have your legal
     counsel review the language in the RLP, Form L201C, Form 35178 and 3518, please
     submit those documents to your legal counsel now, so as to allow adequate time to discuss
     any language issues that may arise. Changes to the language in these documents cannot
     be made after you submit your final proposal revisions.


     Please submit your initial offer by 3:00 PM on October 20, 2015, to the following
     address:

                                 CBRE, Inc.
                                 ATTN: Henry Chapman, Sara Dunstan, Richard Downey
                                 750 gth Street, NW
                                 Suite 900
                                 Washington, DC 20001

     After receipt of your initial offer, the Government will contact you for negotiations.

     If you have any questions please contact Henry Chapman, Sara Dunstan or Richard
     Downey at (202) 783-8200.


     Sincerely,

     ktVl/.'t /vi. Terry/ HOC

     Kevin M. Terry
     Lease Contracting Officer




                                                                         U.S. General Services Administration
                                                                         301 7th Street, SW
                                                                         Washington, DC 20407-0001
                                                                         www.gsa.gov




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    GSA REQUEST                                                                                          Offers due by
    FOR LEASE                                                                                               10/20/2015
    PROPOSALS                                                                                       In order to be considered for award, offers conforming
                                                                                                    to the requirements of the RLP shall· be received no
                                                                                                    later than 3:00 pm Eastern Daylight Time (EDT) on the

    NO. 3DC0421                                                                                     date above. See "Receipt Of Lease Proposals" herein
                                                                                                    for additional information.



    Washington, DC


    This Request for Lease Proposals ("RLP") sets forth instructions and
    requirements for proposals for a Lease described in the RLP
    documents. Proposals conforming to the RLP requirements will be
    evaluated in accordance with the Method of Award set forth herein to
    select an Offerer for award. The Government will award the Lease to
    the selected Offerer, subject to the conditions herein.



    The information collection requirements contained in this Solicitation/Contract, that are not
    required by the regulation, have been approved by the Office of Management and Budget
    pursuant to the Paperwork Reduction Act and assigned the OMB Control No. 3090-0163.
                                                                                                                               STANDARD RLP
                                                                                                                        GSA FORM R101C (05/15)




                                                                                                                               GSA FORM R101C (05/15)




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      REQUEST FOR LEASE                                                                                     September 21, 2015
                                                                                        STANDARD RLP GSA FORM R101C (May 2015)
      PROPOSALS NO. 3DC0421
      SECTION 1 STATEMENT OF REQUIREMENTS


      1.0 1       GENERAL INFORMATION (JUN 2012)

      A. This Request for Lease Proposals (RLP) sets forth instructions and requirements for proposals for a Lease described in the
      RLP documents. The Government will evaluate proposals conforming to the RLP requirements in accordance with the Method of
      Award set forth below to select an Offerer for award. The Government will award the Lease to the selected Offeror, subject to the
      conditions below.

      B. Included in the RLP documents is a lease form (GSA Form L201C) setting forth the lease term and other terms and conditions
      of the Lease conterflplaled by this RLP and a GSA Proposal to Lease Space (GSA Form 1364C-STANDARD) on which Offerer shall
      submit its offered rent and other price data, together with required information and submissions. The Lease paragraph titled
      "Definitions and General Terms" shall apply to the terms of this RLP.

      C. Do not attempt lo complete the lease form (GSA Form L20 1C). Upon selection for award , GSA will transcribe the successful
      Offerer's final offered rent and other price data included on the GSA Form 1364C into the lease form. and transmit the completed
      Lease, including any appropriate attachments, to the successful Offeror for execution. Neither the RLP nor any other part of an
      Offeror's proposal shall be part of lhe Lease except to the extent expressly incorporated therein. The Offerer should review the
      completed Lease for accuracy and consistency with his or her proposal, sign and date the first page, initial each subsequent page of
      the Lease. and return It to the Lease Contracting Officer (LCO}.

      D. The Offerer's executed Lease shall constitute a firm offer. No Lease shall be formed until the LCO executes the Lease and
      delivers a signed copy to the Offeror.

      1.02        AMOUNT AND TYPE OF SPACE, LEASE TERM , AND OCCUPANCY DATE (SEP 2013)

      A. The Government is seeking a minimum of 393,633 of American National Standards Institute/Building Owners and Managers
      Association (ANSI/SOMA) Office Area (ABOA) square feel (SF). yielding no more than 4 73,000 rentable square feet (RSF), of
      contiguous space within the Alea of Consideration set forth below. Of this space, the Government requires approximately 28,495
      ABOA SF to be located on the first (1") or ground Roor of the offered building, which does not have to be contiguous to the
      remaining leased premises. If the approximately 28,495 ABOA SF is not available entirely on the ground/first floor, approximately
      4 ,320 ABOA SF may be located on the floor one ( 1) level below the ground level/first floor. See Section 2 of the Lease for
      applicable ANSl/BOMA standards.

      B. The Space shall be located in a modem quality Building of sound and substantial construction with a facade of stone, marble,
      brick, stainless steel, aluminum or other permanent materials in good condition and acceptable to the LCO. If not a new Building,
      the Space offered shall be in a Building that has undergone, or will complete by occupancy, modernization or adaptive reuse for the
      Space with modern conveniences.

      C. Offered space must be contiguous (with the exception of the ground level/first floor space referenced in paragraph 1.02.A.
      above) and accommodated in no more than one ( 1) building, as determined by the LCO. To qualify as one (1) building, offered
      space must be owned by a single Offerer and the structures, if more than one. must be connected internally on at least 70% of the
      Government·occupied floors.

      D. The lowest point of lhe top Roor of the offered space shall be no more than 25 lineal feet from the exterior surface of the roof,
      but generally not exceeding two floors. For example, in a ten story building, the upper-most floor of the offered space would need to
      be on floors nine or ten.

      E. The Government requires 12 structured/inside non-stacked parking spaces (each of which shall meet a ll requirements for
      parking spaces under applicable laws) reserved for the exclusive use of the Government. These spaces must be grouped together
      and located proximate to a main employee entrance. as designated by the Government, and shall be marked by signage
      designating them as official Government spaces. These spaces must also be secured and lil In accordance with the Security
      Requirements set forth in the Lease. Offerer shall include the cost of this parking as part of the rental consideration .

      F. As part of the rental consideration and at no additional cost to the Government, the Government requires use of part of the
      Building roof for the installation of antennas. Specifications regarding the type of antennas and mounting requirements are included
      in the agency requirements information provided with this RLP. As ouUined in Section 1.02 of the Lease, the Government requires,
      at no additional cost to the Government, the exclusive right to 1) control access to the roof; and 2) restrict use by other parties if
      such use would interfere with the effectiveness of Government's telecommunications equipment. as determined by the LCO.

      G.      Approximately 600 ABOA SF will be used for the operation of a vending facility under the provisions of the Randolph-Sheppard



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      Act (20 USC 107 et. seq.). The Government will control the number, kind, and locations of vending facilities and will control and
      receive income from all automatic vending machines. Offeror shall provide necessary utilities and make related alterations. The
      cost of the improvements is part of Tenant Improvement (Tl) costs. The Government will not compete with other facilities having
      exclusive rights in the Building. The Offeror shall advise the Government if such rights exist.

      H. The lease term shall be 15 Years Firm. The Government shall have an option to renew the Lease for a term of up to five (5)
      years (see Lease paragraph 1.06, Option to Renew), effective after year 15, by providing not less than three hundred sixty (360)
      days' prior written notice. This shall be an evaluated option.

          Occupancy is required in accordance with the schedule outlined in the Schedule for Completion of Space paragraph under the
      Lease, but must occur between October 18, 2017, and December 31, 2019.

      J.   Purchase Option - Offerors must provide an option to purchase the Building at the end of the lease term and any renewal
      options thereof, as outlined in Exhibit L (Rider No. 1) to this RLP. This purchase option will not comprise a part of the price
      evaluation for the leasehold interest of this solicitation as described in Paragraph 4.05 of this RLP.

      1.03      AREA OF CONSIDERATION (JUN 2012)

      The Government requests Space in the Central Employment Area (CEA) of Washington, D.C. within 2,640 walkable linear feet of a
      Metrorail station.

      Buildings that have frontage on the boundary streets are deemed to be within the delineated Area of Consideration.

      1.04      NEIGHBORHOOD, PARKING, LOCATION AMENITIES, AND PUBLIC TRANSPORTATION (SEP 2013)

      A.     INSIDE CITY CENTER: Space shall be located in a prime commercial office district with attractive, prestigious, and
      professional surroundings with a prevalence of modern design and/or tasteful rehabilitation in modern use. Streets and public
      sidewalks shall be well maintained. The parking-to-square-foot ratio available on-site shall at least meet current local code
      requirements, or in the absence of a local code requirement, on-site parking shall be available at a ratio of one ( 1) space for every
      1,500 RSF of Space. Throughout the term of the Lease and any extension thereof, the Government shall have a continuous first
         51
      ( 1 ) right to its pro-rata share of on-site parking at prevailing market rates. A variety of inexpensive or moderately priced fast-food
      and/or eat-in restaurants shall be located within the immediate vicinity of the Building, but generally not exceeding a walkable 2,640
      feet of the employee entrance of the offered Building, as determined by the LCO. Other employee services, such as retail shops,
      cleaners, and banks, shall also be located within the immediate vicinity of the Building, but generally not exceeding a walkable
      2,640 feet of the employee entrance of the offered Building, as determined by the LCO. A commuter rail, light rail, or subway
      station shall be located within the immediate vicinity of the Building, but generally not exceeding a walkable 2,640 feet, as
      determined by the LCO. Amenities must be existing or the Offeror must demonstrate to the Government's reasonable satisfaction
      that such amenities will exist by the Government's required occupancy date.

      B.     INTENTIONALLY DELETED

      1.05      LIST OF RLP DOCUMENTS (APR 2015)

      The following documents are attached to and included as part of this RLP package:

                                                   ;''   ',   ',,                        ·.,   1\10. OF
                                       .0 :   ~.   OoculfeNf NAME          ::                  PAGES      EXHIBIT
                                Lease No. GS-XXP-LXXXXXXX (Form L201 C)                          43         A
                                Agency's Special Requirements, Dated September
                                                                                                  3         B
                                21,2015
                                Security Requirements for Level IV                               13         c
                                GSA Form 3516, Solicitation Provisions                            5         D
                                GSA Form 3517B, General Clauses                                  47         E
                                Proposal to Lease Space (GSA Form 1364C)                          3          F
                                GSA Form 1217, Lessor's Annual Cost Statement                     2         G
                                GSA Form 3518 -SAM, Addendum to System for
                                Award Management (SAM) Representations and
                                Certifications (Acquisitions of Leasehold Interests in
                                                                                                  2         H
                                Real Property)
                                GSA Form 12000 for Prelease Fire Protection and
                                Life Safety Evaluation for an Office Building (Part A
                                                                                                  6          I
                                or Part B) (See Section 3 for applicable
                                reauirements)
                                Proaram of Requirements                                          107         J
                                Commission Agreement                                              3         K
                                Rider No. 1                                                       2         L




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     documents. After completing the construction documents, the Lessor shall submit a list of the itemized costs. Such costs shall be
     subject to negotiation.

     C.     There shall be no charge to the Government for any items that already exist in the offered Building or facility.

     1.10        SECURITY LEVEL DETERMINATION FOR FACILITY HOUSING OTHER FEDERAL TENANTS (APR 2011)

     If an Offeror is offering Space in a facility currently housing a Federal agency, the security requirements of the facility may be
     increased and the Offerer may be required to adhere to a higher security standard than other Offerors competing for the same
     space requirement. If two or more Federal space requirements are being competed at the same time, an Offeror submitting on both
     or more space requirements may be subject to a higher security standard if the Offeror is determined to be the successful Offeror on
     more than one space requirement. It is incumbent upon the Offeror to prepare the Offeror's proposal accordingly.

     1.11        INSPECTION-RIGHT OF ENTRY (JUN 2012)

     A. At any time and from time to time after receipt of an offer (until the same has been duly withdrawn or rejected), the agents,
     employees and contractors of the Government may, upon reasonable prior notice to Offeror, enter upon the offered Space or the
     Premises, and all other areas of the Building access to which is necessary to accomplish the purposes of entry, to determine the
     potential or actual compliance by the Offeror with the requirements of the RLP and its attachments, which purposes shall include,
     but not be limited to:

                 1.   Inspecting, sampling, and analyzing of suspected asbestos-containing materials and air monitoring for asbestos
     fibers.

               2.   Inspecting the heating, ventilation and air conditioning system, maintenance records, and mechanical rooms for the
     offered Space or the Premises.

              3.    Inspecting for any leaks, spills, or other potentially hazardous conditions which may involve tenant exposure to
     hazardous or toxic substances.

                4.   Inspecting for any current or past hazardous waste operations, to ensure that appropriate actions were taken to
     alleviate any environmentally unsound activities in accordance with Federal, state, and local law.

     B. Nothing in this paragraph shall be construed to create a Government duty to inspect for toxic materials or to impose a higher
     standard of care on the Government than on other lessees. The purpose of this paragraph is to promote the ease with which the
     Government may inspect the Building. Nothing in this paragraph shall act to relieve the Offeror of any duty to inspect or liability
     which might arise because of Offerer's failure to inspect for or correct a hazardous condition.

     1.12        AUTHORIZED REPRESENTATIVES (JUN 2012)

     With respect to all matters relating to this RLP, only the Government's LCO designated below shall have the authority to amend the
     RLP and award a Lease. The Government shall have the right to substitute its LCO by notice, without an express delegation by the
     prior LCO.

                 Lease LCO:

                 Kevin M. Terry
                 General Services Administration
                 301 ?'h Street, SW
                 Washington, DC 20407
                 202. 708.4600
                 kevin.terry@gsa.gov

     As to all other matters, Offerors may contact the Alternate Government Contact designated below.

                 Alternate Government Contact:

                 Henry 0. Chapman I Sara B. Dunstan I Richard T. Downey
                 CBRE, Inc.
                 750 gth Street, NW, Suite 900
                 Washington, DC 20001
                 202.585.5665 I 202.585.5663 I 202.585.5664
                 henry.chapman@cbre.com I sara.dunstan@cbre.com I richard.downey@cbre.com

     1.13        BROKER COMMISSION AND COMMISSION CREDIT (SEP 2013)

     A. For the purposes of this RLP, CBRE, INC. (the Broker) is the authorized contractor real estate broker representing GSA.
     Offerors are advised that there is a potential for a dual agency situation to arise under this procurement, whereby the Broker may
     represent both GSA and another Offeror under this lease action. By submitting an offer, the Offeror acknowledges the potential for




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                   c.    A copy of the previous year's automatic fire sprinkler system maintenance record showing compliance with the
                         requirements in NFPA 25 (if a system is installed in the Building).
                   d.    A valid Building Certificate of Occupancy (C of 0) issued by the local jurisdiction. If the Building C of 0 is not
                         available or the local jurisdiction does not issue a Building C of 0, a report prepared by a licensed fire protection
                         engineer with their assessment of the offered Space regarding compliance with all applicable local Fire
                         Protection and Life Safety-related codes and ordinances must be provided.

         2.   If the Space offered is 10,000 RSF or less in area and is located on the 1st floor of the Building, Offerer is not required to
              submit to GSA the Fire Protection and Life Safety (FPLS) Submittal Information listed in 1.1.a through 1.1.d above.

         3.   If the Offerer provides a Building C of 0 obtained under any edition of the International Building Code (IBC), and the
              offered Space meets or will meet all the requirements of the Lease with regard to Means of Egress, Automatic Fire
              Sprinkler System, and Fire Alarm System prior to occupancy, then the Offerer is not required to submit to GSA the FPLS
              Submittal Information listed in 1.1 above.

    K. The legal description of the Property and tax ID number associated with the Property, copies of prior year tax notices and prior
    year tax bills, as well as any other information (such as a fact sheet, 5" wide x 3" high or larger color photograph, site plan, location
    map, and tax parcel map) in case of multiple tax parcels for an offered Building, and any other information that may affect the
    assessed value, in order for the Government to perform a complete and adequate analysis of the offered Property. The Offerer is to
    provide a detailed overview and documentation of any Tax Abatements on the Property as outlined in the "Real Estate Tax
    Adjustment" paragraph of the Lease.

    L.   A plan and short narrative as necessary to explain how the Offerer will meet the parking requirements.

    M.   The architectural plans for modernization, if the offered Building is not a modern office Building.

    N.   An asbestos management plan, if the offered Building contains asbestos-containing materials.

    0.    First generation plans scaled at a minimum of 1/8" = 1'-0" (preferred) shall be submitted for review and consideration and meet
    N.1 through N.5 noted below.

         1.   All plans submitted for consideration shall include floor plan(s) for which Space is being offered and floor plan(s) of the
              floor(s) of exit discharge (e.g., street level(s)). Each plan submitted shall include the locations of all exit stairs, elevators,
              and the Space(s) being offered to the Government. In addition, where Building exit stairs are interrupted or discontinued
              before the level of exit discharge, additional floor plans for the level(s) where exit stairs are interrupted or discontinued
              must also be provided.

         2.   All plans submitted for consideration shall have been generated by a Computer Aided Design (CAD) program which is
              compatible with the latest release of AutoCAD. The required file extension is .DWG. · Clean and purged files shall be
              submitted on CD-ROM. Plans shall include a proposed corridor pattern for typical floors and/or partial floors. The CAD
              file showing the offered Space should show the Poly-Line utilized to determine the square footage on a separate and
              unique layer. All submissions shall be accompanied with a written matrix indicating the layering standard to verify that all
              information is recoverable. All architectural features of the Space shall be accurately shown.

         3.   Photostatic copies are not acceptable. All architectural features of the Space shall be accurately shown. If conversion or
              renovation of the Building is planned, alterations to meet this RLP shall be indicated.

         4.   Plans shall reflect corridors in place or the proposed corridor pattern for both a typical full (single-tenant) floor and/or
              partial (multi-tenant) floor. The corridors in place or proposed corridors shall meet local code requirements for issuance of
              occupancy permits.

         5.   GSA will review all plans submitted to determine if an acceptable level of safety is provided. In addition, GSA will review
              the common corridors in place and/or proposed corridor pattern to determine whether these achieve an acceptable level
              of safety as well as to verify that the corridors provide public access to all essential Building elements. The Offerer will be
              advised of any adjustments that are required to the corridors for determining the ABOA Space. The required corridors
              may or may not be defined by ceiling-high partitions. Actual corridors in the approved layout for the successful Offerer's
              Space may differ from the corridors used in determining the ABOA square footage for the lease award. Additional egress
              corridors required by the tenant agency's design intent drawings will not be deducted from the ABOA square footage that
              the most efficient corridor pattern would have yielded.

    P. As provided in the "Amount and Type of Space, Lease Term, and Occupancy Date" paragraph in the RLP, advise whether
    there are existing vending facilities in the offered Building which have exclusive rights in the Building.

    Q.   Provide evidence demonstrating amenities do or will exist by the Government's required occupancy date. Such evidence shall
    include copies of signed leases, construction contracts, or other documentation as deemed acceptable by the LCO.

    R.   No later than the due date for final proposal revisions, the Offerer must submit to the LCO:

         1.   Evidence of an Energy Star® label obtained within the 12 months prior to the due date of final proposal revisions,




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                                                                                         CBRE
     November   16, 2015

                                Negotiation Meeting Minutes
                              The Portals II - November 5, 2015
                      GS-P- 1l- l4-YL-004 I . Federal Co111mw1icatio11s Commission
                                  Co111mc1 Number: GS-00-P- I 0-BQ-n-oon I

     In Attendance:

     Kevin Terrv - GSA/ Lease Contracting Officer            Paul Hood - CBRE FLAG (Offeror Rep)
     Michael Klein - GSA/General Counsel                     Stephanie Hamlett - GSA/WPDBA
     Hemv Chapman - CBRE                                     Dawud Abdur-Rahman - GSAIWPDBA
     Richard Downey - CBRE                                   Frank Harrv - FC Harrv Co.
     Sarah Maxwell - CBRE                                    Steven Gri!!:!!: - Republic Properties
     Robert DiGiovonni - DFS Construction                    Geor!!e Cantrell - Republic Prooerties
     Marcy Owens Test- CBRE FLAG (Offeror Reo)               Keith Worley - WDG Architecture
     Tim Hutchens - CBRE FLAG (Offeror Reo)                  Amy Edwards - Holland & Knight

     Review of Discussion Topics:
     • CBRE beg.an the meeting by having the parties introduce themselves. CBRE explained
        that the purpose of the negotiation session was to make sure the offer is fully compliant
        and to discuss the financial components and deficiencies of the offer. CBRE discussed the
        timeframe for the procurement and explained that the next step would likely be a Jetter
        calling for Final Proposal Revisions; however, timing was contingent upon the internal
        review of the NEPA documentation.
     • CBRE suggested discussing the two outstanding NEPA items before reviewing the Initial
        Offer.
     • Tim Hutchens acknowledged that the offered location was located in a 500-year
        floodplain and that ownership was in the process of mitigation. Michael Klein explained
        that the Government had identified this procurement as a critical action and therefore, the
        offered site cannot be· considered for award if the Government had alternative locations
        that are not in the 500-year floodplain, even if mitigation took place. Mitigation would be
        required if no alternative locations outside of the 500-year floodplain were offered.
        Michael Klein explained that to be considered for award, the FEMA flood map would
        need to be changed to exclude the offered site prior to the due date for Final Proposal
        Revisions which was highly unlikely, considering the timeframe. The Offeror responded
        that they would move forward with the mitigation plan and have the FEMA maps
        changed.
     • CBRE stated that the Offeror was required to complete a Phase I Environmental
        Assessment in accordance with NEPA and the RLP. Stephanie Hamlett, GSA's NEPA
        advisor, confirmed that the Offeror was required to follow the NEPA guidelines in RLP
        Paragraphs 2. 11 and 5.03. The Offeror expressed concern that existing buildings were
        being held to an unfair standard in comparison to new construction projects but agreed to
        follow the requested format. Offeror asked if a specific NEPA requirement does not apply


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                                                                                                       AR 785
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       II                                                                                  CBRE
           to the offered site how should it be addressed. Stephanie responded the Offeror must
           provide justification on why the NEPA requirement is not applicable.
       •   CBRE asked if there were any questions, and the Offeror questioned if the move and
           replication costs for the Government had been calculated and if those costs were going to
           be included in the evaluation.
       •   GSA responded that the move and replication costs for the Government will not be
           disclosed but would be factored into the analysis, if applicable.
       •   CBRE outlined a few deficiencies that must be corrected in order to make the offer fully
           compliant.
       •   CBRE discussed GSA Fonn J364:
       •   Section II: 13 - Offeror did not provide amortized BSAC. CBRE stated Offeror must
           inc lude the required -        for BSAC and if there are existing security items that are in
           good condition and can be utilized, credit will go towards lessor.
       •   CBRE discussed the clarifications from the Initial Offer:
                  Paragraph 5, Lease Commencement: Offeror suggested that Lease Commencement
                  start upon completion of final lease swing plan. GSA stated the Lease Term will
                  begin based on a composite occupancy date.
                  Paragraph 10, Uppermost Floor: CBRE asked how the uppermost floor must be
                  within 25 feet from the roof requirement is accommodated in an 11 story building
                  when the bottom 6 floors are offered. The Offerer stated space on a higher floor
                  will be offered.
                  Paragraph 15, Parking: Lessor proposes -          space/year
                  escalation NTE •        CBRE stated this seems on the
                  Government was currently paying. Offeror explained the Government is currently
                  paying under a separate lease and will check the rate.
                  Paragraph 18, Overtime Utilities: Offer included                       which CBRE
                  pointed out is costly and suggested the Offerer revisit or provide j ustification for
                  such a high rate.
       •   CBRE discussed GSA Form 3518-SAM:
                  Offeror only submitted Entity Overview and must include full FAR Report showing
                  representations and certifications.
                  CBRE asked if the Offerer is a small business.
                  Offeror stated might be a small business with new annual average gross revenue
                  threshold but will confinn. If not a small business, then Offeror will provide small
                  business plan.
       •   CBRE discussed the Swing Plan:
                  Offeror proposed 4 phase plan that moves staff on floors l and 2 for the duration of
                  the renovation. According to Offerer, each phase should take approximately • 1
                  days to complete with the Commissioner's Room completed last.
                  CBRE noted the primary issue with the swing plan is the aggressive timeframe for
                  each phase to be complete.
                  Offeror stated allotted •days to comply with the 200 day construction requirement
                  in the RLP.
                  GSA stated 200 days only applies to new construction and existing buildings is
                  required to. complete construction by occupancy date but will need to confirm.
       •   CBRE discussed the Capital Improvement Plan:
                                                                                             2 j P agc



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    II                                                                                CBRE

              Offeror perfonned a property Condition Assessment; however, an updated
              assessment plan is forthcoming and will be submitted with FPR.
    •   CBRE discussed the Commitment of Funds:
              Offeror stated project i s - - N e e d to provide proof of funds.
    •   CBRE discussed the Pre-Lease Fire Protection and Safety Evaluation:
              Section II - Offer needs to only provide space offered to the Government.
              Section IV (b) - Fire sprinkler system must be maintained by applicable local code
              orNFPA25 .
    •   CBRE outlined several other deficiencies in the offer:
              Evidence of Signatory Authority
              All documents must be signed by authorized signatory authority
              Energy Star Compliance
              Phase I Environmental Assessment
              Offeror is a large business and must provide a small business subcontracting plan
              RLP Paragraph 3.06.1- Offeror must provide SAM registration
              RLP Paragraph 3.06.J - Offeror must provide current C of 0
    •   CBRE discussed the overall price offered and noted that the rental rate 1s m the
        competitive range however, given this is a competitive procurement, we do except the
        range to be lowered with subsequent offers. A/E fees are high and Adjustment for vacant
        premises are low. The Offeror agreed to revisit all costs noted by CBRE.
    •   CBRE reiterated some of the major deficiencies of the Offeror that could potentially cause
        the Offeror to be noncompliant, including: 500-year flood plain, NEPA approval -
        BSAC allowance and first floor ceiling height.

    Summary and Proposed Next Steps:
    •   The Offeror will correct all deficiencies outlined above.
    •   GSA and CBRE will clarify the POR items brought into question during the negotiation
        sessions with the agency.
    •   CBRE and GSA will likely issue a letter requesting Final Proposal Revisions and
        outlining the above deficiencies once NEPA documentation has been reviewed internally.

              ilJinutes Submitted By.· He111y 0. Cliap111a11 - CBRE. Nm•ember 16. 2015.


    Signature:_ _ __ _ _ _ __ _ _ _ __ _                       Date:
              Kevin M. Terry
              Lease Contracting Officer


    Signature: _ __ __ _ __ __ _ _ _ __                        Date:
               Kevin Paul
               Leasing Specialist




                                                                                                     AR 787
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                  EXHIBIT 8
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                                                                Michael Klein - LOW <mlchaelp.klein@gsa.gov>



Fwd: FCC (3DC0421) - NEPA Documentation
1 message

Stephanie Hamlett -WPDBA <stephanie.hamlett@gsa.gov>                                Tue, Dec 29, 2015 at 4:52 PM
To: Michael Klein - LOW <michaelp.klein@gsa.gov>
Cc: Kevin Teny - WPRA <kevin.terry@gsa.gov>

  28th email
  Stephanie R. Hamlett, AICP
  Chief, Planning Branch
  Office of Planning and Design Quality
  U.S. General Services Administration
  National Capital Region
  301 7th Street. SW
  Suite 4004
  Washington, DC 20407
  Office: (202) 401-9764
  Cell: (202)316-2114

  - - - Forwarded message - -
  From: Downey, Richard@Washington DC <Richard.Downey@cbre.com>
  Date: Wed, Oct 21, 2015 at 2:46 PM
  Subject: FCC (3DC0421) - NEPA Documentation
  To: "stephanie.hamlett@gsa.gov· <stephanie.hamlett@gsa.gov>
  Cc: "Kevin Terry (kevin.terry@gsa.gov)" <kevin.terry@gsa.gov>, "Eric Albrecht - WPIAA
  (eric.albrecht@gsa.gov)" <eric.albrecht@gsa.gov>, "Chapman. Henry @Washington DC"
  <Henry.Chapman@cbre.com>



  Stephanie,

  We received five offers for the FCC procurement in DC. Below is a link to download the NEPA submittal for one
  of the offers.



  https://cbftp.cbre.com/download.aspx?fileld= 1014685&vaultToken= 70719345-8eee4854-8c 77-
  e4a309a42268&1ink=yes&fileName=Washington+Gateway+-+NEP A+lnformation.zip



  I will bring hard copies of three others to your desk tomorrow. The fifth offeror (the incumbent location) only
  submitted the attached NEPA checklist. They also maintain that they are located outside of the 100 or 500-year
  floodplains.



  Please note - all offerOfS, excluding the incumbent location, submitted NEPA documentation for a recent
  procurement that received a CATEX.



  We would like to have feedback on the documents prior to our negotiation meetings which   will take place in the
  next two weeks. Will that be enough time to review and provide feedback?




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                  EXHIBIT 9
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                                                                  GSA National Capital Region

                                VIA ELECTRONIC MAIL

September 22, 2015

Mr. Timothy Hutchens
CBRE, Inc.
750 9th Street, NW
Suite 900
Washington, DC 20001

       Re:   General Services Administration (RLP No. 3DC0421)
             Portals II – 445 12th Street, SW

Dear Mr. Hutchens:

Enclosed is a copy of Request for Lease Proposals (RLP) No. 3DC0421 for your use in
submitting an initial offer for the General Services Administration's requirement for
space in Portals II, 445 12th Street, SW, Washington, DC 20024.

Due to the nature of the Agency’s mission requirements, the Government has
determined this procurement to be a critical action. The Water Resources Council’s
Floodplain Management Guidelines for Implementing Executive Order 11988 defines a
critical action as any activity for which even a slight chance of flooding would be too
great a risk, and therefore should be located outside the 500-year floodplain. Since it
appears your offered building is located in the 500-year floodplain, your offer is subject
to mitigation.

Please carefully review the RLP and attachments and initial all pages where indicated.
The following forms must be completed and returned with your offer:

      RLP No. 3DC0421
      Lease No. GS-XXP-LXXXXXXX (Form L201C)
      Agency Specific Requirements
      Security Requirements for Level IV
      GSA Form 3516 (Solicitation Provisions)
      GSA Form 3517B (General Clauses)
      GSA Form 1364C (Proposal to Lease Space)
      GSA Form 1217 (Lessor's Annual Cost Statement and Instructions)
      GSA Form 3518-SAM (Addendum to System for Award Management and
       Representations and Certifications)
      GSA Form 12000 (Prelease Fire Protection and Life Safety Evaluation)
      Program of Requirements
      Commission Agreement
      Rider No. 1 (Additional Renewal Option and Purchase Option)
                                                                  U.S. General Services Administration
                                                                  301 7th Street, SW
                                                                  Washington, DC 20407-0001
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      Documentation required to comply with NEPA
      500-year floodplain mitigation plan


Any exceptions you may have to the Solicitation must be outlined separately in your offer,
so that we can address those items during negotiations. If you plan to have your legal
counsel review the language in the RLP, Form L201C, Form 3517B and 3518, please
submit those documents to your legal counsel now, so as to allow adequate time to discuss
any language issues that may arise. Changes to the language in these documents cannot
be made after you submit your final proposal revisions.


Please submit your initial offer by 3:00 PM on October 20, 2015, to the following
address:

                            CBRE, Inc.
                            ATTN: Henry Chapman, Sara Dunstan, Richard Downey
                            750 9th Street, NW
                            Suite 900
                            Washington, DC 20001

After receipt of your initial offer, the Government will contact you for negotiations.

If you have any questions please contact Henry Chapman, Sara Dunstan or Richard
Downey at (202) 783-8200.


Sincerely,

Kevin M. Terry / HOC

Kevin M. Terry
Lease Contracting Officer




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                                                                   GSA National Capital Region

                                VIA ELECTRONIC MAIL

September 22, 2015

Mr. Tom Finan
Trammell Crow Company
1055 Thomas Jefferson Street
Suite 600
Washington, DC 20007

       Re:   General Services Administration (RLP No. 3DC0421)
             Sentinel Square III

Dear Mr. Finan:

Enclosed is a copy of Request for Lease Proposals (RLP) No. 3DC0421 for your use in
submitting an initial offer for the General Services Administration's requirement for
space in Sentinel Square, 45 L Street, NE, Washington, DC 20002.

Please carefully review the RLP and attachments and initial all pages where indicated.
The following forms must be completed and returned with your offer:

      RLP No. 3DC0421
      Lease No. GS-XXP-LXXXXXXX (Form L201C)
      Agency Specific Requirements
      Security Requirements for Level IV
      GSA Form 3516 (Solicitation Provisions)
      GSA Form 3517B (General Clauses)
      GSA Form 1364C (Proposal to Lease Space)
      GSA Form 1217 (Lessor's Annual Cost Statement and Instructions)
      GSA Form 3518-SAM (Addendum to System for Award Management and
       Representations and Certifications)
      GSA Form 12000 (Prelease Fire Protection and Life Safety Evaluation)
      Program of Requirements
      Commission Agreement
      Rider No. 1 (Additional Renewal Option and Purchase Option)
      Documentation required to comply with NEPA

Any exceptions you may have to the Solicitation must be outlined separately in your offer,
so that we can address those items during negotiations. If you plan to have your legal
counsel review the language in the RLP, Form L201C, Form 3517B and 3518, please
submit those documents to your legal counsel now, so as to allow adequate time to discuss
any language issues that may arise. Changes to the language in these documents cannot
be made after you submit your final proposal revisions.
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Please submit your initial offer by 3:00 PM on October 20, 2015, to the following
address:

                            CBRE, Inc.
                            ATTN: Henry Chapman, Sara Dunstan, Richard Downey
                            750 9th Street, NW
                            Suite 900
                            Washington, DC 20001

After receipt of your initial offer, the Government will contact you for negotiations.

If you have any questions please contact Henry Chapman, Sara Dunstan or Richard
Downey at (202) 783-8200.


Sincerely,

Kevin M. Terry / HOC

Kevin M. Terry
Lease Contracting Officer




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                                                               GSA National Capital Region

                                VIA ELECTRONIC MAIL

December 1, 2015

Mr. Timothy Hutchens
CBRE
750 9th Street, NW,
Suite 900
Washington, DC 20001

      Re: RLP Number 3DC0421
          Portals II – 445 12th Street, SW, Washington, DC

Dear Mr. Hutchens:

Thank you for your initial offer dated October 20, 2015, on behalf of Parcel 49C Limited
Partnership (“Offeror”) for the above referenced procurement. The Government
appreciates your efforts to submit a comprehensive and fully compliant offer. The
Government has the following clarifications they would like you to address along with a
Final Proposal Revision (FPR). These clarifications, along with the attached
Amendment Number Two, outline all of the additional items that should be included or
taken into consideration with your FPR.

As we discussed in our negotiation meeting on November 5, 2015, you will need to
clarify or correct the following items in order to make your offer fully compliant:

   1. GSA Form 1364
        a.    Section II: 13 – Please provide BSAC amortization amount. Your offer
              will be considered non-responsive without this full allowance.
        b.    Section III: 27 – Tenant Improvement Fees are the high end of the
              competitive range. Please revisit.
        c.    If you are going to offer a cash allowance concession, please indicate
              when the funds would be made available.

   2. Additional Remarks or Conditions to the 1364:
        a.     3. Renewal Option: The Government does not accept the proposed
               language at this time. The Government will select term at time of
               exercising option; tax base not to reset.
        b.     5. Lease Commencement: The Government does not accept the
               proposed language. The Lease shall commence on the composite
               Occupancy Date.
        c.     10. Uppermost Floor: “Offeror confirms uppermost floor (6th) is within
               the 25 feet from the roof”. Please confirm and expand on how this is


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             accomplished in an 11 story building. If not, please modify offered
             space so your offer will be compliant.
      d.     15. Parking: Parking rates are at the high end of the competitive range
             and annual cap is excessive.
      e.     18. Overtime Utilities: HVAC overtime rate is at the high end of the
             competitive range. Please revisit and submit a detailed explanation of
             the actual costs.

3. GSA Form 3518-SAM
     a.    Need to provide full FAR Report showing representations and
           certifications.
     b.    Clarify whether or not a small business. If not, please provide a small
           business subcontracting plan.

4. Swing Plan
     a.     Provide Letter of Intent for lease of swing space. Please note that the
            Lease Commencement Date shall be no later than December 31,
            2019, and the schedule should be modified to be more realistic.

5. Capital Improvement Plan
     a.      Please submit updated building condition assessment plan.

6. Commitment of Funds
     a.   Please provide verification of funds and capability to perform.

7. FPLS Evaluation
     a.    Section II – Only provide space offered to the Government.
     b.    Section IV (b) – Fire sprinkler system must be maintained by
           applicable local codes or NFPA 25.

8. NEPA Documentations
     a.   Please provide NEPA documentation in accordance with RLP
          Paragraphs 2.11 and 5.03. The documentation must be in the
          requested format, fully responsive and must be for the offered
          property. If any of the requested documents are not applicable to your
          property, please state this along with an explanation in your response.
          Failure to timely and comprehensively submit this information prior to
          receipt of FPR, will cause your offer to be deemed non-responsive and
          you will no longer be considered for award.
     b.   You have confirmed the FEMA map showing that the property is within
          the 500-year floodplain. Because this procurement has been identified
          as a critical action by the Government, The Portals II cannot be
          considered for award if the Government has alternatives that are not in
          the 500-year floodplain. At this time, several other building alternatives
          exist and it is anticipated they will submit Final Proposal Revisions. If


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                 this occurs, the Government will have practicable alternatives, and
                 your site will not be eligible for consideration for award.

   9. Missing Items
         a.     Energy Star compliance
         b.     Phase I Environmental Assessment
         c.     LEED-CI Narrative
         d.     Evidence of signatory authority
         e.     All documents must be signed by authorized signatory
         f.     RLP Paragraph 3.06.I – Please provide SAM registration
         g.     RLP Paragraph 3.06.J – Please provide current C of O

Along with the above corrections, you are hereby requested to sign Amendment
Number Two and submit an FPR for Portals II for RLP No. 3DC0421. Two (2) originals
of your best and final offer will be due in the offices of CBRE, Inc., located at 750 9th
Street, NW, Suite 900, Washington, DC 20001 no later than 3:00 p.m. on December 15,
2015. The offer should include a correction of the clarifications and deficiencies as
noted above.

The Government would also like you to look at your costs outlined on the GSA Forms 1217
and 1364 to make certain there is consistency among the documents and revise as
appropriate to ensure that you are offering the most competitive economic terms to the
Government.

If you have any questions, please contact Henry Chapman or Richard Downey at (202)
783-8200. Thank you for your continued interest in the Government’s tenancy.


Sincerely,

Kevin M. Terry / HOC

Kevin M. Terry
Lease Contracting Officer




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                                                                  Washington, DC 20407-0001
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                                                             GSA National Capital Region

                               VIA ELECTRONIC MAIL

December 1, 2015

Mr. Tom Finan
Trammell Crow Compnay
1055 Thomas Jefferson Street, NW
Suite 600
Washington, DC 20007

      Re: RLP Number 3DC0421
          Sentinel Square III - 45 L Street, NE, Washington DC

Dear Mr. Finan:

Thank you for your initial offer dated October 20, 2015, on behalf of Trammell Crow
Company (“Offeror”) for the above referenced procurement. The Government
appreciates your efforts to submit a comprehensive and fully compliant offer. The
Government has the following clarifications they would like you to address, which
should be incorporated in a Final Proposal Revision (FPR). These clarifications, along
with the attached Amendment Number Two, outline all of the additional items that
should be included or taken into consideration with your FPR.

As we discussed in our negotiation meeting on November 5, 2015, you will need to
clarify or correct the following items in order to make your offer fully compliant:

   1. GSA Form 1364
        a. Section I: Adjustment for vacant premises applies to full floor increments.
           Please consider providing zonal increments.
        b. Section I: 3.a. – State full building RSF.
        c. Note 13: confirm the 5,930 ABOA SF requiring 24/7 HVAC is included in
           the offered rental rate.
        d. If you are going to offer a cash concession, please indicate when the
           funds would be made available.

   2. GSA Form 3518
        a.    Please use Form 3518-SAM provided with the RLP package. Also
              include active SAM registration.

   3. Commitment of Funds
        a.   Letter provided from financial institution, but pertains to a different
             procurement. Provide updated letter pertaining to this procurement.

   4. Evidence of Ownership
                                                                 U.S. General Services Administration
                                                                 301 7th Street, SW
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             a.   Please describe process that will need to be completed to create single
                  ownership entity.

   5. Commission Agreement
        a.   Modifications to the commission agreement are currently being
             reviewed.

   6. Missing Items/Deviations
         a.     Provide proof of signatory authority. We will also need articles of
                incorporation.
         b.     RLP Paragraph 3.06.I –SAM registration will be needed for final single
                ownership entity.
         c.     RLP Paragraph 3.06.J – Pre-lease FPLS evaluation.
         d.     Please reconsider providing additional renewal option and purchase
                option.
         e.     Please ensure all offered items and documents are for RLP No.
                3DC0421.

Along with the above corrections, you are hereby requested to sign Amendment
Number Two and submit an FPR for Sentinel Square III for RLP No. 3DC0421. Two (2)
originals of your best and final offer will be due in the offices of CBRE, Inc., located at
750 9th Street, NW, Suite 900, Washington, DC 20001 no later than 3:00 p.m. on
December 15, 2015. The offer should include a correction of the clarifications and
deficiencies as noted above.

The Government would also like you to look at your costs outlined on the GSA Forms 1217
and 1364 to make certain there is consistency among the documents and revise as
appropriate to ensure that you are offering the most competitive economic terms to the
Government.

If you have any questions, please contact Henry Chapman or Richard Downey at (202)
783-8200. Thank you for your continued interest in the Government’s tenancy.


Sincerely,

Kevin M. Terry / HOC

Kevin M. Terry
Lease Contracting Officer




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                                                             GSA National Capital Region

                               VIA ELECTRONIC MAIL

April 1, 2016

Mr. Timothy Hutchens
CBRE
750 9th Street, NW,
Suite 900
Washington, DC 20001

      Re: RLP Number 3DC0421 – Lease Amendment Number Three
          Request for Clarifications and Revised Final Proposal Revision

Dear Mr. Hutchens:

Attached, please find Amendment Number Three to RLP Number 3DC0421, clarifying
language regarding the additional ten year option to renew and option to purchase. In
addition, to be considered for award, you must provide the following information with
your Revised Final Proposal Revision (FPR):

   1. Floodplain
         a.    Please provide any Letter of Map Revision (LOMR) you have received
               from FEMA that indicates the offered space is no longer within the 500-
               year floodplain.

   2. Statement of Review
         a.   In your Statement of Review, please confirm that offered space can
              meet the ceiling height of the FCC Operations Center outlined on page
              83 of the Program of Requirements (POR).

   3. GSA Form 1364
        a.    Please confirm the shell rate for the five year option to renew in Box
              23(a) of GSA Form 1364. FPR number may conflict with item Number
              7 of the “Additional Remarks and Conditions”.

Along with the above clarifications, you are hereby requested to sign a copy of
Amendment Number Three and any modifications to Rider Number One for Portals II for
RLP No. 3DC0421, due in the offices of CBRE, Inc., located at 750 9th Street, NW, Suite
900, Washington, DC 20001 no later than 3:00 p.m. on April 11, 2016. You are also
invited to revise any portion of GSA Form 1364 as a part of your Revised Final Proposal
Revision.




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                                       Page 2 of 2


The Government intends to award without further discussions. Thank you for your
continued interest in the Government’s tenancy.


Sincerely,

Kevin M. Terry / HOC

Kevin M. Terry
Lease Contracting Officer




                                                                  U.S. General Services Administration
                                                                  301 7th Street, SW
                                                                  Washington, DC 20407-0001
                                                                  www.gsa.gov                AR 1708
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                                                             Filed:    Protective Order
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                                                             GSA National Capital Region

                               VIA ELECTRONIC MAIL

April 1, 2016

Mr. Tom Finan
Trammell Crow Compnay
1055 Thomas Jefferson Street, NW
Suite 600
Washington, DC 20007

      Re: RLP Number 3DC0421 – Lease Amendment Number Three
          Request for Revised Final Proposal Revision

Dear Mr. Finan:

Attached, please find Amendment Number Three to RLP Number 3DC0421, clarifying
language regarding the additional ten year option to renew and option to purchase. In
accordance with revised RLP Section 1.02.J., you must provide the required purchase
option. Please provide a signed copy of Amendment Number Three and any
modifications to Rider Number One for Sentinel Square III for RLP No. 3DC0421, due in
the offices of CBRE, Inc., located at 750 9th Street, NW, Suite 900, Washington, DC
20001 no later than 3:00 p.m. on April 11, 2016. You are also invited to revise any
portion of GSA Form 1364 as a part of your Revised Final Proposal Revision.

The Government intends to award without further discussions. Thank you for your
continued interest in the Government’s tenancy.


Sincerely,

Kevin M. Terry / HOC

Kevin M. Terry
Lease Contracting Officer




                                                                 U.S. General Services Administration
                                                                 301 7th Street, SW
                                                                 Washington, DC 20407-0001
                                                                 www.gsa.gov                AR 1709
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November 16, 2015

                            Negotiation Meeting Minutes
                       Sentinel Square III – November 5, 2015
                 GS-P-11-14-YL-0041, Federal Communications Commission
                             Contract Number: GS-00-P-10-BQ-D-0001

In Attendance:

Kevin Terry – GSA/ Lease Contracting Officer       Sarah Maxwell – CBRE
Henry Chapman – CBRE                               Tom Finan – Trammell Crow Company
Richard Downey – CBRE

Review of Discussion Topics:
• CBRE began the meeting by having the parties introduce themselves. CBRE explained
   that the purpose of the negotiation session is to make sure the offer is fully compliant and
   to discuss the financial components and deficiencies of the offer. CBRE discussed the
   timeframe for the procurement, and explained that the next step would likely be a letter
   calling for Final Proposal Revisions; however, timing was contingent upon the internal
   review of the NEPA documentation.
• CBRE thanked the Offeror for providing a mostly compliant offer and outlined a few
   deficiencies that must be corrected in order to make the offer fully compliant.
• CBRE discussed GSA Form 1364:
      o   Section I: 3.a. – Offeror needs to provide full building SF.
      o   Section III: 28 – Adjustment for vacant premises only applied to full floor
          increments. CBRE suggested providing zonal increments as well. Offeror agreed to
          revisit.
• CBRE discussed GSA Form 3518
      o   Offeror did not use the most recent GSA Form 3518-SAM provided with the RLP
          package.
      o   CBRE pointed out the offered site is comprised of two parcels of land under two
          separate ownership entities and asked how the Offeror planned to create one
          common entity, as this is needed by FPR.
      o   Offeror explained that both parcels are in the same tax lot and confirmed the two
          entities would be under one partnership and registered in SAM by FPR.
• CBRE discussed the Commitment of Funds:
      o   Offeror included a letter from its financial institution but it referenced a different
          procurement. CBRE asked the Offeror to provide an updated letter pertaining to this
          procurement.
• CBRE acknowledged the modifications to the commission agreement made by the Offeror
   and stated that they would be reviewed.
• CBRE outlined several other deficiencies and missing documentation in the offer:
      o   Need Evidence of Signatory Authority
      o   RLP Paragraph 3.06.I – Offeror must provide SAM registration for ultimate entity.


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         o  RLP Paragraph 3.06.J – Offeror must provide FPLS evaluation or statement
            confirming compliance with FPLS standards and commitment to make
            recommended changes.
         o  Offeror asked to ensure all offered items and documents are for RLP No. 3DC0421.
         o  Offeror was asked to consider providing the requested Additional Renewal Option
            and Purchase Option.
•     CBRE discussed the overall price offered and noted that the rental rate was in competitive
      range, but that given this is a competitive procurement, the range was expected to be
      lowered with subsequent offers.
•     CBRE commented that Offerors had questions regarding the Program of Requirements
      and clarifications would be provided after consultation with the agency.

Summary and Proposed Next Steps:
• The Offeror will correct all deficiencies outlined above.
• GSA and CBRE will provide clarification regarding the POR items brought into question
  during the negotiation sessions.
• CBRE and GSA will likely issue a letter requesting Final Proposal Revisions outlining the
  above deficiencies once NEPA documentation has been reviewed internally.



             Minutes Submitted By: Henry O. Chapman – CBRE, November 16, 2015.



Signature:                                                    Date:
             Kevin M. Terry
             Lease Contracting Officer


Signature:                                                    Date:
             Kevin Paul
             Leasing Specialist




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GSA RLP No. 30C0421-FCC
In itial Offer - October 20, 2015

                                               Portals II
                            445 12th Street, SW, Washington DC

                                             Initial Offer

                 1.       GSA Form 1364 - Proposal to Lease Space with Attachment

                 2.       GSA Form 1217 - Lessor's Annual Cost Statement

                 3.       Statement of Review

                 4.       Floor Plans of the Offered Space

                 5.       Parking Plan and Narrative

                 6.       GSA Form 3518-SAM with SAM Registration Confirmation

                 7.       Amenity and Transportation Map

                 8.       EnergyStar Documentation

                 9.       LEED Documents

                 10.      Capital Improvement Plan

                 11.      NEPA Response - CATEX Checklist and Flood Plain Map

                 12 .     Swing Space Plan and Schedule

                 13.      Fire Protection and Life Safety Evaluation

                 14.      Fire Alarm and Sprinkler Maintenance Records

                 15.      Real Estate Tax Bills and Legal Description

                 16.      Ownership Evidence

                 17.      Zoning Evidence

                 18.      Commitment of Funds Evidence

                 19.      Landlord Representation Letter

                 20.      Government Broker Commission Agreement

                 21.      Dual Agency Agreement



                                                                                        CBRli
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                  EXHIBIT 12
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                                 Trammell CrowCompany

   October 20, 20 l 5

   RLP No. 3DC042 l
   CBRE, Inc.
   ATTN: Henry Chapman, Sara Dunstan, Richard Downey
   750 9th Street, NW
   Suite 900
   Washington, DC 20001

   Re:    Initial Offer for Request for Lease Proposals ("RLP") No. 3DC0421 for 45 L Street, NE
          Washington, DC.

   Dear Mr. Chapman, Ms. Dunstan and Mr. Downey:

   On behalf of Trammell Crow Company (The "Offeror"), I am pleased to submit this initial
   offer in response to the above referenced RLP. The enclosed submission offers to lease office
   space in accordance with the requirements of the RLP at the building known as Sentinel
   Square Ill to be constructed at 45 L Street, NE, Washington, DC (the "Building.")

   In accordance with the RLP, please find the following submission items enclosed:

    1.   Lessor's Statements
    2.   GSA RLP No. 3DC0421
    3.   Lease No. GS-XXX-XXXXX (Form L201 C)
    4.   Agency's Special Requirements
    5.   Security Requirements for Level IV
    6.   GSA Form 3516 Solicitation Provisions
    7.   GSA Form 3517B General Clauses
    8.   GSA From 1364C Proposal to Lease Space
    9.   GSA Form 1217 Lessor's Annual Cost Statement
   10.   GSA Form 3518 Representations and Certifications, SAM Addendum
   11.   GSA Form 12000 Prelease Fire Protection and Life Safety Evaluation
   12.   Small Business Subcontracting Plan
   13.   Commission Agreement
   14.   Rider No. 1
   15.   12 Reserved Parking Spaces
   16.   Schedule
   17.   Overtime HVAC Rates
   18.   Plans for Offered Space, AutoCAD for Offered Space
   19.   BOMA Table
   20.   Evidence that the Offered Space is Not Located in a Floodplain
   21.   EISA Compliance/ ENERGY STAR®/LEED®/Green Lease Submittals
   22.   Access to Transportation and Amenities
   23.   Quality and Appearance of Building
   24.   Evidence of Site Ownership/Land Deed
   25.   Zoning Compliance
   26.   Tax Information
   27.   Permission to Represent


                                                                                                AR 2014

                            1055 Thomas Jefferson Street, NW Suite 600 Washington, O.C. 20007
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    Offeror' s/Lessor' s Statements


    The following " statements" are a material component of our Initial Offer in response to
    GSA RLP #3DC042 l ("RLP") and are hereby incorporated therein and made a
    component thereof:

      1.   Project Offered: Sentinel Square is a multi-phase project which will ultimately
           contain nearly 1.3 million square feet of highly secure, environmentally friendly,
           efficient and affordable Class-A Office space in the thriving NoMa submarket of
           Washington, DC, as follows:.

                  Sentinel Square I, located at 90 K Street NE ("Sentinel Square I"), is
                  an existing 12-story office building containing 412,661 rentable
                  square feet of space that set the anchor for this overall development
                  at northwest corner of First and K Streets, NE. The building is 90 %
                  leased a nd currently occupied by several agencies of the US
                  Government through GSA and operates as a Level IV facility (see
                  Statement 7 for further detail on this tenancy). While Sentinel
                  Square I is not a part of the offered space (a) it is referred to in
                  various statements below as evidence of Lessor's abil ities w ith GSA
                  leases a nd/or requirements (i.e., LEED, Energy STAR, security,
                  financial capabilities, etc.]; and (b) over the long term may supply
                  the Citizenship & Immigration Services' with additional growth
                  opportunities, should the need arise during the long term lease.

                  Sentinel Square II, located at l 050 First Street NE ("Sentinel Square
                  11" or Offered Space Component A"), is a recently constructed 12
                  story office building containing 280,363 rentable square feet of
                  space that fronts the main thoroughfare serving NoMa and includes
                  the corner of First a nd L Streets, NE.

                  Sentinel Square Ill, to be located at 45 L Street NE ("Sentinel Square
                  Ill" or "Offered Space Component B"), is a proposed 12-story office
                  buildi ng which will contain approximately 539, 903 rentable square
                  feet of space that includes the ma jority of the L Street frontage
                  spanning from North Capitol Street to First Street, NE.

           Brochu res, photos, renderings, etc. for both Sentinel Square II and Sentinel Square
           Ill are included in this Initia l Offer package and more detail on all of the




                                   Request for Lease Proposal No. 3DC0421
                                   US Federal Communications Commission                         AR 2018


•                                                                                                  •
                                                 Presented by:                                      r.


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                •    Floodplain: Sentinel Square Ill does not sit in either the 100-year or 500-
                     year floodplain. Appropriate evidence is provided in this submission
                     package.

        3.   Space Offered: The space offered herein is comprised of (i) a portion of the first
             (l'') and third (3'd), and the entire fourth (41n) throug h twelfth (121n) floors of the
             building 1• The offered space contains a total of 4 73,000 contiguous rentable
             square feet (excluding first floor element) and 402,079 contiguous ABOA square
             feet.

             Due to the build ings' efficient design, the offered space has an overall core-factor
             of approximately 17 .6% on a GSNmulti-tenant basis.

             Tenant's proportionate share of the building is 87.61 %.

        4.   One-Building: The entire premises is contained in one-building.

        5.   Lessor Entities: The land for Sentinel Square Ill is currently owned by 90 K Hold ing
             LLC and 45 L Hold ing LLC, each of which is a joint venture of affiliates of
             Trammell Crow Company, Crow Holdings, and Cottonwood Partners.

        6.   Method of Measurement: Sentinel Square Ill will be measured in accordance with
             the American National Standards Institute/Building Owners and Managers
             Association (ANSl/BOMA) international standard Z65.1 issued June 1996 and
             certified by the project architect (SmithGroup/JJR) upon completion of final plans.
             For now, we have included preliminary BOMA calculations as part of this
             submission.

        7.   Finished Ceiling Heights: The finished ceiling heights on the typical floors of
             Sentinel Square II and Sentinel Square Ill are/will be 8' 6" with no coordination of
             plenum. First floor will be 11 ' 6".

        8.   Overtime HYAC Rates: Overtime Utility Rates per RLP:

                     •   The base rate for overtime HYAC for additiona l hours beyond the
                         Normal Hour Schedule2 is .    /hour/floor thereafter;

                     •   The base rate for overtime HVAC for Saturdays, Sundays or holidays is
                         -      per hour per floor.

    1
      The offered space may be subject lo change prior lo award of this contract based on the receipt of other GSA
    lease awards.
    2 Normal Hours ore 7:00 am - 6:00 pm, Monday-Friday, exclusive of Federal Holidays.




                                         Request for Lease Proposal No. 3DC0421
                                         US Federal Communications Commission
                                                       Presented by:                                            . •...
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                                                                                                                     ;.

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                   Exhibit 13
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                          GENERAL SERVICES ADMINISTRATION
                              NATIONAL CAPITAL REGION

                           FINDINGS AND DETERMINATIONS
                  IN REGARD TO ADEQUACY OF SAFEGUARDS AGAINST
                       ORGANIZATIONAL CONFLICTS OF INTEREST

                                           FINDINGS

 I hereby find that:

 In June of2010, the U.S. General Services Administration (GSA) entered into a professional
 services contract for real estate consulting and related services (Broker Contract) with several
 suppliers, including CBRE. The Broker Contract was in effect as of September 29, 2014, on
 which date GSA engaged CBRE as the consultant to aid in the procurement of leased space to
 house the headquarters for the Federal Communications Commission (FCC). This engagement
 was accomplished by issuing Task Order GS-P-11-14-YL-0041 to CBRE.

The Broker Contract includes the provision numbered H.5. and titled "Organizational Conflicts
oflnterest". This provision cites Subpart 9.5 of the Federal Acquisition Regulation (FAR), 48
C.F.R. 9.5 which "prescribes responsibilities, general rules, and procedures for identifying,
evaluating, and resolving organizational conflicts of interest." The Broker Contract thus clearly
reflects an awareness of the possibility of organizational conflicts of interest in the brokerage
firms that are parties to the Broker Contract, and adopts the FAR standards and procedures to
identify whether such conflicts exist and, if so, how any such conflict may be mitigated.

The FAR standards applicable to the provision of professional consulting services require the
Contracting Officer to "[a]void, neutralize, or mitigate significant potential conflicts before
contract award." FAR 9.504(a)(2). In keeping with its standard practice, GSA required CBRE
to conduct a preliminary survey of building locations that were eligible to submit bids in the
contemplated procurement. Of the 44 identified buildings, CBRE identified three in which it had
a potential conflict of interest. On September 29, 2014, CBRE submitted the "Organizational
Conflict of Interest" disclosure document specified for this purpose in the Broker Contract. See
Exltibit 1 attached hereto. The submission noted that CBRE represents the lessor for the
incumbent location of the FCC headquarters at 445 12th Street, SW, Washington DC (Parcel
49C)(Plaintiff in the Court of Federal Claims case.) CBRE also noted that it "might represent
other potential offerors for new construction projects in the future; however a preliminary survey
uncovered no such conflicts at this time." The GSA Contracting Officer administering the
Broker Contract in the National Capital Region (NCR) prepared a Findings and Determination
document, in which she found that adequate measures had been taken to mitigate the potential


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  conflict, and to provide adequate protection to the government. As the Contracting Officer's
  Technical Representative for the Broker Contract in NCR, I joined in these Findings and
  Determinations as well. See Exhibit 2 attached hereto.

  When initial offers were submitted, one of the offerors was Sentinel Square, which is an entity
  controlled by the Trammel Crow Company. Trammel Crow Company proposes to build a new
  building to satisfy the FCC's needs. Trammel Crow Company is an entity that is well known to
  me as an active developer and broker of commercial real estate in many locations in the United
  States, including Washington, DC. The offer was not submitted by or on behalf of CBRE.

  At a subsequent point in time during the procurement, an allegation was made that CBRE has a
  potential undisclosed conflict of interest. This allegation is premised on the fact that CBRE has
  an ownership interest in Trammel Crow Company. In response to this allegation, I have taken
  certain actions to ensure the integrity of the procurement and the protection of the government's
  interests.

  I approached CBRE for information about the alleged conflict. CBRE indicated that all
  procurement information was properly contained within a firewall at CBRE. No procurement
  infonnation had been shared between CBRE and Trammel Crow Company, just as no such
  infonnation had been shared internally at CBRE between the brokers representing Parcel 49C,
  and those representing the GSA. CBRE made a fonnal filing with this representation, attached
  hereto as Exllibit 3.

 CBRE also informed me that the business relationship between CBRE and Trammel Crow
 Company likely does not rise to the threshold that would make a conflict of interest (as
 contemplated in the FAR) possible. CBRE describes itself at its own website
 (http://www.cbre.com/about/cornorate-information) in the following terms:

         CBRE Group, Inc. is the world's largest commercial real estate services and investment
         firm, with 2015 revenues of$10.9 billion and more than 70,000 employees (excluding
         affiliate offices). CBRE has been included in the Fortune 500 since 2008, ranking #259 in
         2016. It also has been voted the industry's top brand by the Lipsey Company for 15
         consecutive years, and has been named one of Fortune's "Most Admired Companies" in
         the real estate sector for four years in a row. Its shares trade on the New York Stock
         Exchange under the syrnbol "CBG."

         The Company serves real estate owners, investors and occupiers worldwide. CBRE offers
         strategic advice and execution for property sales and leasing; corporate services;
         property, facilities and project management; mortgage banking; appraisal and valuation;
         development services; investment management; and research and consulting.


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 As a large real estate conglomerate, CBRE has a great many ownership and partnership
 relationships with other business entities all over the world. The fact that CBRE and Tranunel
 Crow Company have such a relationship does not necessarily create a conflict of interest as
 described in FAR 9.500, because the entities function as independent businesses and the
 connection between the entities is remote. The business world is full of interlocking corporate
 and ownership interests. In the case of Trammel Crow Company, it represents itself as a
 independently operated business entity, not as an alter ego of CBRE. A connection at this remote
 level is a lesser cause for concern than arises when the same brokerage firm represents both sides
 in a transaction, since the opportunity for improper sharing of information between rival separate
 brokerage firms with a common corporate ownership is less than the opportunities that might
 arise when two separate broker teams within the same brokerage firm are on opposite sides in a
 competitive procurement action.

 Applying this standard, it is apparent that where, as in this procurement, the incumbent
 ownership is represented by a broker working directly for CBRE, the same brokerage firm as is
 working for GSA, the possible scenarios in which information might improperly pass between
 the two sides are far more numerous and plausible than is the case between two rival firms,
 regardless of common ownership interests. Therefore, the firewall procedures and safeguards in
 place that are adequate to mitigate the possibility of an internal organizational conflict of interest
 within CBRE itself, are certainly adequate to mitigate the possibile organizational conflict of
 interest that might exist between rival firms in common ownership.

 FAR 9 .504(d) instructs contracting officers to "avoid creating unnecessary delays, burdensome
 information requirements, and excessive documentation. The contracting officer's judgment
 need be formally documented only when a substantive issue concerning potential organizational
 conflict of interest exists."

 FAR 9.504(e) states: "The contracting officer shall award the contract to the apparent successful
 offeror unless a conflict of interest is determined to exist that cannot be avoided or mitigated.
 Before determining to withhold award based on conflict of interest considerations, the
 contracting officer shall notify the contractor, provide the reasons therefor, and allow the
 contractor a reasonable opportunity to respond. If the contracting officer finds that it is in the
 best interest of the United States to award the contract notwithstanding a conflict of interest, a
 request for waiver shall be submitted in accordance with 9.503. The waiver request and decision
 shall be included in the contract file."

 Despite the apparent lack of any substantive issue concerning potential organizational conflict of
 interest (pursuant to FAR 9.504(d)), I want to ensure that any theoretical conflict of interest has
 been mitigated (pursuant to FAR 9.504(e), and thereby resolve, using applicable regulatory


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  procedures, even the possibility of the appearance of an unmitigated potential conflict of
  interest. Therefore, in addition to reviewing the OCI submission by CBRE regarding Trammel
  Crow Company attached hereto as Exhibit 3




  Based upon the representations made by CBRE, both in its Organizational Conflict of Interest
  submissions, and in respone to my further inquiries, it is apparent to me that the common
  ownership interest between CBRE and Trammel Crow Company likely does not create a conflict
  of interest as such is defined in the FAR, and that even if such a potential conflict arises from the
  fact of common ownership, it is properly mitigated by the firewall protections in place at CBRE
  as described in the Organizational Conflict of Interest submissions attached hereto as Exhibits 1
  andJ.

                                        DETERMINATIONS

  Therefore, I find and determine that there is no unmitigated conflict of interest arising from the
  business relationship between CBRE and Trammel Crow Company. I also find and determine
  that, to the extent there is an ongoing allegation of the existence of an unmitigated conflict of
  interest arising from the business relationship between CBRE and Trammel Crow Company, it is
  in the interest of the United States to award the lease contract to the apparent successful offeror
  notwithstanding the ongoing allegation of an unmitigated conflict of interest.


 Dated: July .2.Z 20:1.6



  ~M.rtny            KEVIN TERRY~;-::.:--
                                ........M ,~-




 Kevin Terry
 Contracting Officer
 US General Services Administration
 National Capital Region




                                                                                           Page 4 of 4



                                                                                                          AR 2921
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                               ZATIONAL CONFLIC T OF INTER
                         ORGANIZ                         REST


This form shall be completed for each task order
                                           o     by an officer of the contractorr’s firm.
Contractor:        CBRE
Contract Number:   GS00P10BQD0001
Task Order Number: GS-P-11-14
                            4-YL-0041
This firm does X or does not _____ have a potential
                                           p         o rganizational conflict oof interest, aas
described in Section H.5 of the above
                                a     refereenced contrract, for task order num
                                                                              mber GS-P--11-
14-YL-0041
A preliminary survey of buildingss that could potentially
                                               p            accommodate the requireement consissts
of forty four (44) properties. Of these optionss there are two (2) potential conflictss of interest:
        1025 F Street, NW, Washiington, DC (The
                                           (    Woodi es Building)
        445 12th Street, NW, Wash
                                hington, DC (Incumbentt location)


In addition to an organizational co onflict of intterest as desccribed above, this firm ddoes _X_ orr
does not       provide Property Maanagement for  fo any prop erties that woould be a pootential offerror
for this task. Of the forty four (44) total option ns there is onne (1) potenntial conflict of interest:
        601 D Street, NW, Washin
                               ngton, DC (P
                                          Patrick Hen ry Building)

As required by Section H.5 of the contract, the contractorr certifies the following m
                                                                                    measures aree in
place:

    A “conflict wall” is in place and
                                   a contracttor personne l have been advised of thhe restrictionns
     in 1 through 13 of
                     o the clause.
    Electronic safeguards are in place
                                  p     to prev
                                              vent unauth orized access to documennts preparedd in
     connection with this task order.
    Documents related to the con
                                ntract will bee safeguarde d and secureed while in tthe contractoor’s
     possession.



___________________________
                          _____                        9/29/20014
Name: Henry Chapman                                      Date
Title: Vice Chairman




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MODIFICATION PA20 January 25 2009                                                                      AR 2922
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                          ORGANIZATIONAL CONFLICT OF INTEREST


                         TASK ORDER NUMBER GS-P-11-14-YL-0041
                        FEDERAL COMMUNICATIONS COMMISSION

A preliminary survey for the required square footage revealed forty four (44) properties in the
delineated area that could potentially meet the Government’s requirements. Of these 44
properties, there are three (3) potential conflicts of interest:


              1025 F Street, NW, Washington, DC                  Landlord Representation
                    (The Woodies Building)
              445 12th Street, SW, Washington, DC                Landlord Representation
                      (Incumbent location)
               601 D Street, NW, Washington, DC                  Property Management
                    (Patrick Henry Building)


CBRE represents the incumbent lessor. Based on their unsolicited offer, it is unlikely they will
be the successful offeror, as they require that the Government leases 75,000 RSF more than is
expected to be in the prospectus. CBRE may represent other potential offerors for new
construction projects in the future; however a preliminary survey uncovered no such conflicts at
this time.

The above conflicts are not expected to result in a dual agency for several reasons. Due to the
number of potential properties in the delineated area, it is unlikely that the above buildings would
express interest or furthermore submit an Initial Offer. Moreover, if the buildings do indeed
submit Initial Offers, it is unlikely with the field of competition that one of the above buildings
would ultimately become the successful Offeror.

As a result, CBRE should be allowed to continue working on this project pursuant to the updated
policy which allows NBC contractors to go to the next step and advertise to determine if a
potential conflict of interest emerges. Even if the buildings do express interest, or even submit
an offer, the potential dual agency should be allowed. As stated, it is unlikely that one of these
buildings would prevail or ultimately meet the Government’s requirements. In the unlikely event
that one of these properties is the successful Offeror, all of the conflict walls and mitigation
requirements required by the contract have been and will continue to be met.

As described above, all elements of the conflict wall required under the NBC are fully employed
and the Government should exercise their option to keep this task with CBRE, as it is in the
Government’s best interests. CBRE would like to continue on this project and does not believe
there are any reasons to prohibit them from doing so.




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                                                                                 Dual Agency Request
                                                                                  GS-P-11-14-YL-0041
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     Aliza Y. Brown                                                                 Date
     NCR Regional Contracting Officer



      KeVLV\. M. Terrti   KEVIN TERRY
     Kevin Terry                                                                    Date
     Contracting Officer Tech




       rad Harrison
      NCR Regional Program Manager



     Approved




      Danny Killian                                                                 Date
      National Contracting Officer




     Heather Cameron                                                                Date
     General Counsel
     Real Property Division (LR)




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                                               Exhibit4C


   Government Non Disclosure Requirements: The Government requires complete confidentiality
   in all lease acquisition offers including non disclosure of the names of potential offerors. The
   Dual Agent brokerage firm, under a dual agency agreement, will be soliciting other competitive
   offers for the lease acquisition. By presenting this Dual Agency Disclosure, all interested offerers
   will be aware of the dual agency relationship; however, the Dual Agent brokerage firm cannot
   disclose the number, identity or rank of other offerers, or the content or evaluation of the other
   offerers proposals to the offerer in the Dual Agency relationship.

   Acknowledgement and Duration of Dual Agency and Confidentiality: The Dual Agency shall
   automatically terminate upon (a) receipt of Unsuccessful Offerer notification or (b) in the event of
   a Successful Offerer notification; this agreement will terminate upon occupancy of the
   Government tenant. As agreed to above, the Dual Agency broker and brokerage firm will protect
   your information from unauthorized use or disclosure for as long as it remains proprietary and
   refrain from using the information for any purpose other than that for which it was furnished.

   By signing the below. you acknowledge you have read and understand this form.

                    Notice of dual agency to potential offerors for Solicitation


   By signing this Dual Agency Disclosure Statement you acknowledge that:


                           CBRE. Inc. Brokerage Firm will act as Dual Agent under this transaction.

                                                                April 11, 2016
   Offeror's Signature                                          Date



                                                                Date




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                                         DUAL AGENCY DISCLOSURE
                                        Acknowledgement (August 2010)



       GSA Regional CO:                                       Offeror(s): Trammell Crow Company


        Offerer's Property:   Sentinel Square III, 45 L Street NE

        Dual Agency: Dual Agency is a commission based tenant representation and an owner
        commission/fee relationship . The General Services Administration's allows a brokerage firm
        under this GSA contract to represent both the Government, as tenant, and another offerer in this
        real estate transaction as long as this is disclosed to all parties. Similarly, the contract allows the
        broker to represent the Government, as tenant and provide property management, consulting, or
        similar services to an offerer in the procurement as long as this is disclosed to all parties. This is
        known as dual agency. Under this GSA Contract, a brokerage firm may represent or have
        another form of business relationship with two clients whose interest are, or at times could be,
        different or adverse. Dual Agency under this GSA contract does not allow the same individual
        agent of the brokerage firm to represent both parties, and no individual with a personal financial
        interest may represent the Government. The Government brokers have conflict walls in place, are
        compliant with Federal Information Security Management Act and have other protections to
        safeguard the Government and Offerer information.

        This statement discloses that CBRE Inc. will be (or has been) acting as the GSA broker and Dual
        Agent in this procurement.

        It is understood as a Dual Agent, the broker and the brokerage firm shall:
                 Treat both clients honestly;
                 Disclose latent, material defects to the Government, if known by the broker;
                 Provide information regarding lenders, inspectors and other professionals, if requested;
                 Provide market information available from a property listing service or public records, if
                 requested;
                 Prepare and present all offers and counteroffers at the direction of the parties;
                 Assist both clients in completing the steps necessary to fulfill the terms of any contract, if
                 requested.

        It is also understood as Dual Agent, the broker and brokerage firm agrees to:
                  Protect Offerer's proprietary information from unauthorized use and disclosure for as long
                  as it remains proprietary and refrain from using the information for any other purpose
                  than that for which it was furnished;
                  Not disclose confidential information, or information having an adverse effect on one
                  party's position in the transaction ;
                  Not suggest or recommend specific terms , including price, or disclose the terms or price
                  the Government is willing to accept or any offerer is willing to offer;
                  Not engage in conduct contrary to the instructions of any offerer and may NOT act in
                  biased manner on behalf of any one party.

        Responsibilities of the Parties: The duties of the brokerage firm in a real estate transaction do
        not relieve the Government and Offerer from the responsibility to protect their own interests. The
        Government and the Offerer are advised to carefully read all agreements to assure the terms
        adequately express their understanding of the lease transaction . The brokerage firm is qualified
        to provide advice on real estate matters. IF LEGAL OR TAX ADVICE IS DESIRED, YOU
        SHOULD CONSULT THE APPROPRIATE PROFESSIONAL.




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                                                   Exhibit4C


       Government Non Disclosure Requirements: The Government requires complete confidentiality
       in all lease acquisition offers including non disclosure of the names of potential offerers. The
       Dual Agent brokerage firm, under a dual agency agreement, will be soliciting other competitive
       offers for the lease acquisition. By presenting this Dual Agency Disclosure, all interested offerors
       will be aware of the dual agency relationship; however, the Dual Agent brokerage firm cannot
       disclose the number, identity or rank of other offerers, or the content or evaluation of the other
       offerers proposals to the offerer in the Dual Agency relationship.

       Acknowledgement and Duration of Dual Agency and Confidentiality: The Dual Agency shall
       automatically terminate upon (a) receipt of Unsuccessful Offerer notification or (b) in the event of
       a Successful Offeror notification; t his agreement will terminate upon occupancy of the
       Government tenant. As agreed to above, the Dual Agency broker and brokerage firm will protect
       your information from unauthorized use or disclosure for as long as it remains proprietary and
       refrain from using the information for any purpose other than that for which it was furnished.

       By signing the below. you acknowledge you have read and understand this form.

                         Notice of dual agency to potential offerors for Solicitation


       By signing this Dual Agency Disclosure Statement you acknowledge that:


                               CBRE. Inc. Brokerage Firm will act as Dual Agent under this transaction.

                                                                     Apr i l 11, 2016
       Offeror's Signature                                           Date


                                                                     Rec'c! A y[L 12, 2016
                                                                     Date




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          In the United States Court of Federal Claims
                            BID PROTEST−NOT FOR PUBLICATION
                                           No. 16-427C
                               Filed Under Seal: November 30, 2016

                                             )
PARCEL 49C LIMITED                           )
PARTNERSHIP,                                 )
                                             )
               Plaintiff,                    )
                                             )      Pre-Award Bid Protest; Judgment upon
v.                                           )      the Administrative Record, RCFC 52.1;
                                             )      Organizational Conflict of Interest;
THE UNITED STATES,                           )      Supplementing the Administrative
                                             )      Record.
               Defendant,                    )
                                             )
v.                                           )
                                             )
TRAMMELL CROW COMPANY,                       )
                                             )
               Defendant-Intervenor.         )
                                             )


        Richard J. Conway, Counsel of Record, Daniel A. Broderick, Of Counsel, Blank Rome
LLP, Washington, DC, Michael J. Slattery, Of Counsel, Blank Rome, LLP, New York, NY,
Larry D. Blust, Of Counsel, Hughes Socol Piers Resnick & DYM, LTD., Chicago, IL, for
plaintiff.
      William J. Grimaldi, Trial Attorney, Douglas K. Mickle, Assistant Director, Robert E.
Kirschman, Jr., Director, Benjamin C. Mizer, Principal Deputy Assistant Attorney General,
Commercial Litigation Branch, Civil Division, United States Department of Justice, Washington,
DC, Michael P. Klein, Assistant Regional Counsel, United States General Services
Administration, Washington, DC, for defendant.
      Stuart W. Turner, Attorney of Record, Ronald A. Schechter, Of Counsel, Amanda
Johnson, Of Counsel, Arnold & Porter LLP, Washington, DC, for defendant-intervenor.
                            MEMORANDUM OPINION AND ORDER

GRIGGSBY, Judge

I.      INTRODUCTION

        Plaintiff, Parcel 49C Limited Partnership (“Parcel 49C”), brought this pre-award bid
protest matter challenging several actions taken by the United States General Services


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Administration (“GSA”) in connection with the GSA’s evaluation of proposals in response to a
request for lease proposals to procure office space for the headquarters of the Federal
Communications Commission (“FCC”). The government has moved to partially dismiss this
matter for lack of subject-matter jurisdiction, pursuant to Rule 12(b)(1) of the Rules of the
United States Court of Federal Claims (“RCFC”). The government, Parcel 49C, and the
defendant-intervenor in this matter, Trammell Crow Company (“Trammell Crow”), have also
filed cross-motions for judgment upon the administrative record, pursuant to RCFC 52.1. In
addition, Parcel 49C has filed a motion to supplement the administrative record, a motion for
leave to file a sur-reply and a motion to file certain documents under seal, pursuant to RCFC
7(b).

         For the reasons set forth below, the Court: (1) GRANTS the government’s motion for
judgment upon the administrative record and Trammell Crow’s motion for judgment upon the
administrative record; (2) DENIES Parcel 49C’s motion for judgment upon the administrative
record; (3) DENIES Parcel 49C’s motion to supplement the administrative record; (4) GRANTS
Parcel 49C’s motion to file certain documents under seal and motion for leave to file a sur-reply;
and (5) DENIES, as moot, the government’s partial motion to dismiss.

II.      FACTUAL AND PROCEDURAL BACKGROUND1

         A. Factual Background

         In this pre-award bid protest matter, Parcel 49C alleges that the GSA committed several
errors in connection with the agency’s evaluation of proposals submitted in response to a request
for lease proposals (the “RLP”) to procure office space for the headquarters of the FCC (“the
FCC Lease”). Pl. 2d. Am. Compl. ¶¶ 1-9. Specifically, Parcel 49C alleges that the GSA’s
evaluation of responsive proposals was unreasonable and not in accordance with the terms of the
RLP or applicable law.

         In this regard, Parcel 49C challenges the GSA’s evaluation upon five grounds. First,
Parcel 49C alleges that the GSA should have determined that Trammell Crow is ineligible for

1
 The facts recited in this Memorandum Opinion and Order are taken from the administrative record
(“AR”); the supplemental administrative record (“SAR”); plaintiff’s second amended complaint (“Pl. 2d.
Am. Compl.”); and plaintiff’s memorandum in support of its motion for judgment upon the amended
administrative record (“Pl. 2d. Mem.”).


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award of the FCC Lease due to an organizational conflict of interest (“OCI”) that cannot be
mitigated and because Trammell Crow was not a single owner of the property that it proposes for
the FCC Lease at the time that Trammell Crow submitted its proposal. Id. at ¶¶ 160-79. Second,
Parcel 49C alleges that certain requirements in the RLP unduly restrict competition and prejudice
Parcel 49C. Id. at ¶¶ 96-108. Third, Parcel 49C alleges that the GSA improperly required Parcel
49C to provide certain National Environmental Policy Act (“NEPA”) documentation in
connection with Parcel 49C’s offer, in violation of the RLP’s terms and applicable law. Id. at ¶¶
143-51. Fourth, Parcel 49C alleges that the GSA’s evaluation of responsive proposals was
improper, because the agency did not consider certain relocation and move-related costs in
connection with its evaluation of the price for the FCC Lease and because the GSA’s
Independent Government Estimate (“IGE”) has not been properly documented by the agency.
Id. at 109-42; Pl. 2d. Mem. at ¶¶ 24-46. Lastly, Parcel 49C alleges that the GSA failed to
conduct meaningful discussions with Parcel 49C regarding its proposed price. Pl. 2d. Am.
Compl. at ¶¶ 152-159.

       As relief, Parcel 49C requests that the Court order the GSA to reject Trammell Crow’s
proposal or, alternatively, enjoin the GSA from awarding the FCC Lease. Id. at ¶¶ 43-44.

               1. The Request For Lease Proposals

       Parcel 49C is the current lessor of a building located at The Portals II, 445 12th Street,
SW, Washington, DC, which currently houses the headquarters of the FCC under a previous
lease. AR at 1450. This lease will expire on October 16, 2017. Id. at 26.

       On September 21, 2015, the GSA issued the RLP to procure office space to house the
headquarters of the FCC in Washington, DC after the current lease expires. Id. at 1427-1697.
The RLP provides that the subject lease is expected to be for a 15-year term and that the
occupancy date under the lease is expected to be between October 18, 2017 and December 31,
2019. Id. at 1431. In addition, the RLP also provides that “[t]he Lease will be awarded to the
responsible Offeror whose offer . . . is the lowest priced technically acceptable offer submitted.”
Id. at 1446.

       Prior to issuing the RLP, the GSA retained the services of CBRE, Inc. (“CBRE”) to
provide broker services related to the RLP, pursuant to a professional services contract for real
estate consulting and other services. Id. at 2918. Consistent with its standard practice, the GSA

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required CBRE to conduct a preliminary survey of building locations that were eligible to submit
bids in connection with the RLP. Id. This survey revealed that CBRE had three potential
conflicts of interest, including a potential conflict with respect to the FCC’s incumbent lessor,
Parcel 49C. Id. at 2923.

          There are several provisions in the RLP that are relevant to Parcel 49C’s claims in this
matter.

          First, the RLP contains certain requirements regarding the minimum ceiling height for the
space offered for the FCC Lease, as well as a requirement for power redundancy through dual
power feeds. Id. at 1497. Specifically, the RLP provides that “[t]he first (1st) floor of the offered
building must have a minimum finished ceiling height of 11’6.” Id. The RLP also contains a
requirement regarding dual power feeds, which provides that:

          The Government requires power and communication circuits that have more than
          one point of entry coming into the Building (multiple independent conduits
          coming from the street to the facility, with at least 25 feet of physical separation).
          The Government requires redundancy for communications and power.
          Communications requires dual redundant 10-gigabit circuit, with more than one
          cable infrastructure. . .
Id. (Exhibit B, paragraph 11).
          Second, the RLP contains a requirement that the space to be leased must be owned by a
single owner. Id. at 1687. In this regard, paragraph 1.02, subparagraph C of the RLP provides
that:

          Offered space must be contiguous (with the exception of the ground
          level/first floor space referenced in paragraph 1.02.A. above) and
          accommodated in no more than one (1) building, as determined by the
          LCO [Lease Contracting Officer]. To qualify as one (1) building, offered
          space must be owned by a single Offeror and the structures, if more than
          one, must be connected internally on at least 60% of the offered floors as
          determined by and at the discretion of the LCO.
Id. at 1687.

          Third, the RLP contains several provisions to address potential conflicts of interest
involving the broker for the RLP, CBRE. Specifically, paragraph 1.13, subparagraph A of the
RLP provides that:



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        For the purposes of this RLP, CBRE, INC. (the Broker) is the authorized
        contractor real estate broker representing GSA. Offerors are advised that
        there is a potential for a dual agency situation to arise under this
        procurement, whereby the Broker may represent both GSA and another
        Offeror under this lease action. By submitting an offer, the Offeror
        acknowledges the potential for a dual agency situation. Should there be an
        actual dual agency, the Broker will notify all Offerors of the actual dual
        agency and request written acknowledgement statements from all
        Offerors.
Id. at 1433-34. In addition, paragraph 3.06, subparagraph H of the RLP also provides that:

        If there is a potential for conflict of interest because of a single agent
        representing multiple owners, present evidence that the agent disclosed the
        multiple representation to each entity and has authorization from each
        ownership entity offering in response to this RLP package. Owners and
        agents in conflicting interest situations are advised to exercise due
        diligence with regard to ethics, independent pricing, and Government
        procurement integrity requirements. In such cases, the Government
        reserves the right to negotiate with the owner directly.
Id. at 1442.

        In addition, the RLP includes a requirement that offerors provide documentation related
to compliance with NEPA. In this regard, paragraph 2.11, subparagraph B of the RLP provides,
in relevant part, that:

        The Government reserves the right to reject any offer where (i) the NEPA-related
        documentation provided by the Offeror for the offered Property is inadequate, (ii)
        the offer entails unacceptably adverse impacts on the human environment, (iii) the
        identified adverse impacts cannot be readily mitigated, or (iv) the level of NEPA
        analysis is more extensive than is acceptable to the Government (e.g., offers must
        be of a nature that would allow NEPA to be satisfied by preparation of a
        Categorical Exclusion (CATEX) NEPA study or an Environmental Assessment
        (EA) with or without mandatory mitigation).
Id. at 1438. Section 5.03 of the RLP also provides, in relevant part, that:
        Any offer must provide a basis for GSA to determine that award of a lease
        involving the offered building(s) will, under the National Environmental Policy
        Act (NEPA – 42 U.S.C. Sec. 4321, et seq.), as implemented in the GSA NEPA
        Desk Guide (October 1999), either result in: 1) a Categorical Exclusion (CATEX)
        from the requirement to prepare an Environmental Assessment (EA) or an
        Environmental Impact Statement (EIS), or 2) Finding of No Significant Impact
        (FONSI) as the result of performing an EA. Any offer that, in GSA's opinion,
        would require preparation of an EIS shall be considered technically unacceptable
        and ineligible for award.


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Id. at 1450.
       The RLP also contains a provision to address the fact that the current location of the
FCC’s headquarters could be renovated to meet the agency’s future needs. In this regard, the
RLP provides in paragraph 5.04, subparagraph A that:

       A renovation of The Portals II may be a potential solution for this procurement.
       A renovation of The Portals II will be required to: I) meet all the requirements of
       the current GSA Request for Lease Proposals (RLP) and Lease Form L201C; II)
       bring the existing structure and tenant areas up to a LEED-CI, Silver, rating in
       accordance with the U.S. Green Building Council requirements; and III)
       reconstruct the majority of the tenant’s space to meet the occupancy density
       required in the approved Prospectus.
Id. at 1450.
       Lastly, the RLP contains several significant provisions regarding the evaluation of the
price proposed by each offeror for the FCC Lease. Specifically, the RLP describes the factors
that the GSA will consider in its evaluation of each offerors’ price, including move-related and
relocation costs, and provides, in relevant part, that:

       Evaluation of offered prices will be based on the annual price per [American
       National Standards Institute/Building Owners and Managers Office Area Square
       Feet (“ABOA SF”)], including all required option periods. The Government will
       perform present value price evaluation by reducing the price per ABOA SF to a
       composite annual ABOA SF price, as follows . . .
           7. To the gross PVC [present value cost] will be added: . . .
       d.       The cost of relocation of furniture, telecommunications, replications
       costs, and other move-related costs, if applicable.
Id. at 1447.
       To develop an IGE for the FCC Lease, the GSA engaged an architectural firm, OLBN, to
study the FCC’s space needs. Id. at 336- 442; SAR at 2. To that end, on April 21, 2015, OLBN
provided the agency with a program of requirements (“POR”) to help the GSA estimate the costs
associated with the FCC Lease. SAR at 6-355.

       On July 26, 2016, the government submitted the Declaration of the GSA’s Project
Manager for the RLP, Cirilo Paulo, which explains the development of the IGE for the FCC
Lease based on the POR. Id. at 1-5. In the declaration, Mr. Paulo states that OLBN “prepared an
extensive POR based upon an in-depth examination of FCC needs, including extensive employee
interviews to gain first-hand input from FCC staff.” Id. at 2. Mr. Paulo also states that, “[a]fter
compiling a summary of improvements required by the FCC, OBLN priced its estimate of the


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costs to accomplish the work, based upon its professional knowledge of the costs prevailing in
the Washington DC market for the work described.” Id.

       Mr. Paulo further states in the declaration that, after OBLN arrived at its “estimate of the
costs to accomplish the work,” he reviewed OLBN’s estimated costs and “used these estimates
as the starting point in formulating the final IGE for the FCC project.” Id. With respect to the
development of the IGE, Mr. Paulo also states in his declaration that he relied upon his
“knowledge of current construction costs,” due to his experience managing the new build-out of
incumbent leased space for the NASA headquarters. Id. at 2. In this regard, Mr. Paulo states
that he compared the costs in OLBN’s estimates with his own experience with the NASA project
and that he found the prices in OLBN’s POR to be “realistic, and broadly consistent with [his]
own experience.” Id. at 3.

       Mr. Paulo also states that he made certain adjustments to the cost estimates contained in
the POR based upon his experience. Id. In this regard, Paulo describes several adjustments that
he made to OLBN’s cost estimates:

       In response to these concerns, and in recognition that an IGE is intended to
       provide a basis for the tenant agency to budget adequate funds for the anticipated
       build-out, I made adjustments to certain cost estimates in the POR. These changes
       included both increasing assumed unit costs, as well decreasing assumed
       administrative charges. I also corrected certain assumptions as to what Tenant
       Improvement Allowance (TIA) and Building Specific Amortized Capital (BSAC)
       funds would be available to defray out-of-pocket build-out costs.

       a. I increased the per square foot construction cost estimates for the general office
       space and both the Low Cost Special Space and High Cost Special Space build-
       outs.

       b. I increased the TIA from $35.00 to $46.74 to reflect the correct allowance
       available for this lease procurement.

       c. I deleted the costs of a swing move from the "stay in place" scenario to reflect
       that the Government would only pay for one move. Move costs were thus $5.00
       per usable square foot for both scenarios.

       d. I subtracted the BSAC, which is an allowance available to FCC to fund security
       costs, from both scenarios. The BSAC is an additional allowance available for
       the new lease, which would decrease the FCC's out-of-pocket build-out costs.


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          e. I decreased both scenario's [sic] design cost percentage from • percent to l
          percent. This was done to reflect the fact that architectural finns are willing to
          take on large dollar projects such as this one for a lesser overall percentage
          charge than is the case for smaller dollar projects .

          f. I decreased both scenario's [sic] lessor's fee from l percent to . percent. Once
          again, this is to reflect the market's acceptance of a lower percentage commission
          on large dollar projects.
 Id. at 3-4 (internal citations omitted) .
                  2. Evaluation Of Proposals Submitted By Parcel 49C And Trammell Crow

          Parcel 49C and Trammell Crow both timely submitted proposals in response to the RLP
 on October 20, 2015. AR at 1715-2426. After receiving these proposals, the GSA held
 discussions with th e offerors and subsequently requested that Parcel 49C and Trammell Crow
 provide their Final Proposal Revisions ("FPR") by December 15, 2015 . Id. at 785-87, 1703-04.

          The GSA's correspondence with both offerors during the evaluation of their initial
 proposals shows th at th e GSA identified some deficiencies in both proposals. Id. at 1702-14.
 Specifically, with respect to Parcel 49C 's proposal, th e GSA requested that Parcel 49C provide
 the                                  required by the RLP. Id. at 1703-04. The GSA also expressed
 a concern about how Parcel 49C's final proposal addressed the RLP's
 requirement. Id. at 1707, 17 12 .

          With respect to Trammell Crow's proposal, the GSA expressed concern that the initial
 proposal did not include ce1iain registration infonnation that would " be needed for [a] final
 single ownership entity" and the agency requested that Trammell Crow "describe [the] process
 th at will need to be completed to create [a] single ownership entity. Id. at 1706; see also id. at
 1713-14.

          Parcel 49C and Trammell Crow both timely submitted their FPRs to the GSA on
 December 15, 2015, and both offerors fmiher revised their respective proposal at the GSA's
 request on April 11, 2016. Id. at 1707-09, 2427-879 . Specifically relevant to this dispute,
 Trammell Crow described how it could create a single ownership entity to satisfy the RLP's
 single owner requirement in its FPR. Id. at 2782, 2807-08. In this regard, Trammell Crow
 provided the GSA with an opinion letter from its special counsel describing th e process through



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which Trammell Crow could form a new entity to qualify as a single owner under the RLP upon
condition of a lease award. Id. at 2807-08.

         Following the evaluation of the proposals submitted by Parcel 49C, Trammell Crow, and
three other offerors, the GSA determined that Trammell Crow offered the lowest-priced,
technically-acceptable offer. Id. at 30, Pl. 2d. Mem. at 23-26. And so, the GSA intends to award
the FCC Lease to Trammell Crow. Id.

                3. Alleged Organizational Conflicts Of Interest

         The GSA also conducted two investigations into alleged organizational conflicts of
interest arising from CBRE’s business relationship with Trammell Crow. In April 2016, CBRE
and Trammell Crow executed a “Dual Agency Disclosure” form, which identified a dual
agency relationship between the two companies. Id. at 2928-31. On April 18, 2016, CBRE
notified the GSA’s Contracting Officer’s Technical Representative (“COTR”), Kevin Terry,
and other GSA contracting personnel, that a dual agency situation existed with respect to the
RLP, because the GSA received “an offer from Sentinel Square III,” which is “represented by
Trammel[l] Crow, Inc., a wholly owned subsidiary of CBRE.” Id. at 2924. Thereafter, the
GSA investigated potential organizational conflicts of interest involving CBRE and Trammell
Crow in light of this dual agency disclosure.2 AR at 2924-26.

         On April 26, 2016, the GSA National Capital Region Regional Contracting Officer, Aliza
Brown, issued a “National Broker Contract Contracting Officer Finding and Determination” with
regard to the disclosed dual agency relationship between CBRE and Trammell Crow. Id. at
2924-31. In her findings, Ms. Brown determined that, although an organizational conflict of
interest exists, it was “in the Government’s best interest to retain CBRE’s project team under [the
FCC] procurement,” because of the size and complexity of that procurement. Id. at 2925. With
regard to mitigating this OCI, Mr. Brown also found that CBRE had “established a conflict wall
in accordance with the contract requirements to appropriately safeguard procurement sensitive
data, thereby preserving procurement integrity.” Id. In addition, she also determined that CBRE


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  On September 29, 2014, CBRE also disclosed a potential organizational conflict of interest related to the
fact that CBRE represented Parcel 49C, which is the lessor for the incumbent location of the FCC
headquarters. AR at 2918, 2922-23. CBRE also disclosed at that time that it might represent other
potential offerors for new construction projects in the future. Id. at 2918.

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"provided the required dual agency notifications to all interested paiiies in the lease
procurement" an d, as a result, "the identified organizational conflict of interest had been
satisfactorily mitigated per requirements of the" Federal Acquisition Regulation ("FAR"). Id.

       The GSA conducted a second OCI investigation related to CBRE 's business relationship
 with Trammell Crow after Parcel 49C commenced this litigation. In this regard, on July 22,
 2016, the GSA's COTR, Kevin Teny, issued "Findings and Detenninations in Regard to
 Adequacy of Safeguards Against Organizational Conflicts of Interest." Id. at 2918-21. In his
 findings, Mr. Ten y detailed the actions that he unde1i ook to investigate and directly address
 Pai·cel 49C's allegation that Trammell Crow had a potential undisclosed conflict of interest
 with respect to CBRE an d "to ensure the integrity of the procurement and the protection of the
 government's interests." Id. at 2919.

       First, Mr. Teny states that he "approached CBRE for info1m ation about the alleged
conflict." Id. Mr. Teny also states that he found that " [t]he fact that CBRE an d Trammell Crow
Company have [a common ownership] relationship does not necessarily create a conflict of
interest as described in FAR 9.500, because the entities function as independent businesses and
the connection between the entities is remote." Id. at 2920. In this regard, Mr. Teny dete1mined
th at "Trainmel[l] Crow Company ... represents itself as a[n] independently operated business
entity, not as an alter ego of CBRE." Id. And so, Mr. Teny concluded that:

       A connection at this remote level is a lesser cause for concern than ai·ises when
       the same brokerage firm represents both sides in a transaction, since the
       oppo1iunity for improper shai·ing of infon nation between rival sepai·ate brokerage
       fnms with a common corporate ownership is less than the oppo1iunities that might
       arise when two sepai·ate broker teams within the saine brokerage finn ai·e on
       opposite sides in a competitive procurement action.
Id.
       In his findings and determinations, Mr. Teny also states that "the                          and
safeguards [that CBRE has] in place that are adequate to mitigate the possibility of an internal
organizational conflict of interest within CBRE itself, are ce1iainly adequate to mitigate the
possibile [sic] organizational conflict of interest that might exist between rival fnms in common
ownership." Id. Mr. Teny also "made fmther inquiries ofCBRE pursuant to FAR 9.504(e)."
Id. at 2921. From those inquiries Mr. Teny states that he learned "that Trammel[!] Crow
Company


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                                                                                            Id. at
2921. Mr. Teny also found that "CBRE and Trammel[l] Crow Company [did] not -
                  , and the economic interests of the two finns, an d the brokers employed by
each, are not aligned even to the same extent as is the case for CBRE, which has brokers
representing both Parcel 49C and GSA within the sam e brokerage finn." Id. And so, Mr. Teny
found a "lack of any substantive issue concerning [a] potential organizational conflict of interest"
pursuant to the FAR. Id.

       After completing his investigation, Mr. Teny states that he detennined that "the common
ownership interest between CBRE and Trammel[l] Crow Company likely does not create a
conflict of interest as such is defined in the FAR, and that even if such a potential conflict arises
from the fact of common ownership, it is properly mitigated by the -           protections in place
at CBRE as described in" CBRE's organizational conflict of interest submissions. Id. at 2921.
And so, Mr. Teny concluded th at there was "no unmitigated conflict of interest arising from the
business relationship between CBRE and Trammell Crow Company" and that, in any event, it
was "in the interest of the United States" to award the FCC Lease to Trammell Crow,
notwithstanding Parcel 49C 's allegation of an unmitigated conflict of interest. Id. at 2921.

               4. Parcel 49C 's GSA And GAO Protests

       Prior to commencing this litigation, Parcel 49C filed several protests before the GSA and
the Government Accountability Office ("GAO") related to the RLP. Id. at 51-221, 248-266,
287-93 , 1103-1250. On October 20, 2015, Parcel 49C filed an agency-level protest with the
GSA challenging the RLP's ceiling height an d dual power feed requirements. Id. at 287-93. The
GSA denied Parcel 49C's protest on December 2, 2015. Id. at 224-32. On November 16, 2015 ,
Parcel 49C filed a second agency-level protest challenging, among other things, the RLP 's
requirement that offerors comply with the RLP 's NEPA-related requirements. Id. at 248-66.
The GSA dismissed Parcel 49C's second agency-level protest on December 15, 2015. Id. at 222-
23.

       ill December 2015, Parcel 49C filed a protest with the GAO, challenging, among other
things, the RLP 's first floor ceiling height an d dual power feed requirements, the GSA's
inte1pretation of the RLP 's NEPA-related requirements, and the GSA's consideration of



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relocation and move-related costs. Id. at 51-221, 1103-1250. The GAO dismissed-in-part and
denied-in-part this protest on March 23, 2016. Id. at 1414-26.

        B.   Relevant Procedural History

        On April 4, 2016, Parcel 49C filed the complaint in this bid protest matter. See generally
Compl. Parcel 49C subsequently amended the complaint on May 19, 2016 and on June 9, 2016.
See generally Pl. 1st Am. Compl.; Pl. 2d. Am. Compl.

        On April 14, 2016, the government filed the administrative record in this matter. See
generally 1st AR. The government subsequently amended the administrative record on May 20,
2016, and later supplemented the administrative record on July 26, 2016, with the Declaration of
Cirilo Paulo. See generally AR; SAR. On May 5, 2016, plaintiff filed a motion to supplement
the administrative record with certain expert reports that were commissioned by Parcel 49C
pertaining to the RLP’s ceiling height and dual power feed requirements. See generally Pl. Mot.
to Supp. The government filed a response and opposition to Parcel 49C’s motion to supplement
on June 24, 2016. See generally Def. Opp. to Mot. to Supp.

        On May 5, 2016, Parcel 49C also filed its first motion for judgment upon the
administrative record. See generally Pl. 1st Mot. Subsequently, on June 10, 2016, Parcel 49C
filed a second motion for judgment upon the amended administrative record.3 See generally Pl.
2d. Mot.

        On June 3, 2016, Trammell Crow filed a motion to intervene in this matter, which the
Court granted on June 9, 2016. See generally Int. Mot. to Intervene. Thereafter, on June 24,
2016, the government filed a partial motion to dismiss this matter and motion for judgment upon
the administrative record, and Trammell Crow filed a motion for judgment upon the
administrative record. See generally Def. Mot.; Int. Mot.
        On August 12, 2016, Parcel 49C filed a reply in support of its motion for judgment upon
the administrative record and a response to the government’s partial motion to dismiss and
motion for judgment upon the administrative record and to Trammell Crow’s motion for

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 On May 24, 2016, Parcel 49C filed a notice withdrawing Counts I-V and Count XII of its first amended
complaint. See generally Pl. Notice. On May 25, 2016, plaintiff also filed a motion to seal this notice.
See generally Pl. Mot to Seal.




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judgment upon the administrative record. See generally Pl. Reply. On September 2, 2016, the
government and Trammell Crow filed their respective replies in support of their motions for
judgment upon the administrative record. See generally Def. Reply; Int. Reply.

         Lastly, on October 18, 2016, Parcel 49C filed a motion for leave to file a sur-reply in
response to the government’s reply. See generally Pl. Mot. for Sur-Reply. On October 20, 2016,
and October 21, 2016, respectively, the government and Trammell Crow filed their responses
and opposition to Parcel 49C’s motion for leave to file a sur-reply. See generally Def. Opp. to
Sur-Reply; Int. Opp. to Sur-Reply.

         These matters having been fully briefed, the Court addresses the pending motions.

III.     LEGAL STANDARDS

         A.     Jurisdiction And Bid Protests

         The Tucker Act grants the United States Court of Federal Claims jurisdiction over bid
protests brought by “an interested party objecting to a solicitation by a Federal agency for bids or
proposals for a proposed contract or to a proposed award or the award of a contract or any
alleged violation of statute or regulation in connection with a procurement or a proposed
procurement.” 28 U.S.C. § 1491(b)(1). In bid protest cases, this Court reviews agency actions
under the “arbitrary and capricious” standard. See 28 U.S.C. § 1491(b)(4) (adopting the standard
of review set forth in the Administrative Procedure Act). And so, under the Administrative
Procedure Act standard, an award may be set aside if “(1) the procurement official’s decision
lacked a rational basis; or (2) the procurement procedure involved a violation of regulation or
procedure.” Banknote Corp. of Am., Inc. v. United States, 365 F.3d 1345, 1351 (Fed. Cir. 2004)
(quoting Impresa Construzioni Geom. Domenico Garufi v. United States, 238 F.3d 1324, 1332
(Fed. Cir. 2001)). The United States Court of Appeals for the Federal Circuit has explained that:

         When a challenge is brought on the first ground, the test is whether the
         contracting agency provided a coherent and reasonable explanation of its exercise
         of discretion, and the disappointed bidder bears a “heavy burden” of showing that
         the award decision had no rational basis. When a challenge is brought on the
         second ground, the disappointed bidder must show a clear and prejudicial
         violation of applicable statutes or regulations.
 Id. at 1351 (citations omitted).


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       In reviewing an agency’s procurement decision, the Court should recognize that the
agency’s decision is entitled to a “presumption of regularity.” Citizens to Pres. Overton Park,
Inc. v. Volpe, 401 U.S. 402, 415 (1971), overruled on other grounds by Califano v. Sanders, 430
U.S. 99 (1977) (citations omitted). And so, the Court should not substitute its judgment for that
of the agency. Cincom Sys., Inc. v. United States, 37 Fed. Cl. 663, 672 (1997). “The protestor
must show, by a preponderance of the evidence, that the agency’s actions were either without a
reasonable basis or in violation of applicable procurement law” or procedure. Info. Tech. &
Applications Corp. v. United States, 51 Fed. Cl. 340, 346 (2001), aff’d, 316 F.3d 1312 (Fed. Cir.
2003) (“ITAC”); see also Bannum, Inc. v. United States, 60 Fed. Cl. 718, 723 (2004); Gentex
Corp. v. United States, 58 Fed. Cl. 634, 648 (2003). This standard “is highly deferential” and
“requires a reviewing court to sustain an agency action evincing rational reasoning and
consideration of relevant factors.” Advanced Data Concepts, Inc. v. United States, 216 F.3d
1054, 1058 (Fed. Cir. 2000) (citing Bowman Transp., Inc. v. Ark.–Best Freight Sys., Inc., 419
U.S. 281, 285 (1974)).

       In addition, as long as there is “a reasonable basis for the agency’s action, the Court
should stay its hand even though it might, as an original proposition, have reached a different
conclusion . . . .” Honeywell, Inc. v. United States, 870 F.2d 644, 648 (Fed. Cir. 1989) (citations
omitted). But, if “the agency ‘entirely fail[s] to consider an important aspect of the problem [or]
offer[s] an explanation for its decision that runs counter to the evidence before the agency,’” then
the resulting action lacks a rational basis and, therefore, is defined as arbitrary and capricious.
Ala. Aircraft Indus., Inc.–Birmingham v. United States, 586 F.3d 1372, 1375 (Fed. Cir. 2009)
(quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).

       B.      Judgment Upon The Administrative Record And Injunctive Relief

       Generally, Rule 52.1 limits this Court’s review of an agency’s procurement decision to
the administrative record. RCFC 52.1; see Axiom Res. Mgmt., Inc. v. United States, 564 F.3d
1374, 1379 (Fed. Cir. 2009) (“[T]he focal point for judicial review should be the administrative
record already in existence.”). And so, unlike a summary judgment motion brought pursuant to
Rule 56, the existence of genuine issues of material fact does not preclude judgment upon the
administrative record under Rule 52.1. Tech. Sys., Inc. v. United States, 98 Fed. Cl. 228, 242
(2011); RCFC 56. Rather, the Court’s inquiry is whether, “given all the disputed and undisputed



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facts, a party has met its burden of proof based on the evidence in the record.” A&D Fire Prot.,
Inc. v. United States, 72 Fed. Cl. 126, 131 (2006).

        In addition, under its bid protest jurisdiction, the Court “may award any relief [it]
considers proper, including declaratory and injunctive relief . . . .” 28 U.S.C. § 1491(b)(2); see
also Centech Grp., Inc. v. United States, 554 F.3d 1029, 1037 (Fed. Cir. 2009). In deciding
whether to issue a permanent injunction, the Court considers: (1) whether the plaintiff has
succeeded upon the merits of the case; (2) whether the plaintiff will suffer irreparable harm if the
court withholds injunctive relief; (3) whether the balance of hardships to the respective parties
favors the grant of injunctive relief; and (4) whether it is in the public interest to grant injunctive
relief. PGBA, LLC v. United States, 389 F.3d 1219, 1228-29 (Fed. Cir. 2004); see also Amoco
Prod. Co. v. Vill. of Gambell, Alaska, 480 U.S. 531, 546 n. 12 (1987) (“The standard for a
preliminary injunction is essentially the same as for a permanent injunction with the exception
that the plaintiff must show a likelihood of success on the merits rather than actual success.”);
Centech Grp., Inc., 554 F.3d at 1037. These four factors are to be considered collectively, rather
than individually, such that “[n]o one factor, taken individually, is necessarily dispositive. . . .
[T]he weakness of the showing regarding one factor may be overborne by the strength of the
others.” FMC Corp. v. United States, 3 F.3d 424, 427 (Fed. Cir. 1993). Conversely, “the absence
of an adequate showing with regard to any one factor may be sufficient” to deny injunctive
relief. Id.
        A plaintiff who cannot demonstrate actual success upon the merits cannot prevail upon its
motion for permanent injunctive relief. Nat’l Steel Car, Ltd. v. Canadian Pacific Ry., Ltd., 357
F.3d 1319, 1325 (Fed. Cir. 2004) (finding that a plaintiff who cannot demonstrate actual success
upon the merits cannot prevail upon its motion for permanent injunctive relief), reh’g and reh’g
en banc denied. This Court has also found success upon the merits to be “the most important
factor for a court to consider when deciding whether to issue injunctive relief.” Dellew Corp. v.
United States, 108 Fed. Cl. 357, 369 (2012) (citing Blue & Gold Fleet, L.P. v. United States, 492
F.3d 1308, 312 (Fed. Cir. 2007)). However, while success upon the merits is necessary, it is not
sufficient alone for a plaintiff to establish that it is entitled to injunctive relief. See Contracting,
Consulting, Eng’g LLC v. United States, 104 Fed. Cl. 334, 353 (2012) (“Although plaintiff’s
entitlement to injunctive relief depends on its succeeding on the merits, it is not determinative




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because the three equitable factors must be considered, as well.”) (citing PGBA, LLC, 389 F.3d
at 1228-29).

       C.      Supplementing The Administrative Record

       The United States Court of Appeals for the Federal Circuit has held that the “focal point”
of the Court’s review of an agency’s procurement decision ‘“should be the administrative record
already in existence, not some new record made initially in the reviewing court.”’ Axiom Res.
Mgmt., Inc. v. United States, 564 F.3d 1374, 1379 (Fed. Cir. 2009) (quoting Camp v. Pitts, 411
U.S. 138, 142 (1973)). By limiting its review to the “record actually before the agency” the
Court guards against “using new evidence to ‘convert the ‘arbitrary and capricious’ standard’”
applicable to bid protest actions “‘into effectively de novo review.’” Id. at 1380 (quoting
Murakami v. United States, 46 Fed. Cl. 731, 735 (2000)). And so, the “parties’ ability to
supplement the administrative record is limited” and the administrative record should only be
supplemented “if the existing record is insufficient to permit meaningful review consistent with
the APA.” Id. at 1379-81; see also Caddell Constr. Co., Inc. v. United States, 111 Fed. Cl. 49,
93 (2013); DataMill, Inc. v. United States, 91 Fed. Cl. 722, 732 (2010) (Plaintiff “bears the
burden of explaining why the agency-assembled administrative record is insufficient.”).

       This Court has interpreted the Federal Circuit’s directive in Axiom to mean that
supplementation of the administrative record is permitted to correct mistakes and fill gaps. L-3
Commc’ns EOTech, Inc. v. United States, 87 Fed. Cl. 656, 672 (2009). But, supplementation of
the administrative record is not permitted when the documents proffered are unnecessary for an
effective review of the government’s procurement decision. Id. And so, supplementation of the
administrative record is appropriate when necessary to provide the Court with a record
containing the information upon which the agency relied when it made its decision, as well as
any documentation revealing the agency’s decision-making process. Citizens to Pres. Overton
Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971); see also Beta Analytics Int’l, Inc. v. United States,
61 Fed. Cl. 223, 225 (2004) (“‘[S]upplementation might be necessary to help explain an
agency’s decision and thereby facilitate meaningful judicial review of the agency decision,
particularly when a subjective value judgment has been made but not explained.’”) (quoting
Orion Int’l Techs. v. United States, 60 Fed. Cl. 338, 343-44 (2004) (finding that supplementation
is warranted when it is missing “relevant information that by its very nature would not be found



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in an agency record--such as evidence of bad faith, info1mation relied upon but omitted from the
paper record, or the content of conversations")).

IV.      ANALYSIS

         In its motion for judgment upon the administrative record, Parcel 49C challenges the
GSA's evaluation process for the RLP upon five grounds. First, Parcel 49C alleges that the GSA
should have dete1mined that Trammell Crow is ineligible for award of the FCC Lease due to an
organizational conflict of interest that cannot be Initigated and because Trammell Crow was not
the single owner of the property that it proposes for the FCC Lease at the time its proposal was
submitted to the GSA. Second, Parcel 49C alleges that certain requirements in the RLP unduly
restrict competition and prejudice Parcel 49C. Third, Parcel 49C alleges that the GSA
improperly required Parcel 4 9C to provide ce1iain NEPA-related documentation in connection
with Parcel 49C 's offer, in violation of the RLP 's tenns and applicable law. Fomi h, Parcel 49C
alleges that the GSA's evaluation of responsive proposals was improper because the agency did
not consider certain move-related and relocation costs in connection with its evaluation of
offerers' prices and because the GSA's IGE had not been properly documented by the agency.
Lastly, Parcel 49C alleges that the GSA failed to conduct meaningful discussions with Parcel
49C regarding its proposed price.

         The government and Trammell Crow both counter that the adininistrative record in this
matter shows that the GSA conducted a reasonable evaluation process for the RLP, in
accordance with the requirements of the RLP and applicable law. For the reasons discussed
below, the Comi agrees. And so, the Comi DENIES Parcel 49C's motion for judgment upon the
adininistrative record and GRANTS the government's cross-motion for judgment upon the
adininistrative and Trammell Crow's cross-motion for judgment upon the adininistrative record.

         A.     Supplementation Of The Administrative Record Is Not Warranted

         As a preliinina1y matter, the Comi must deny Parcel 49C's request to supplement the
adininistrative record in this case with ce1iain expe1i repo1is commissioned by Parcel 49C,
because these repo1is do not fill any gaps in the administrative record and directly address the
legal issues that the Court must resolve in this matter. See generally Pl. Mot. to Supp. In its
motion to supplement, Parcel 49C seeks to supplement the administrative record with an expe1i
engineering systems design and services repo1i prepared by                                 . and an


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expert engineering repo1i prepared by-        , fuc. Id. Parcel 49C commissioned these expe1i
repo1is to suppo1i its challenge to the RLP 's ceiling height and dual power feed requirements.
Id.

        Parcel 49C argues that these expe1i reports should be added to the administrative record
because they will ensure effective judicial review of this matter. Id. A review of the
administrative record and the subject repo1is reveals, however, that Parcel 49C 's request to
supplement the extensive administrative record in this case is with out merit.

        First, it is well established that the Comi may permit a party to supplement the
administrative record if such supplementation is meaningful to judicial review. L-3 Commc'ns
EOTech, 87 Fed. CL at 672. But, it is also well established that supplementation of the
administrative record with matters that address the legal issues before the Comi is not
appropriate. Id. (denying supplementation of the administrative record because plaintiffs
proffered declaration "directly addresses the dispute before the comi-whether the government 's
decision to eliminate [th e protester] from this competition ... was arbitraiy or capricious"). ill
this case, Pai·cel 49C seeks to supplement the administrative record with expe1i repo1is that
directly address one of the legal disputes in its bid protest-whether the RLP's ceiling height an d
dual power feed requirements are rationale. See generally PL Mot. to Supp; AR at 188-89, 204-
07. It is not appropriate for the Comito supplement the administrative record with this kind of
infonnation. L-3 Commc'ns EOTech, 87 Fed. CL at 672. And so, Pai·cel 49C's request that the
Comi do so in this case is without merit.

         Supplementation of the administrative record with the subject expe1i repo1is is also not
appropriate because these repo1is do not fill a gap in the administrative record. The government
has filed an extensive administrative record in this matter, which it has subsequently am ended
and supplemented, to ensure that the administrative record contains the infon nation that the GSA
considered in evaluating proposals responsive to the RLP. See general~y l st AR; AR; SAR.
While the expe1i repo1is that Parcel 49C seeks to add to the administrative record do provide an
alternative point of view about the merits of the RLP's ceiling height and dual power feed
requirements, these reports simply do not fill any gaps in the administrative record about the
GSA's evaluation process for this procurement. RhinoCorps Ltd. Co., 87 Fed. CL at 282
(denying supplementation of the administrative record with facts that substitute plaintiffs



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opinion for the agency's determinations). Given this, supplementing the administrative record
with these expert reports would run afoul of the Federal Circuit’s clear directive in Axiom that
the “focal point” of the Court’s review in a bid protest matter should be the administrative record
already in existence and not a record made in the reviewing court. Axiom Res. Mgmt., 564 F.3d
at 1379.

       B.      The Administrative Record Shows That
               The GSA Conducted A Reasonable Evaluation
               Process In Accordance With The RLP And Applicable Law

       The administrative record in this matter also shows that the GSA’s evaluation process for
the RLP was both reasonable and in accordance with the requirements of the RLP and applicable
law. The Court reviews the GSA’s actions with respect to the evaluation process for the RLP
under the arbitrary and capricious standard and the Court will not substitute its judgment for that
of the agency. See 28 U.S.C. § 1491(b)(4); Citizens to Pres. Overton Park, 401 U.S. at 415;
Cincom Sys., Inc., 37 Fed. Cl. at 672. Applying this framework, the Court addresses each of
Parcel 49C’s five challenges to the GSA’s evaluation process in connection with the RLP below.

               1.      Parcel 49C’s Claim That Trammell Crow Is Ineligible
                       For Award Is Unsubstantiated By The Record Evidence

       As an initial matter, the administrative record does not substantiate Parcel 49C’s claim
that Trammell Crow is ineligible for award of the FCC Lease. Parcel 49C challenges Trammell
Crow’s eligibility for an award upon two grounds. First, Parcel 49C contends that Trammell
Crow is ineligible for award due to an organizational conflict of interest that cannot be mitigated.
Pl. 2d. Mem. at 20-21, 28-31. Second, Parcel 49C also contends that Trammell Crow is
ineligible for award because Trammell Crow has not complied with the RLP’s single owner
requirement. Pl. 2d. Mot. at 2; Pl. 2d. Mem. at 2, 17-20, 31-33. For the reasons discussed
below, neither of Parcel 49C’s arguments are supported by the administrative record.

                       a.     Parcel 49C Has Not Demonstrated The Existence
                              Of An Unmitigated Organizational Conflict Of Interest

       First, the administrative record shows that the GSA extensively investigated a potential
organizational conflict of interest arising from the business relationship between Trammell Crow
and the broker for the FCC Lease, CBRE. The administrative record also shows that the GSA
appropriately determined that such an OCI could be, and had been, mitigated in this case.


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          The United States Comi of Appeals for the Federal Circuit has held that the FAR
  obligates an agency to conduct an organizational conflict of interest analysis for significant
  conflicts and that contracting officers are given broad discretion in determining whether a
  potential conflict of interest is significant. PAI Corp. v. United States, 614 F.3d 1347, 1352
  (Fed. Cir. 2010) (holding that agencies are only required to document "significant potential
  conflicts"); 48 C.F.R. § 9.504(a)(2). " 'A significant potential conflict [of interest] is one which
  provides the bidding paiiy a substantial and unfair competitive advantage during the procurement
  process on infonnation or data not necessai·ily available to other bidders. " ' Turner Constr. Co. v.
  United States, 645 F.3d 1377, 1386 (Fed. Cir. 2011) (quoting PAI Co1p., 614 F.3d at 1352). In
  addition, an organizational conflict of interest exists when, "because of other activities or
  relationships with other persons, a person is unable or potentially unable to render impaii ial
  assistance or advice to the Government, or the person 's objectivity in perfonning the contract
  work is or might be othe1wise impaired, or a person has an unfair competitive advantage." 48
  C.F.R. § 2.101. And so, the FAR obligates a contracting officer to "analyze planned acquisitions
  in order to ... [a]void, neutralize, or Initigate significant potential conflicts before contract
  awai·d." 48 C.F.R. § 9.504(a)(2).

         In this case, the adininistrative record demonstrates that the GSA identified and properly
  investigated an OCI arising from the business relationship between CBRE and Trammell Crow
  on two separate occasions, to ensure the integrity of the procurement process for the FCC Lease.
  In this regai·d, the record evidence shows that CBRE first disclosed its dual agency relationship
  with Trammell Crow to the GSA in April 2016. AR at 2928-31. The record evidence also
  shows that, thereaBer, the GSA's National Capital Region Regional Contracting Officer, Aliza
  Brown investigated the OCI and issued a ''National Broker Contract Contracting Officer Finding
  and Detennination" finding an organizational conflict of interest with respect to the relationship
  between CBRE and Trammell Crow that could be, and had been, Initigated. Id. at 2924-26.

          After Pai·cel 49C colllIIlenced this matter, the GSA conducted a second investigation to
   detennine whether Trammell Crow had an OCI due to its relationship with CBRE. Id. at
   2918-21. Specifically, the adininistrative record demonstrates with respect to this OCI
   investigation that the GSA's COTR, Kevin Teny , "approached CBRE for infonnation about
   the alleged conflict" and found that
                                  Id. at 2919. In pa1iiculai-, the administrative record shows that


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    Mr. Teny learned "that Trammel[l] Crow Company had its




                                  Id. at 2921. And so, on July 22, 2016, Mr. Teny issued findings
    concluding that that there is no unmitigated conflict of interest arising from the business
    relationship between CBRE and Trammell Crow. 4 Id.

          The record evidence also shows that the GSA reasonably detennined that the OCI
involving CBRE and Trammell Crow could be, and had been, mitigated in this case. In this
regard, Mr. Teny determined in his findings that "the                           and safeguards [that
CBRE has] in place that are adequate to mitigate th e possibility of an internal organizational
conflict of interest within CBRE itself, are certainly adequate to mitigate the possibile [sic]
organizational conflict of interest that might exist between rival fnms in common ownership."
Id. at 2920. There is no dispute in this case that the CBRE's              and other safeguards were
in place when Trammell Crow submitted its offer for the FCC Lease. Id. at 2922. And so, th e
administrative record demonstrntes that the GSA reasonably and appropriately dete1mined that
the OCI involving Trammell Crow and CBRE could be, and had been, mitigated.

          Parcel 49C 's argument that this OCI cannot be mitigated, because the CBRE personnel
who evaluated Trammell Crow's proposal have a financial interest in selecting Trammell Crow
for award, is also unsubstantiated by the administrative record. PL 2d. Mem. at 30-31. The
record evidence makes clear that Trammell Crow                              and the company operates
independently from CBRE. AR at 2920-21. And so, these CBRE employees do not have a
financial interest in the award of the FCC Lease to Trammell Crow.

          Parcel 49C's contention that CBRE's "dual role as evaluator and simultaneous offeror
creates the appearance of impropriety, which by itself waiTants Trainmel[l] Crow's
disqualification," is similai·ly without suppo1i in the record evidence. PL 2d. Mem . at 30.
Rather, the administrative record demonstrates that CBRE appropriately disclosed its dual
agency relationship with Trammell Crow to the GSA and to all interested paities in this lease

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 Mr. Teny also found that, "to the extent that there is an ongoing allegation of the existence of an
unmitigated conflict of interest arising from the business relationship between CBRE and Trammel[!]
Crow Company, it is in the interest of the United States to award the lease contract [to Trammell Crow]."
ARat2921.



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procurement to avoid any appearance concerns. Id. at 2925. And so, again, the record simply
does not support Parcel 49C’s argument that the OCI resulting from Trammell Crow’s
relationship with CBRE cannot be mitigated.5

                        b.      Parcel 49C Has Not Demonstrated That Trammell
                                Crow Violated The RLP’s Single Owner Requirement
        The record evidence also does not substantiate Parcel 49C’s argument that Trammell
Crow is ineligible for award of the FCC Lease because Trammell Crow has not satisfied the
RLP’s single owner requirement. Pl. 2d. Mem. at 18-20, 31-33, 59. In this regard, Parcel 49C
argues in essence that Trammell Crow is ineligible for award of the FCC Lease because the
company was not the single owner of the parcel that it proposes for the FCC Lease at the time
that Trammell Crow submitted its final proposal. Pl. 2d. Mem. at 31-33. A plain reading of the
RLP makes clear, however, that the RLP does not require that an offeror be a single owner when
the company submitted its proposal.

        Specifically, the RLP requires that, “to qualify as one (1) building, the offered space must
be owned by a single Offeror and the structures if more than one, must be connected internally
on at least 60% of the offered floors, as determined by and at the discretion of the LCO.” AR at
1497, 1687-88. The administrative record also shows that in its final proposal Trammell Crow
represented to the GSA in the company’s final proposal that Trammell Crow would comply with
this requirement if awarded the FCC Lease. Id. at 2782, 2807-08. The administrative record
also shows that Trammell Crow reaffirmed its intention to satisfy the RLP’s single owner
requirement in an opinion letter from the company’s special counsel, which described in detail
the process through which Trammell Crow could form a new entity to qualify as a single owner
under the terms of the RLP upon award of the FCC Lease. Id. at 2782, 2807-08.

        Given this factual evidence, the administrative record plainly demonstrates that Trammell
Crow has stated its intention to satisfy the RFP’s single owner requirement if awarded the FCC

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  Parcel 49C’s reliance upon FAR § 9.505-3 to argue that the GSA’s OCI determination with respect to
Trammell Crow and the FCC Lease is improper and similarly misguided. As the government notes in its
motion, Section 9.505-3 has no application to the FCC Lease at issue here. 48 C.F.R. § 9.505-3
(requiring that contracts for the evaluation of offers for products or services shall not be awarded to a
contractor that will evaluate its own offers or those of a competitor without proper safeguards to ensure
objectivity); Def. Reply at 18-20.




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Lease. The RLP requires nothing more of Trammell Crow in this regard. Id. at 1497, 1687-88.
And so, the GSA reasonably determined that Trammell Crow is eligible for award of the FCC
Lease and that the company will comply with the RLP’s single owner requirement if awarded the
FCC Lease.

               2.      The RLP’s Requirements Do Not Unduly Restrict Competition

        Parcel 49C’s argument that the RLP’s ceiling height and dual power feed requirements
unduly restrict competition are similarly without support in the administrative record. Pl. 2d.
Mem. at 45-53. This Court has recently held that, when examining whether a particular
procurement requirement unduly restricts competition, the Court inquires whether the restrictive
requirements are required to meet the government’s minimum needs. Id.; Am. Safety Council,
Inc., 122 Fed. Cl. 426, 435 (2015); see also 41 U.S.C. § 253a(a).6 If a solicitation requirement
violates the prohibition against restrictive terms that are not required to meet the government’s
minimum needs, the requirement is deemed to be unduly restrictive and an agency’s decision to
include the requirement in the solicitation will be found to be arbitrary, capricious, an abuse of
discretion, or otherwise not in accordance with law. Id. at 436 (citing Redland Genstar, Inc. v.
United States, 39 Fed. Cl. 220, 231 (1997); see also Wit Assocs., Inc. v. United States, 62 Fed.
Cl. 657, 662 (2004) (“A solicitation must seek proposals that meet an agency’s minimum needs,
or else the solicitation represents an undue, improper restriction on competition. . . ”).

        The Federal Circuit has also held that a plaintiff bears the burden of showing that a
restrictive solicitation term “is so plainly unjustified as to lack a rational basis.” Savantage Fin.
Servs., Inc. v. United States, 595 F.3d 1282, 1286-87 (Fed. Cir. 2010). And so, to determine
whether a requirement is unduly restrictive here, the Court asks both whether the requirement “is
so plainly unjustified as to lack a rational basis,” and whether the allegedly restrictive term is
required to meet the government’s minimum needs. Id.; Am. Safety Council, Inc., 122 Fed. Cl. at
435. The Federal Circuit has also held that an agency’s preferences with respect to a
procurement are entitled to great weight. Savantage Fin. Servs., Inc., 595 F.3d at 1286. And so,
determining the agency’s minimum needs is a matter that falls within the broad discretion of the




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 The Competition in Contracting Act (“CICA”) requires full and open competition through the use of
competitive procedures. 41 U.S.C. § 3301(a)(1).


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agency–and not a matter for the Court to second guess. Savantage at 1286; Wit Assocs., Inc., 62
Fed. Cl. at 662.
        Here, the administrative record clearly shows that the RLP’s ceiling height requirement is
rational and designed to meet the government’s legitimate needs, because this requirement will
ensure that the FCC has adequate space to conduct the agency’s press and public relations events
on the first floor of the FCC’s new headquarters. AR at 668-69. In particular, the RLP requires
that “[t]he first (1st) floor of the offered building must have a minimum finished ceiling height of
11’6.’” Id. at 1497. The administrative record makes clear that the RLP’s ceiling height
requirement will permit the FCC “to provide unobstructed views of the entire space anywhere
within the room . . . . [and l]arge monitors . . . mounted to walls throughout the room to provide
visibility for the audience of any presentations.” Id. at 668-69. The need to have suitable space
for press and public relations events is a legitimate need of the FCC, and the RLP’s ceiling
height requirement reasonably addresses this need. And so, the administrative record
demonstrates that the RLP’s ceiling height requirement is a rational requirement designed to
meet the FCC’s legitimate needs in this case. Savantage. Fin. Servs., 595 F.3d at 1286-87.

        The administrative record also demonstrates that the RLP’s dual power feed
requirement−which requires that the power and communication circuits in the FCC’s new
headquarters have more than one point of entry−is also rationale and designed to meet the FCC’s
minimum needs. See AR at 1497 (RLP at Exhibit B ¶ 11). In this regard, the RLP provides, in
relevant part, that:

        The Government requires power and communication circuits that have more than
        one point of entry coming into the Building (multiple independent conduits
        coming from the street to the facility, with at least 25 feet of physical separation).
        . . . The Government requires redundancy for communications and power.
        Communications requires dual redundant 10-gigabit circuit, with more than one
        cable infrastructure.
Id. at 526, 1497 (Exhibit B, paragraph 11). The government also represents that the FCC’s
Public Safety & Homeland Bureau Command Center (“PSHSB”)−which coordinates the FCC’s
activities with respect to, among other things, public safety, homeland security and national
security−is housed within the FCC’s headquarters. Id. at 687, 1498, 1588-89; see also 47 C.F.R.
§ 0.191(b). And so, to ensure that the PSHSB can perform its mission, the RLP requires power
redundancy through dual power feeds at the FCC’s new headquarters. AR at 1498, 1588-89.



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        Again, the RLP’s dual power requirement is both rational and intended to meet a
demonstrated need upon the part of the FCC to fulfill its public safety mission. Given this, the
dual power feed requirement does not unduly restrict the competition for the FCC Lease.
Savantage Fin. Servs., 595 F.3d at 1287; Am. Safety Council, Inc., 122 Fed. Cl. at 435. And so,
the Court will not set aside this reasonable solicitation requirement.

        Lastly, it is also important to note that, while there may be other options for meeting the
FCC’s needs with respect to public relations and public safety, re-examining those options is not
the role of this Court when determining whether the RLP’s requirements unduly restrict
competition. Savantage Fin. Servs., 595 F.3d at 1286 (“And determining an agency’s minimum
needs ‘is a matter within the broad discretion of agency officials . . . and is not for[the] court to
second guess.’”) (citations omitted) (brackets existing). The government has demonstrated that
both the ceiling height and dual power feed requirement in the RLP are rational. As a result,
Parcel 49C has not met its burden to show that these RLP’s requirements unduly restrict
competition.

                 3.      The RLP’s NEPA-Related Requirements Are Also Reasonable

        To the extent that Parcel 49C can challenge the RLP’s requirements with respect to
NEPA compliance in this litigation, the record evidence also shows that these requirements are
reasonable.7 In its motion, Parcel 49C argues that the RLP’s NEPA-related requirements are
unreasonable, and that Parcel 49C should be exempt from these requirements, because Parcel
49C will not construct a new building if awarded the FCC Lease. AR at 54-58; Pl. 2d Mem. at
¶¶ 47-56. For the reasons discussed below, Parcel 49C’s claim is without merit.

        With respect to the NEPA compliance, the RLP provides, in relevant part, that:

        The Government reserves the right to reject any offer where (i) the NEPA-
        related documentation provided by the Offeror for the offered Property is
        inadequate, (ii) the offer entails unacceptably adverse impacts on the
        human environment, (iii) the identified adverse impacts cannot be readily

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  It is undisputed in this case that Parcel 49C did not raise its challenge to the RLP’s NEPA-related
requirements before it submitted its offer for the FCC Lease. See AR at 287-293. This Court has long
recognized that an offeror wishing to challenge the terms of a solicitation must do so before the close of
the proposal process. Blue & Gold Fleet, L.P., 492 F.3d at 1313 (holding that a protester who knew the
agency’s interpretation of a solicitation but failed to challenge it before bids were due, waived its ability
to object afterwards). And so, Parcel 49C has waived this claim under Blue & Gold Fleet.


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         mitigated, or (iv) the level of NEPA analysis is more extensive than is
         acceptable to the Government (e.g. , offers must be of a nature that would
         allow NEPA to be satisfied by preparation of a Categorical Exclusion
         (CATEX) NEPA study or an Environmental Assessment (EA) with or
         with out mandato1y mitigation).
Id. at 1438-39. The record evidence also shows that the GSA detennined that it was necessaiy
for all offerers to comply with these requirements so that the agency could determine the
environmental impact of the awai·d of the FCC Lease. Id. at 1444, 1449-50.

         Pai·cel 49C's numerous challenges to the RLP's NEPA-related requirements lack suppo1i
in the administrative record for several reasons. First, contrary to Pai·cel 49C's contentions in
this case, the RLP clearly requires that all offerers, including Pai·cel 49C, provide NEPA
documentation to be eligible for award of the FCC Lease. Id. at 1438-39, 1444, 1449-50.
Second, the administrative record similarly does not suppo1i Pai·cel 49C 's contention that Pai·cel
49C should be exempt from the RLP's NEPA-related requirements, because the company will
not                                              if awai·ded the FCC Lease. Id. at 26, 38; Pl. 2d
Mem. at mf 47-56. Rath er, the administrative record shows that the GSA dete1m ined that Parcel
49C would have to                                                  if awai·ded the FCC Lease and
that                                                                Id. at 26 ("[T]he government
anticipated                                                                                should the
incumbent Lessor prevail in the procurement.").

         fu addition, Parcel 49C's argument that it is entitled to a Categorical Exclusion
("CATEX") from ce1iain NEPA requirements also lacks evidentiaiy support. The administrative
record makes cleai· that the RLP requires that Pai·cel 49C, and all other offerers, provide all
relevant NEPA-related documentation to the GSA before the agency would take any action with
respect to a CATEX. Id. at 1438-39, 1444, 1449-50. Given this, there is ample evidence in the
record to demonstrate that the GSA properly dete1mined th at Pai·cel 49C and all other offerers
must fully comply with the RLP's NEPA-related requirements.

                4.      The GSA Appropriately Evaluated The Costs
                        Associated With The FCC Lease Consistent With The RLP
         Pai·cel 49C 's attempt to set aside the GSA's evaluation process for the RLP due to
alleged errors in the evaluation of the price factor for the solicitation are similarly without merit.
Pl. 2d. Mem. at 34-44. fu this regai·d, Parcel 49C puts fo1wai·d two arguments. First, Pai·cel 49C



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contends that the GSA failed to properly consider certain move-related and relocation costs, and
the impact of such costs on the price for the FCC Lease. Id. at 34-37. Second, Parcel 49C
contends that the GSA’s IGE for the RLP was unreasonable and not developed in accordance
with the terms of the RLP. Id. at 37-43; Pl. Reply at 27-36. For the reasons discussed below,
Parcel 49C’s arguments are belied by the record evidence.

       With respect to move-related and relocation costs, a plain reading of the RLP makes clear
that the RLP did not require the GSA to consider such costs when evaluating responsive
proposals. The RLP provides, in relevant part, that the GSA will consider and add “[t]he cost of
relocation of furniture, telecommunications, replications costs, and other move-related costs [to
the gross present value cost], if applicable.” AR at 1447 (emphasis supplied). This language
does not require that the GSA consider move-related or relocation-related costs in its evaluation
of an offeror’s price. Id. Rather, this provision makes clear that the GSA has the discretion to
consider such costs, if the contracting officers deems the costs applicable. Id.

       In this case, the administrative record demonstrates that the GSA’s contracting officer
for the RLP reasonably determined that it was not necessary for the GSA to consider certain
move-related and relocation costs during the evaluation of responsive proposals, because the cost
of staying in the incumbent building and moving to another building were similar. Id. at 37. The
RLP does not prohibit the GSA from exercising its discretion regarding these costs in this
manner. AR at 1447. And so, Parcel 49C’s claim to the contrary is simply without merit.

       The administrative record in this case also shows that the GSA appropriately developed
the IGE for this procurement. This Court has long recognized that, “[g]enerally, independent
government estimates represent the agency’s best estimate of the most reasonable current price
of the products or services being procured.” Process Control Techs. v. United States, 53 Fed. Cl.
71, 77 (2002) (quotation omitted). While an agency is not required to support its IGE with
“exhaustive detail,” it must “be able to demonstrate the basis for the estimate” when the IGE “is
questioned.” Nutech Laundry & Textile, Inc. v. United States, 56 Fed. Cl. 588, 594 (2003). And
so, this Court has also held that an agency may utilize prior experience– historical information–
to create the IGE and that “agencies are ‘given broad latitude in establishing [a] method to
evaluate price proposals.’” MED Trends, Inc. v. United States, 102 Fed. Cl. 1, 7 (2011)
(citations omitted).



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          The administrative record here contains ample support for the GSA’s IGE. In particular,
the administrative record demonstrates that the GSA engaged in a lengthy and thoughtful process
to develop the IGE, by first commissioning the development of a program of requirements for
the FCC’s new headquarters and then developing the IGE. AR at 310-18, 1577-1683. In this
regard, the record evidence shows that the GSA engaged the architectural firm OLBN to study
the FCC’s space needs. Id. at 336-442; SAR at 2. The record evidence also shows that, after
studying the FCC’s space needs and “compiling a summary of improvements required by FCC,
OBLN priced its estimate of the costs to accomplish the work, based upon its professional
knowledge of the costs prevailing in the Washington DC market for the work described.” SAR
at 2.

          The Declaration the GSA’s Project Manager for the RLP, Cirilo Paulo, also demonstrates
that the GSA further modified the cost estimates provided by OBLN to develop the GSA’s IGE
for this procurement. Specifically, Mr. Paulo states in his declaration that he compared the costs
in OLBN’s estimates with his own experience on a similar NASA project to formulate the IGE.
Id. at 2-3. Mr. Paulo’s declaration also makes clear that he made several adjustments to the costs
in OLBN’s estimate based upon his experience and expertise. Id. at 3. For example, Mr. Paulo
states in his declaration that he increased certain costs contained in OLBN’s estimate because of
his awareness that construction costs have been increasing due to greater construction activity in
the Washington, DC market. Id. at 3-4. In addition, Mr. Paulo also describes several specific
adjustments that he made to OLBN’s cost estimates:

          In response to these concerns, and in recognition that an IGE is intended to
          provide a basis for the tenant agency to budget adequate funds for the anticipated
          build-out, I made adjustments to certain cost estimates in the POR. These changes
          included both increasing assumed unit costs, as well decreasing assumed
          administrative charges. I also corrected certain assumptions as to what Tenant
          Improvement Allowance (TIA) and Building Specific Amortized Capital (BSAC)
          funds would be available to defray out-of-pocket build-out costs.

          a. I increased the per square foot construction cost estimates for the general office
          space and both the Low Cost Special Space and High Cost Special Space build-
          outs.

          b. I increased the TIA from $35.00 to $46.74 to reflect the correct allowance
          available for this lease procurement.




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       c. I deleted the costs of a swing move from the "stay in place" scenario to reflect
       that the Government would only pay for one move. Move costs were thus $5.00
       per usable square foot for both scenarios.

       d. I subtracted the BSAC, which is an allowance available to FCC to fund secmity
       costs, from both scenarios. The BSAC is an additional allowance available for
       the new lease, which would decrease the FCC's out-of-pocket build-out costs.

       e. I decreased both scenario's [sic] design cost percentage from . percent to l
       percent. This was done to reflect the fact that architectural finns are willing to
       take on large dollar projects such as this one for a lesser overall percentage
       charge than is the case for smaller dollar projects.

       f. I decreased both scenario's [sic] lessor's fee from l percent to . percent. Once
       again, this is to reflect the market's acceptance of a lower percentage commission
       on large dollar projects.

Id. at 3-4 (internal citations omitted). And so, the administrative record demonstrates that the
GSA appropriately and independently developed the IGE in accordance with the te1ms of the
RLP. Id. at 1-4; AR at 310-18, 336-442, 1577-1683.
       Lastly, Parcel 49C 's argument that the GSA eITed in this procm ement by failing to revise
the IGE after receiving responsive proposals is without any legal or factual suppo1i . In fact,
Parcel 49C cites to no statute or case to support this novel proposition. See generally Pl. 2d.
Mem. Given this, Parcel 49C has simply not met its bmden to show that the GSA's evaluation
process was unreasonable, or that it has been prejudiced by the agency's actions in any way.

               5.      Parcel 49C 's Claim That The GSA Failed To Conduct
                       Meaningful Discussions Is Unsubstantiated By The Record Evidence

       Parcel 49C's final challenge to the GSA's evaluation process- that the GSA failed to
conduct meaningful discussions regarding Parcel 49C 's proposed price- is equally flawed. Pl.
2d. Mem. at 58-59. This Comi has long recognized that discussions regarding a proposal
submitted in response to a government solicitation are deemed to be "meaningful if they
'generally lead offerors into areas of their proposals requiring amplification or coITection, which
means that discussions should be as specific as practical considerations permit."' Advanced
Data Concepts, Inc., 43 Fed. Cl. 410, 422 (1999) (internal quotations and citations omitted),
afj"d, 216 F.3d 1054 (Fed. Cir. 2000); Process Control Techs., 53 Fed. Cl. at 81(2002); World
Travel Serv. v. United States, 49 Fed. Cl. 431 , 439 (2001). The Comi has also recognized that
agencies have no obligation to discuss in detail all inadequate aspects of a proposal. Process


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Control Techs. , 53 Fed. Cl. at 81; see also Labat-Anderson v. United States, 42 Fed. Cl. 806, 835
(1999). Rather, an agency should tailor the discussions to the offeror and an agency's advice that
an offeror's proposed price is higher than the government's estimate satisfies the requirement to
conduct meaningful discussions. World Travel Serv. , 49 Fed. Cl. at 439; Process Control
Technologies , 33 Fed. Cl. at 81. And so, the decision to conduct discussions-and the scope of
any such discussions-is left to the judgment of the contracting officer. World Travel Serv. , 49
Fed. Cl. at 439; Process Control Technologies, 33 Fed. Cl. at 81.

        Here, there is ample evidence in the administrative record to show that the GSA held
meaningful discussions with Parcel 49C. Indeed, the record evidence shows that the GSA
communicated with Parcel 49C during the evaluation of Parcel 49C 's proposal and that the GSA
identified some deficiencies with respect to Parcel 49C 's proposal. AR at 1702-04. Specifically,
the GSA noted that Parcel 49C 's proposal did not contain ce1iain
required by the RLP. Id. The GSA also expressed a concern about how Parcel 49C's proposal
addressed the RLP 's                             requirement. Id. at 1707, 1712.

        More importantly, the record evidence also shows that the GSA did not identify Parcel
49C's proposed price as an area that required amplification or conection. AR at 1702-04, 1707-
08, 1710-12, 2880-81 , 2884. Given this, the GSA had no obligation to discuss Parcel 49C 's
proposed price, nor did the agency have any obligation to discuss every other area where the
Parcel 49C's proposal could be improved. 48 C.F.R. § 15.306(d)(3). And so, again, the
administrative record demonstrates that the GSA conducted meaningful discussions with Parcel
49C and, thus, does not suppo1i Parcel 49C's claim to the contraiy.

        C.      Parcel 49C Has Not Shown That It Is Entitled To Injunctive Relief

        Given the many weaknesses in Pai·cel 49C's challenges to the GSA's evaluation process,
Pai·cel 49C has also not demonstrated that it is entitled to the injunctive relief that it seeks in this
case. When detennining whether to grant injunctive relief, the Comi considers: (1) whether
plaintiff has succeeded upon the merits of the case; (2) whether plaintiff will suffer inepai·able
haim if the Court withholds injunctive relief; (3) whether the balance of hai·dships to the
respective paiiies favors the grant of injunctive relief; and (4) whether it is in the public interest
to grant injunctive relief. PGBA, LLC, 389 F.3d at 1228-29; see also Zenith Radio C01p. v.
United States, 710 F.2d 806, 809 (Fed. Cir. 1983). In addition, where, as here, the evidence


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demonstrates that a plaintiff will not succeed upon the merits of its claims, a plaintiff cannot
prevail upon a claim for injunctive relief. Cf. Altana Pharma AG v. Teva Pharm. USA, Inc., 566
F.3d 999, 1005 (Fed. Cir. 2009) (citing Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d
1343, 1350 (Fed. Cir. 2001)) (“Although the factors are not applied mechanically, a movant must
establish the existence of both of the first two factors to be entitled to a preliminary injunction”
or a temporary restraining order); Nat’l Steel Car, Ltd. v. Canadian Pacific Ry., Ltd., 357 F.3d
1319, 1325 (Fed. Cir. 2004) (finding that a plaintiff who cannot demonstrate actual success upon
the merits cannot prevail upon its motion for permanent injunctive relief), reh’g and reh’g en
banc denied.

       As discussed above, Parcel 49C has not demonstrated that any of its five challenges to the
GSA’s evaluation process for the FCC Lease are supported by the administrative record, or the
relevant law. Rather, the facts of this case make clear that the GSA’s evaluation process was
reasonable and complied with the requirements of the RLP. Because Parcel 49C cannot
demonstrate actual success upon the merits of its claims here, Parcel 49C cannot prevail upon its
motion for permanent injunctive relief. Nat’l Steel Car, Ltd., 357 F.3d at 1325.

       D.      The Parties’ Other Pending Motions

       As a final matter, the parties have filed several other motions that the Court must also
resolve. Parcel 49C has filed a motion for leave to file a sur-reply to the government’s motion
for judgment upon the administrative record and a motion to file its notice withdrawing Counts I-
V and Count XII of the first amended complaint under seal. See generally Pl. Mot. for Sur-
Reply, Pl. Mot. to Seal. The government has also filed a partial motion to dismiss Parcel 49C’s
OCI claim, upon the ground that this claim is unripe. See generally Def. Mot.

       To aid the Court in the resolution of this matter, the Court GRANTS Parcel 49C’s
motions for leave to file a sur-reply to the government’s motion for judgment upon the
administrative record and to file its notice under seal. Because the GSA has now completed the
investigation into the alleged organizational conflict of interest involving Trammell Crow, the
Court DENIES, as moot, the government’s partial motion to dismiss.

V.     CONCLUSION




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       In sum, the administrative record in this case demonstrates that the GSA conducted a
reasonable evaluation process for the RLP at issue in this litigation and that the agency’s
evaluation process complied with the terms of the RLP and applicable law. Given this evidence,
Parcel 49C has simply not shown that the GSA’s actions here were arbitrary, capricious, an
abuse of discretion, or not in accordance with the RLP or applicable law.

       And so, for the foregoing reasons, the Court:

       (1) GRANTS the government’s motion for judgment upon the administrative record and
       Trammell Crow’s motion for judgment upon the administrative record;

       (2) DENIES Parcel 49C’s motion for judgment upon the administrative record;

       (3) DENIES Parcel 49C’s motion to supplement the administrative record;

       (4) GRANTS Parcel 49C’s motion to file certain documents under seal and motion for
       leave to file a sur-reply; and

       (5) DENIES, as moot, the government’s partial motion to dismiss.

       Judgment shall be entered accordingly.

       Each party shall bear their own costs.

       Some of the information contained in this Memorandum Opinion and Order may be
considered protected information subject to the protective order entered in this matter on April 6,
2016. This Memorandum Opinion and Order shall therefore be filed under seal. The parties
shall review the Memorandum Opinion and Order to determine whether, in their view, any
information should be redacted in accordance with the terms of the Protective Order prior to
publication.

       The Court hereby ORDERS the parties to FILE, by December 22, 2016, a joint status
report identifying the information, if any, that they contend should be redacted, together with an
explanation of the basis for each proposed redaction.

       IT IS SO ORDERED.


                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   Judge


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                  Exhibit 15
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                   UNITED STATES COURT OF FEDERAL CLAIMS

                                          BID PROTEST


                                                   )
Parcel 49C Limited Partnership,                    )
                                                   )
                             Plaintiff,            )
                                                   )       Case No. 16-427C
                      V.                           )       Judge Lydia Kay Griggsby
                                                 )
United States of America,                        )         FILED UNDER SEAL
                                                 )
                             Defendant,          )
                      and                        )
                                                 )
Trammell Crow Company,                           )
                                                 )
                             Defendant-fute1venor)


                                    NOTICE OF APPEAL

       Pursuant to Rule 58.1 of the Rules of the United States Comi of Federal Claims

("RCFC"), notice is hereby given that Plaintiff Parcel 49C Limited Partnership ("Parcel 49C")

appeals to the United States Comi of Appeals for the Federal Circuit from the November 30,

2016 Opinion and Order of the Court denying Parcel 49C's Motion for Judgment on the

Administrative Record, and granting the Motions for Judgment on the Administrative Record of

the Government and Trammell Crow Company.



                                                   Respectfully submitted,



Dated: November 30, 2016                           By:       Isl Richard J. Conway
                                                           Richard J. Conway
                                                           BLANK ROME LLP
                                                           1825 Eye Street, NW



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                                                              Filed: 03/10/2017
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                                CERTIFICATE OF SERVICE

           I hereby ce1tify that on this date of November 30, 2016, I caused a copy of the

foregoing Plaintiffs Notice of Appeal to be served via electronic mail on the following:

                                     William J. Grimaldi
                                     Trial Attorney
                                     U.S. Depa1tment of Justice
                                     Civil Division - Commercial Litigation Branch
                                     P.O. Box480
                                     Ben Franklin Station
                                     Washington, D.C. 20044
                                     Tel: (202) 616-0471
                                     Fax: (202) 514-8624
                                     william.j .grimaldi@usdoj .gov

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                                                            RConway@blankrome.com
                                                            Counsel ofRecord for Parcel 49C




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                  Exhibit 16
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            ]n tbe Wniteb ~tateg ~ourt of jfeberal ~laimg
                                          BID PROTEST
                                           No. 16-427C
                                Filed Under Seal: December 14, 201 6
                                     NOT FOR PUBLICATION

                                               )
 PARCEL 49C LIMITED                            )
 P AR1NERSHIP,                                 )
                                               )
                 Plaintiff,                    )
                                               )        Notice of Appeal; Jurisdiction; RCFC
 V.                                            )        62.1.
                                               )
 THE UNITED STATES,                            )
                                               )
                 Defendant,                    )
                                               )
 V.                                            )
                                               )
 TRAMMELL CROW COMPANY,                        )
                                               )
                 Defendant-Intervenor.         )
                                               )


       Richard J. Conway, Counsel of Record, Daniel A . Broderick, Of Counsel, Blank Rome
LLP, Washington, DC, Michael J. Slattery, Of Counsel, Blank Rome, LLP, New York, NY,
Larry D. Blust, Of Counsel, Hughes Socol Piers Resnick & Dym, Ltd., Chicago, IL, for plaintiff.
         William J. Grimaldi, Trial Attorney, Douglas K. Mickle, Assistant Director, Robert E.
Kirschman, Jr., Director, Benjamin C. Mizer, Principal Deputy Assistant Attorney General,
Collllllercial Litigation Branch, Civil Division, United States Department of Justice, Washington,
DC, Michael P. K lein, Assistant Regional Counsel, United States General Services
Administration, Washington, DC, for defendant.
      Stuart W Turner, Counsel of Record, Ronald A. Schechter, Of Counsel, Amanda
Johnson , Of Counsel, Arnold & Porter LLP, Washington, DC, for defendant-inte1venor.
                               ORDER DENYING PLAINTIFF'S
                              MOTIONS FOR INJUNCTIVE RELIEF
GRIGGSBY, Judge

         Pending before the Comi are Parcel 49C Limited Pa1inership's ("Parcel 49C") motion for
an injunction pending appeal and emergency motion for a temporary restraining order directing
the government to withhold award pending resolution of plaintiff's motion for an injunction

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pending appeal (docket enby nos. 83, 85). For the reasons discussed below, the Comi denies
these motions.

   I.      BACKGROUND

        Parcel 49C filed the complaint in this pre-award bid protest matter on April 4, 2016, and
it challenged several actions taken by the United States General Services Administi·ation
("GSA") in connection with the GSA's evaluation of proposals in response to a request for lease
proposals ("RLP") to procure office space for the headquarters of the Federal Communications
Commission ("FCC Lease"). As relief, Parcel 49C sought a court order directing the GSA to
reject the proposal submitted by the defendant-intervenor, Trammell Crow Company ("Trammell
Crow"), for the FCC Lease or, alternatively, enjoin the GSA from awarding the FCC Lease. 2d.
Am. Compl. at 43-44.

        On November 30, 2016, the Comi issued a Memorandum Opinion and Order that, among
other things, denied Parcel 49C's motion for judgment upon the administi·ative record, granted
the government's motion for judgment upon the administi·ative record and the defendant-
intervenor Trammell Crow's motion for judgment upon the administi·ative record, and entered
final judgment in favor of the government and Trammell Crow. Parcel 49C Ltd. P 'sh;p v.
United States, No.16-427C, at 2 (Fed. Cl. Nov. 30, 2016). On November 30, 2016, Parcel 49C
filed a notice of appeal of the Comi's decision. See generally Pl. Notice of Appeal.

        On December 6, 2016, Parcel 49C filed a motion for an injunction pending appeal. See
generally Pl. Mot for Inj . On December 12, 2016, Parcel 49C filed an emergency motion for a
temporary restraining order directing the government to withhold award pending resolution of
plaintiff's motion for an injunction pending appeal. See generally Pl. Mot for TRO.

        In these motions for injunctive relief, Parcel 49C requests that the Comi enjoin an award
of the FCC Lease during the pendency of Parcel 49C 's appeal of the Comi's November 30,
2016, Memorandum Opinion and Order and direct the government to refrain from awarding the
FCC Lease to Trammell Crow until the Comi addresses Parcel 's 49C's motion for an injunction
pending appeal. Id. The Court must DENY Parcel 49C 's motions.




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    IL      DISCUSSION

         As an initial matter, the Comi does not possess jurisdiction to consider plaintiffs
motions. It is well-established that " [t]he filing of a notice of appeal ... confers jurisdiction on
the comi of appeals and divests the disti·ict court of its conti·ol over those aspects of the case
involved in the appeal." Griggs v. Provident Consumer Disc. Co., 459 U.S . 56, 58 (1982) (per
curiam)(citations omitted); Judd v. United States, N o. 15-586C, 2015 WL 7574003, at *1 (Fed.
CL Nov. 25 , 2015). Parcel 49C filed a notice of appeal in this case on November 30, 2016. See
generally Pl. Notice of Appeal. Thereafter, Parcel 49C filed its two motions for injunctive relief
on December 6, 2016, and December 12, 2016. PL Mot. for fuj .; PL Mot. for TRO. Parcel
49C's notice of appeal divests the Comi of jurisdiction to consider these motions. Griggs, 459
U.S. at 58. And so, the Comi must deny these motions for lack of jurisdiction.

         The Comi also denies Parcel 49C 's motions for injunctive relief pursuant to Rule 62.1 of
the Rules of the United States Comi of Federal Claims ("RCFC"). fu this regard, RCFC 62.1 (a)
provides that:
         If a timely motion is made for relief that the comi lacks authority to grant because
         of an appeal that has been docketed and is pending, the comi may:

         (1) defer considering the motion;
         (2) deny the motion; or
         (3) state either that it would grant the motion if the comi of appeals remands for
         that pmpose or that the motion raises a substantial issue.
RCFC 62.1. And so, under the circumstan ces presented here, RCFC 62.1 allows the Comi to
defer consideration of Parcel 49C's motions, deny the motions, or to ale1i the United States
Comi of Appeals for the Federal Circuit that the Comi would consider or grant the motions if the
case were remanded for ce1iain purposes. 1 RCFC 62.1; see also Dobyns v. United States, No. 8-
700C, 2014 WL 7934306 (Fed. CL Dec. 1, 2014).
         A plain reading of Parcel 49C's motions for injunctive reliefhere make clear that Parcel
49C seeks the same injunctive relief that the Comi previously declined to grant to Parcel 49C in
the Court's November 30, 2016, Memorandum Opinion and Order. Namely, Parcel 49C


1
  "RCFC 62.1 , like its Federal Rules of Civil Procedure counterpait, provides a procedure for the court
to issue an 'indicative mling' on a motion for relief that is baned by a pending appeal." Dobyns , 2014
WL 7934306, at * 1.


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requests that the Comi enjoin the award of the FCC Lease to Trammell Crow Company. See
generally Pl. Mot for Inj .; Pl. Mot. for TRO.

           As the Comi previously held in its Memorandum Opinion and Order, the many
weaknesses in Parcel 49C 's challenges to the GSA's evaluation process for the subject lease
demonstrate that Parcel 49C is not entitled to this injunctive relief. Parcel 49C Ltd. P 'ship ,
No.16-427C, at 30-31 (Fed. Cl. Nov. 30, 201 6); see also PGBA, LLC v. United States, 389 F.3d
1219, 1228-29 (Fed. Cir. 2004) ("In deciding whether a pennanent injunction should issue, a
comi considers: (1) whether, as it must, the plaintiff has succeeded on the merits of the case; (2)
whether the plaintiff will suffer irreparable haim if the comi withholds injunctive relief; (3)
whether the balance of hai·dships to the respective paiiies favors the grant of injunctive relief;
and (4) whether it is in the public interest to grant injunctive relief.") (citation omitted). Indeed,
as discussed in detail in the Comi 's Memorandum Opinion and Order, the facts of this case
demonstrate that the GSA conducted a reasonable evaluation process for the FCC Lease and that
the agency's evaluation process complied with the requirements of the RLP and applicable law.

           Under such circmnstances, Pai·cel 49C cannot prevail upon its renewed requests for
injunctive relief in this matter. And so, the Comi denies Parcel 49C's motion for an injunction
pending appeal and emergency motion for a temporaiy restraining order directing the
government to withhold awai·d pending resolution of plaintiff's motion for an injunction pending
appeal. RCFC 62.1.

    III.      CONCLUSION

           In sum, the filing of Pai·cel 49C's notice of appeal in this matter divests the Comi of
jmisdiction to consider its subsequent requests for injunctive relief. In addition, the facts in the
matter also show that the Comi must deny these motions pmsuant to RCFC 62. 1. And so, for the
foregoing reasons, the Comi DENIES Pai·cel 49C 's motion for an injunction pending appeal and
emergency motion for a temporai·y restrnining order directing the government to withhold award
pending resolution of plaintiff's motion for an injunction pending appeal.

           Some of the infonnation contained in this Order may be considered protected info1mation
subject to the Protective Order entered in this matter on April 6, 201 6. This Order shall therefore
be filed under seal. The paiiies shall review the Order to detennine whether, in their view, any



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infonnation should be redacted in accordance with the te1ms of the Protective Order prior to
publication.

       The Comt hereby ORDERS the pa1ties to FILE, by December 28, 2016, a j oint status
report identifying the info1mation, if any, that they contend should be redacted, together with an
explanation of the basis for each proposed redaction.



       IT IS SO ORDERED.


                                                     sf Lydia Kay Griggsby
                                                     LYDIA KAY GRIGGSBY
                                                     Judge




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                 EXHIBIT 17
                      Case: 17-1315
FORM 9. Certificate of Interest
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                                                                                                                Rev. 03/16


       UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
               Parcel 49C Limited Partnership             v.                      United States

                                     Case No.             2017-1315

                                       CERTIFICATE OF INTEREST
Counsel for the:
  (petitioner)   (appellant)         (respondent)      (appellee)      (amicus)      (name of party)




certifies the following (use "None" if applicable; use extra sheets if necessary):

                                      2. Name of Real Party in interest              3. Parent corporations and
       1. Full Name of Party          (Please only include any real party              publicly held companies
        Represented by me             in interest NOT identified in                   that own 10 % or more of
                                      Question 3) represented by me is:                   stock in the party
   Parcel 49C Limited Partnership                        None                                     None




4. The names of all law firms and the partners or associates that appeared for the party or amicus
now represented by me in the trial court or agency or are expected to appear in this court (and who
have not or will not enter an appearance in this case) are:


Larry D. Blust, Hughes Socol Piers Resnick & Dym, Ltd., 70 West Madison Street, Suite 4000, Chicago, IL 60602




         December 9, 2016                                        /s/ Richard J. Conway

                            Date                                             Signature of counsel

Please Note: All questions must be answered                      Richard J. Conway
                                                                            Printed name of counsel
 cc:

                                                      Reset Fields
                      Case: 17-1315
FORM 9. Certificate of Interest
                                          Document: 48          Page: 135     Filed: 03/10/2017                   Form 9
                                                                                                                Rev. 03/16


       UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
               Parcel 49C Limited Partnership             v.                      United States

                                     Case No.             2017-1315

                                       CERTIFICATE OF INTEREST
Counsel for the:
  (petitioner)   (appellant)         (respondent)      (appellee)      (amicus)      (name of party)




certifies the following (use "None" if applicable; use extra sheets if necessary):

                                      2. Name of Real Party in interest              3. Parent corporations and
       1. Full Name of Party          (Please only include any real party              publicly held companies
        Represented by me             in interest NOT identified in                   that own 10 % or more of
                                      Question 3) represented by me is:                   stock in the party
   Parcel 49C Limited Partnership                        None                                     None




4. The names of all law firms and the partners or associates that appeared for the party or amicus
now represented by me in the trial court or agency or are expected to appear in this court (and who
have not or will not enter an appearance in this case) are:


Larry D. Blust, Hughes Socol Piers Resnick & Dym, Ltd., 70 West Madison Street, Suite 4000, Chicago, IL 60602




         March 10, 2017                                          /s/ Richard J. Conway

                          Date                                               Signature of counsel

Please Note: All questions must be answered                      Richard J. Conway
                                                                            Printed name of counsel
 cc:

                                                      Reset Fields
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       UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

      CERTIFICATE OF COMPLIANCE MOTIONS OR BRIEFS CONTAINING
              MATERIAL SUBJECT TO A PROTECTIVE ORDER

Motion / Response / Reply Containing Material Subject to a Protective Order

      [✔]     This motion, response, reply complies with the limitations set forth in
              Fed. Cir. R. 27(m) and contains [state the number of] __________
                                                                    0
              words (incluGing numbers) marked as confidential, or

      []      This motion, response, reply does not comply with the word count
              limitations set forth in Fed. Cir. R. 27(m) and a motionUHTXHVWLQJ
              SHUPLVVLRQWRH[FHHGWKHPD[LPXPZRUGFRXQWOLPLWDWLRQ is being
              filed contemporaneously with the filing of WKLVPRWLRQ, response, or
              reply.


Briefs Containing Material Subject to a Protective Order

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                           /s/ Richard J. Conway
                  ________________________________________________
                                 (Signature of Attorney)

                         ____________________________________
                                    Richard J. Conway
                                  (Name of Attorney)

       ___________________________________________________________________
                   Representing Plaintiff-Appellant Parcel 49C Limited Partnership
                (State whether representing appellant, appellee, etc.)


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